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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    Alto Maipo Delaware LLC, et al., 1                         Case No.: 21-11507 ( )

                                     Debtors.                  (Joint Administration Requested)


                        DECLARATION OF JAVIER DIB IN SUPPORT OF
                       CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, Javier Dib, hereby declare under penalty of perjury:

             1.     I am the Board President and Chief Restructuring Officer (“CRO”) of Alto Maipo

SpA (“Alto Maipo”, and, together with Alto Maipo Delaware LLC (“Alto Maipo Delaware”), the

“Debtors”). In my capacity as Board President and CRO of Alto Maipo, I am familiar with the

Debtors’ operations, day-to-day business affairs, and books and records. I submit this declaration

(this “Declaration”) to assist the Court (as defined herein) and parties in interest in gaining an

understanding of the circumstances that led to the commencement of these chapter 11 cases (the

“Chapter 11 Cases”) and in support of the Debtors’ petitions and motions requesting various types

of “first day” relief (collectively, the “First Day Motions”). I am authorized by the Debtors to

submit this Declaration.

             2.     I have served as Board President of Alto Maipo since September 27, 2021, and as

CRO since September 30, 2021. Alto Maipo’s board is composed of myself, Roberto Salazar

Esperante, and Alfredo Manuel Del Carril. Since 2015, I have served as Controller of the Andes

Strategic Business Unit of AES Andes S.A. (f/k/a AES Gener S.A.) (“AES Andes”). In my


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         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number in the jurisdiction in which it operates, are: Alto Maipo SpA (761-2) (Chile) and Alto Maipo Delaware LLC
(•) (Delaware). The location of the corporate headquarters and the service address for Alto Maipo SpA is Los
Conquistadores 1730, Piso 10, Santiago, Chile.
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capacity as Controller of the Andes Strategic Business Unit, I also serve as General Manager of

AES Andes’s subsidiaries Guacolda Energía S.A. and Empresa Eléctrica Cochrane SpA, among

others. Prior to my role as Controller of the Andes Strategic Business Unit, I served as Controller

of the Strategic Business Unit for Mexico, Central America, and the Caribbean from 2008 to 2015.

I hold a degree in Public Accounting from the Universidad Nacional de Tucumán in Argentina, a

postgraduate degree in Finance from the Fundación Magíster in Argentina, and a Certificate in

Management from the University of Virginia Darden School of Business in Virginia.

        3.      Except as otherwise noted, all facts set forth in this Declaration are based on my

personal knowledge, my discussions with other members of the Debtors’ senior management and

professional advisors, my review of relevant documents or my opinion, based upon my experience

and knowledge of the Debtors’ operations and financial conditions. In making this Declaration, I

have relied in part on information and materials that the Debtors’ personnel and advisors have

gathered, prepared, verified, and provided to me, at my direction, or for my benefit in preparing

this Declaration. If I were called to testify as a witness in this matter, I would testify competently

to the facts set forth herein.

                         Commencement of the Chapter 11 Proceedings

        4.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

before the United States Bankruptcy Court for the District of Delaware (this “Court”). As set forth

in detail herein, the Debtors commenced these Chapter 11 Cases to preserve and maximize Alto

Maipo’s enterprise value for the benefit of its stakeholders in the face of an impending liquidity

shortfall and an unsustainable capital structure.

        5.      Alto Maipo was incorporated as a special purpose company under the laws of Chile

in 2011. Alto Maipo’s primary business purpose is the construction and eventual operation of a


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large run-of-river hydroelectric project (the “Project”) in the Andes Mountains, approximately 30

miles southeast of Santiago, Chile. Construction of the Project is currently expected to reach

commercial operation in the first half of 2022, after which Alto Maipo will provide clean,

renewable energy to power Chile’s economy.

       6.      Unfortunately, the energy market that Alto Maipo will enter into next year is not

the same energy market that Alto Maipo projected would exist upon its initial Commercial

Operation Date (the “COD”) when construction began in 2013. Since that time, there have been

significant shifts both on the supply and demand side that have rendered Alto Maipo’s existing

capital structure unsustainable. On the demand side, increased generation capacity has driven

down electricity prices in Chile, such that spot prices at which Alto Maipo could sell power are

now less than half of what they were in 2013. On the supply side, climate change has significantly

impacted the hydrology of the Maipo Valley, where the Project is being constructed, and lower

precipitation levels reduce in turn the amount of power that the Project can produce. As a result,

Alto Maipo can no longer rely on its prior revenue projections, which assumed economic and

environmental factors that are no longer in place.

       7.      Additionally, the cost of construction for the Project has increased by

approximately 70% from Alto Maipo’s initial projections, due to unexpectedly difficult geological

conditions as well as delays caused by certain of Alto Maipo’s contractors. These increased

construction costs necessitated two prior restructurings that significantly increased the amount of

debt owed by Alto Maipo to its creditors. These prior restructurings, however, were based on

revenue projections that did not take into account the worsening hydrology and market conditions

that have become apparent in the years since. As a result, the capital structure created through

these prior restructurings is no longer sustainable. In order to right-size their capital structure to




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meet these market challenges, the Debtors engaged in constructive negotiations with their creditors

and, having reached agreement on terms for a pre-arranged restructuring with creditors holding a

majority of the Debtors’ senior secured debt (as described below), commenced these Chapter 11

Cases to ensure that they can complete construction of the Project and generate renewable energy

for many years to come.

       8.       Part I of this Declaration provides an overview of the Debtors’ businesses, history,

and capital structure. Part II provides a discussion of the events that compelled the commencement

of these Chapter 11 Cases and a summary of the Debtors’ prepetition negotiation efforts to date.

Part III provides an overview of the debtor-in-possession financing obtained by the Debtors to

ensure their continued liquidity during the pendency of these Chapter 11 Cases. Part IV affirms

the facts set forth in the First Day Motions that the Debtors believe are necessary to enable them

to efficiently administer their estates with minimal disruption and loss of value during these

Chapter 11 Cases.

I.     The Debtors’ Businesses

       A.       History and Purpose of the Debtors’ Businesses

       9.       Alto Maipo SpA is a special purpose company, incorporated under Chilean law in

2011 for the purpose of developing, constructing, and operating a run-of-river hydroelectric energy

project in the Santiago Metropolitan Region of Chile, approximately 30 miles southeast of the city

of Santiago.

       10.      The hydroelectric energy project being constructed by Alto Maipo will consist of

two run-of river hydroelectric plants: Alfalfal II, with a peak capacity of 264 MW, and Las Lajas,

with a capacity of 267 MW (together, the “Hydroelectric Plants”). The Project will also be

connected with the existing Alfalfal I and Maitenes hydroelectric plants. Once it becomes



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operational, the Project is currently expected to provide approximately 1,711 GWh per year of

renewable, zero-emissions energy to Chile’s electric grid, based on the average hydrology in the

area for the past 10 years.

       11.      The Project will capture water flow from several tributaries of the Maipo River that

arise in the Andes Mountains: the Volcán River, the Yeso River, the Aucayes Stream, and the

Colorado River (via the Alfalfal I and Maitenes plants). This water flow will be used to power the

Hydroelectric Plants in series, after which all collected water will be discharged directly into the

Maipo River.

       12.      In order to feed water flow to the Hydroelectric Plants, the Project requires the

construction of approximately 42 miles of underground tunnels, in addition to two underground

caverns that will house the Hydroelectric Plants, along with various associated structures and

facilities. The majority of the construction required for the Project is underground. Water

collected from the high-elevation tributaries of the Maipo River will be gravity-fed through the

tunnels to the Hydroelectric Plants, and ultimately discharged into the Maipo River at a lower

elevation. Construction on the Project began in 2013, and each of the Hydroelectric Plants was

originally expected to reach COD in 2018.

       13.      The following schematic diagram shows the approximate location of the Project’s

tunnels and Hydroelectric Plants in relation to the Colorado, Maipo, and Yeso Rivers.




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        B.     Corporate Structure and Prior Restructurings

        14.    At the time of its incorporation in 2011, Alto Maipo’s sponsors were AES Andes,

a subsidiary of AES Corporation, and Antofagasta plc (“Antofagasta”). Alto Maipo’s initial

shareholders were Norgener Renovables SpA (“Norgener”), an affiliate of AES Andes which held

60% of Alto Maipo’s equity interests, and Minera Los Pelambres S.A. (f/k/a Antofagasta Minerals

S.A.) (“MLP”), an affiliate of Antofagasta which held the remaining 40% of Alto Maipo’s equity

interests.

        15.    The Project was originally budgeted at $2.1 billion, and construction began in 2013.

However, by 2016, the Project began to encounter technical difficulties in construction due to

unexpectedly difficult geological conditions. This led to an increase in projected costs of up to

19% over the original budget. As a result, Alto Maipo engaged in a series of negotiations with its

partners, contractors, and lenders, ultimately resulting in a legal and financial restructuring

process, which was completed on March 17, 2017 (the “2017 Restructuring”).


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       16.       As part of this restructuring process, and influenced by the Project’s cost overruns,

Antofagasta dropped out of the Project. At this time, AES Andes, via Norgener, assumed MLP’s

equity stake. Simultaneously, AES Andes awarded a 6.7% equity stake in Alto Maipo to Strabag

SpA (“Strabag”), one of Alto Maipo’s construction contractors. Strabag SpA is a subsidiary of

Strabag SE, which holds 100% of Strabag’s equity interests.

       17.       In addition to the change in its corporate structure, Alto Maipo obtained $460

million in additional financing in the 2017 Restructuring.          This included additional equity

contributions from AES Andes in the amount of $117 million, from MLP in the amount of $12

million, and from Strabag in the amount of $140 million. Alto Maipo also incurred additional debt

in the amount of $99 million, and other financing sources in the amount of $61 million. These

additional contributions increased Alto Maipo’s overall financing sources from $2.05 billion to

$2.51 billion.

       18.       Following this restructuring, the Project continued to face construction difficulties,

including higher-than-expected costs and lower-than-expected productivity by the Project’s

contractors. In June 2017, as a result of the failure to perform by one of Alto Maipo’s construction

contractors, Constructora Nuevo Maipo S.A. (“CNM”), Alto Maipo terminated CNM’s contract.

Alto Maipo subsequently began arbitration proceedings against CNM to recover costs and other

damages relating to CNM’s breaches of the contract between Alto Maipo and CNM. CNM alleged

that its termination was wrongful and made submissions to the arbitral court seeking its own

damages. These arbitral proceedings are discussed in further detail below, in Section II.B.

       19.       Following the termination of CNM’s construction contract, Alto Maipo replaced

CNM’s contract with a new construction contract with Strabag in February 2018. This new

contract with Strabag included approximately $868.5 million in incremental payments owed to




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Strabag during the course of construction, as well as a payment of up to $392 million that, if and

when it becomes due, is payable in installments under a supplier financing agreement with Strabag.

In May 2018, Alto Maipo executed a second financial restructuring of the Project with its lenders

(the “2018 Restructuring”). As part of the 2018 Restructuring, Alto Maipo obtained an additional

$400 million equity contribution from AES Andes. Alto Maipo also incurred additional debt to

its lenders in the amount of $135 million, in addition to the newly-incurred debt to Strabag of up

to $392 million.

       20.     As of the Petition Date, Norgener holds 93% of Alto Maipo’s equity interests, and

Strabag holds the remaining approximately 7% of Alto Maipo’s equity interests. Debtor entity

Alto Maipo Delaware is a wholly-owned subsidiary of Alto Maipo. The following diagram

illustrates the current corporate structure of the Debtors.




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                      AES Corporation

                        66.7%

                       AES Andes S.A.                          Strabag SE

                         100%                                 100%
                          Norgener
                                                              Strabag SpA
                       Renovables SpA

                             93%                                  7%
                                         Alto Maipo SpA
                                             (Debtor)

                                           100%
                                    Alto Maipo Delaware LLC
                                            (Debtor)


       C.      Prepetition Capital Structure

       21.     The Debtors fund their operations through both secured and unsecured debt.

               i.      Prepetition Secured Debt

       22.     First Lien Indebtedness. Alto Maipo is the borrower under a series of prepetition

term loans (the “Term Loans” and the lenders thereunder, the “Term Lenders”), all of which are

secured by substantially all assets of Alto Maipo (the “Prepetition Collateral”) and rank pari passu

as between each other, from certain international development banks, local and international

commercial banks (the “Bank Lenders”), and syndicated lenders, including (i) the U.S.

International Development Finance Corporation, (ii) the Inter-American Development Bank, (iii)

Banco de Crédito e Inversiones, (iv) Itaú Corpbanca SA, (v) DNB ASA, (vi) Deutsche Bank AG,

(vii) UBS Group AG, (viii) Moneda Asset Management, (ix) Finepoint Capital (Warbler Run I

and Warbler Run II), (x) Santana Capital Group, (xi) Clover Capital, Ltd., and (xii) Regera



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Sàrl. The Term Lenders collectively hold approximately $1.5 billion in outstanding senior secured

term loan debt as of October 15, 2021. Itaú CorpBanca S.A. serves as administrative agent and

onshore collateral agent for the Term Loans, with Itaú CorpBanca New York Branch serving as

offshore collateral agent.

        23.      Interest Rate Swaps: Certain of the Term Loans are also subject to interest rate

swaps (the “Swaps”) held by the originating banks as well as KfW IPEX-Bank GmbH (the “Swap

Counterparties”). The total mark-to-market value of the Swaps, in the event of their termination,

is approximately $184 million as of November 16, 2021. The Swaps are also secured by the

Prepetition Collateral and rank pari passu with the Term Loans.

        24.      The Term Lenders and the Swap counterparties are governed by the terms of an

intercreditor agreement. Strabag is also a party thereto.

        25.      Alto Maipo is party to a construction agreement with Strabag (the “Strabag

Construction Agreement”), under which Strabag holds a claim of up to $392 million against Alto

Maipo, which accrues over time. Payment of the accrued amount is contingent on the occurrence

of: (a) (i) a bankruptcy or insolvency of Alto Maipo and the acceleration of debt by the parties

financing the Project (which includes the Term Lenders and the Swap Counterparties, but not

Strabag or any of its affiliates) (the “Financing Parties”), or (ii) the acceleration of debt by the

Financing Parties for any other reason; or (b) the requirements of Section 6.3.4.4 under the Strabag

Construction Agreement are met. 2 If these conditions are satisfied, then any payment is made in

installments pursuant to a supplier financing with Strabag.




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         Requirements under Section 6.3.4.4 are (i) the achievement of commercial operation date and (ii) Debtors’
issuance of all the critical milestone substantial completion certificates (in each case, as defined in the Strabag
Construction Agreement).



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               ii.     Prepetition Unsecured Debt

       26.     As discussed below in Section II.B, Alto Maipo is party to agreements with several

contractors, including Strabag, as well as Voith Hydro Ltda. and Voith Hydro S.A. (together,

“Voith”), and those contractors have asserted contingent unsecured claims against Alto

Maipo. Alto Maipo also holds contingent claims against each of those contractors. All such

claims are, subject to court approval and other conditions precedent, proposed to be resolved on

the terms described herein.

       27.     As described more fully below in Section II.C, in the weeks leading up to the

Petition Date, the Debtors engaged in thorough good-faith negotiations with their creditors in an

attempt to reach pre-arranged terms for a chapter 11 restructuring plan. These negotiations

ultimately resulted in an agreement on terms for a pre-arranged restructuring with six of the

Debtors’ secured creditors, including Strabag, who collectively hold approximately 55% of the

claims under the Term Loans, and, in the case of Strabag, under the Strabag Construction

Agreement, paving the way for an orderly restructuring process for these Chapter 11 Cases.

II.    Events Leading to these Chapter 11 Cases

       A.      Climate Change and Shifting Market Demand

       28.     Upon the completion of the 2018 Restructuring, Alto Maipo was optimistic that its

newly-adjusted capital structure would be sufficient to carry construction of the Project to COD.

Indeed, by late 2020 substantial construction progress had been made, including the complete

excavation of all 42 miles of tunnels, which represent the bulk of required construction. An

estimated 99% of the Project’s required construction has been completed as of the Petition Date,

and Alto Maipo expects that both Hydroelectric Plants will reach COD in March 2022. Reaching

COD in a timely manner is crucial to protecting the value of the Debtors’ estates and maximizing

their creditors’ recoveries.


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       29.     Unfortunately, while construction on the Project is continuing apace, the energy

market that the Project will enter into upon COD is not the same market that existed when the

Project began construction in 2013, nor even the same market that existed when Alto Maipo

completed the 2018 Restructuring. While reaching COD remains a vital goal for Alto Maipo and

its creditors, bringing the Hydroelectric Plants online will no longer generate the level of revenue

that Alto Maipo and its creditors once expected. Because of this, it is crucial that the Debtors

right-size their capital structure now to protect the Project’s long-term future.

       30.     The first factor impacting the Project’s long-term revenue projections is a marked

decrease in the market price for spot energy. Since the launch of the Project, long-term spot prices

for electricity in Chile have dropped significantly, largely due to increased energy generation

capacity that has come online in the intervening years. In 2013, long-term spot prices for electricity

averaged $116 per MWh. As more generation capacity has come online in recent years in Chile,

however, long-term prices have dropped. By the time of the 2018 Restructuring, long-term spot

prices had halved to $58 per MWh. By 2021, long-term spot prices had dropped even further, to

$50 or less per MWh.

       31.     Alto Maipo has a committed power purchase agreement with MLP (the “PPA”),

under which Alto Maipo will sell energy to MLP at favorable rates. The commitment under the

PPA is expected to cover approximately 46% of the Project’s energy output for every year until

2040, when the PPA terminates, while the remaining 54% of the Project’s energy output, unless

otherwise contracted, will be sold to merchants at market price. As a result of the size and

favorable terms of MLP’s commitment, the PPA is one of Alto Maipo’s most crucial assets. As

discussed further below in Section II.D, Alto Maipo’s desire to preserve the value of the PPA for

the benefit of its creditors is one of the primary drivers of these Chapter 11 Cases, as alternate




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restructuring solutions would jeopardize Alto Maipo’s ability to retain the PPA. Even with the

PPA in place, however, the drop in energy prices has had a significant impact on Alto Maipo’s

projected revenues for energy sold into the marketplace.

       32.     Even more problematic for the Project’s estimated revenue, however, is the

significant impact that climate change has had on the energy supply available to the Project. The

tributary rivers whose flow will power the Hydroelectric Plants begin at the peaks of the Andes

Mountains, and are primarily fed by seasonal snowmelt from the glaciers on these peaks.

Unfortunately, in recent years, climate change has had a devastating impact on precipitation in the

Andes Mountains, with the result that the rivers that will supply the Project have experienced a

steep decline in overall water flow.

       33.     In order to assess the impact that climate change and the attendant decrease in

precipitation will have on the Project, Alto Maipo commissioned a report by Systep to evaluate

the long-term projections for expected generation and energy market prices (the “Market Report”).

The Market Report compared expected generation through the Project’s source rivers across two

time periods: across the past 59 years, and across the past 10 years. Across the past 59 years, the

Project would have generated an average of 2,218 GWh of energy per year. In contrast, across the

past 10 years, precipitation and water flow through those same rivers would have generated an

average of only 1,711 GWh of energy per year. The Market Report identified even further

decreases in water flow in recent years, resulting in approximately 1,390 GWh of energy in 2019;

1,303 GWh of energy in 2020; and 1,100 GWh of energy projected for 2021, based on annualized

figures.

       34.     The combination of lower prices and less precipitation mean that when the Project

goes online, it will be operating in a dramatically different economic and environmental reality




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than Alto Maipo originally forecasted. In the face of this reality, Alto Maipo’s current capital

structure is simply not sustainable.

        B.     Impending Liquidity Challenges and Contingent Claims

        35.    In addition to economic and environmental factors that render Alto Maipo’s current

capital structure unsustainable in the long term, the Debtors expect that they will face a liquidity

shortfall as soon as December 2021. Additionally, the Debtors face a number of contingent claims

that may vest in the near future, potentially adding further strain to their short-term finances.

        36.    Alto Maipo is expected to exhaust its available liquidity at some point in December

2021. At the time of the 2018 Restructuring, Alto Maipo estimated that COD would be reached

in December 2020, with liquidated damages dates in December 2022. Unfortunately, the COVID-

19 pandemic led to further unexpected delays in construction, straining the Project’s construction

budget. As a result, Alto Maipo is facing an imminent liquidity shortfall, jeopardizing its ability

to reach COD despite the fact that the majority of construction work has already been completed.

It is clear to all stakeholders that the value of the Project to the Debtors and their creditors will be

far greater once it reaches operational status and begins generating revenue, and that any further

delays resulting from financial constraints would impose unnecessary costs on all parties in

interest.

        37.    Further complicating Alto Maipo’s short-term finances, one of Alto Maipo’s

contractors, Strabag, has alleged unsecured claims against Alto Maipo of up to $131 million,

primarily relating to the COVID-19 pandemic; the Debtor believes these asserted claims are not

in fact owed, and asserts claims against Strabag in excess of $36 million. Following extensive

negotiations with Strabag, the Debtors propose to resolves these disputes pursuant to the pre-

arranged terms of the restructuring support agreement between the Debtors, Strabag, and certain

of the Debtors’ other creditors, as described below in Section II.C.


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       38.     Another of Alto Maipo’s contractors, Voith, has alleged claims against Alto Maipo

relating to the COVID-19 pandemic, among other alleged issues, of as much as $20 million.

Shortly before the Petition Date, Alto Maipo and Voith signed an amendment to their existing

construction contract (the “Voith Contract Amendment”) resolving certain disputes between them

Among other things, the Voith Contract Amendment: (i) waives all claims the parties have based

on facts existing on or before the November 15, 2021 effective date, including Voith’s claims

arising out of various change order requests and requests for cost and schedule relief, and Alto

Maipo’s claims for delay liquidated damages arising out of Voith’s failure to achieve substantial

completion of four hydroelectric generating units by the applicable guaranteed substantial

completion dates; (ii) sets new guaranteed substantial completion dates for the four hydroelectric

generating units, subject to extensions based on the availability of testing water; and (iii) provides

for additional aggregate payments of up to $8 million to Voith, subject to Voith’s achievement of

certain milestones. The Voith Contract Amendment is subject to the approval of Alto Maipo’s

lenders, shareholders, board, and this Court, by January 7, 2022.

       39.     Further, as discussed above in Section I.B, in 2017, one of Alto Maipo’s

contractors, CNM, stopped construction work on the Project, breaching its contract with Alto

Maipo and forcing a termination of the contract. Since this termination, Alto Maipo and CNM

have been engaged in arbitral proceedings before the International Court of Arbitration of the

International Chamber of Commerce (the “ICC Court”). These arbitral proceedings have covered

a number of disputes between the parties, including the validity of the termination itself and the

amount of costs or damages, if any, that are owed to Alto Maipo as a result of CNM’s breaches

of the contract.




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        40.        In addition to contesting the validity of the termination and seeking damages

allegedly resulting from that termination, CNM argued to the ICC Court that Alto Maipo

improperly drew $73 million under letters of credit in connection with its termination of CNM.

Thus, while Alto Maipo alleged that it experienced damages totaling $236 million due to CNM’s

breaches, CNM argued that it experienced damages totaling up to $166 million due to the

termination and Alto Maipo’s draw on the letters of credit.

        41.        On November 5, 2021, Alto Maipo received a partial award from the ICC Court for

damages in Alto Maipo’s favor in the amount of approximately $106 million, before interest and

legal and other costs. At this time, Alto Maipo does not have funds available to cover legal costs

and expenses necessary to enforce the award or defend against potential appeals or challenges to

its confirmation.

        42.        As a result of these looming liquidity challenges, and because many of the Debtors’

proposed solutions to these challenges rest on agreements with their creditors to pursue an orderly

chapter 11 restructuring process, I believe that the immediate commencement of these Chapter 11

Cases and the worldwide protections provided by the automatic stay are necessary to protect the

value of the Debtors’ estates for their creditors.

        C.         Discussions with Key Stakeholders Prior to the Petition Date

        43.        Realizing that its current capital structure is unsustainable in the face of changing

economic and environmental conditions, and anticipating that certain contingent claims may

accelerate the need to right-size that capital structure, Alto Maipo has sought over the past several

months to engage its key stakeholders, including Strabag and the Bank Lenders, in productive

discussions regarding Alto Maipo’s options for moving towards a workable restructuring solution

for all parties.




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       44.       Beginning in July 2021 and thereafter, Alto Maipo began to consult with various

advisors, including employing Lazard Fréres & Co. LLC and Lazard Chile SpA (together,

“Lazard”), Cleary Gottlieb Steen & Hamilton LLP, and others, to assess its financial situation and

develop a restructuring proposal.      On August 27, 2021, Alto Maipo presented its revised

construction budget, as well as its revised long-term business plan, to the Bank Lenders and to

Strabag. At this time, Alto Maipo explained to its creditors the need for restructuring due to

increased construction costs and delays, as well as changes to market prices and environmental

factors. In the following weeks, Alto Maipo engaged in one-on-one discussions its major creditors

to discuss terms of a potential restructuring.

       45.       On September 10, 2021, Alto Maipo’s advisor Lazard presented an initial

restructuring proposal and target timeline to the Bank Lenders and to Strabag. Following this

proposal, Alto Maipo continued to engage in one-on-one conversations with many of its lenders.

A follow-up call on the proposal was held on October 1, and further meetings were held in the

week of October 12, and on multiple occasions thereafter.           Since initiating restructuring

conversations in August, Alto Maipo has stressed the need for a restructuring to ensure the long-

term viability of the Project and protect the Bank Lenders’ investments, and has continued to

engage with the Bank Lenders and other creditors with the goal of reaching pre-arranged terms for

a restructuring plan. The Debtors and their creditors have conducted extensive, good-faith

negotiations on potential terms for a restructuring plan, and these negotiations continue as of the

Petition Date.

       46.       On November 17, 2021, the Debtors and certain of their creditors reached an

agreement on the terms of a Restructuring Support Agreement (the “RSA”), which memorialized

the terms of a pre-arranged restructuring of the Debtors through a chapter 11 process. In addition




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to the Debtors, the parties to the RSA are Strabag and five of the Bank Lenders: Itaú Corpbanca

SA, Banco de Crédito e Inversiones, DNB ASA, Warbler Run I, and Warbler Run II (collectively,

the “RSA Counterparties”). In the aggregate, the RSA Counterparties hold approximately 55% of

the Debtors’ outstanding senior secured prepetition debt: Strabag holds approximately 19%, Itaú

Corpbanca SA holds approximately 13%, Banco de Crédito e Inversiones holds approximately

11%, , DNB ASA holds approximately 7%, Warbler Run I holds approximately 2%, and Warbler

Run II holds approximately 2%. The RSA is attached hereto as Exhibit A.

        47.     Discussions with several of the Debtors’ other secured creditors are ongoing, and

the Debtors expect that additional creditors will join the RSA in the coming weeks. I believe that

the terms of the RSA represent a viable path forward for the Debtors that will permit the Debtors

to right-size their capital structure, maximize the value of their estates for the benefit all creditors,

and allow the Debtors to continue their efforts to complete construction of the Project during the

pendency of these Chapter 11 Cases.

        D.      Goals of these Chapter 11 Cases

        48.     The Debtors have three primary objectives they hope to achieve through their

restructuring process. First, the Debtors hope to create a sustainable capital structure that will

permit them to finish construction and begin generating revenue. Second, the Debtors hope to

secure sufficient liquidity to facilitate the final phase of construction and the commencement of

operations of the Project. Third, the Debtors hope to maximize recoveries for all of their creditors.

I believe that these Chapter 11 Cases will allow the Debtors to achieve all of these objectives

efficiently and effectively.

        49.     As discussed above, the primary drivers of the Debtors’ need for restructuring are

the economic and environmental factors that have made the Debtors’ current capital structure

unsustainable in the long term. While the two prior restructuring processes Alto Maipo completed


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enabled it to adjust its capital structure to cover higher-than-expected construction costs, the

Debtors will need additional tools to craft a workable solution in the face of the long-term

challenges posed by the fundamental changes to Chile’s energy landscape over the eight years

since the Project broke ground. The Debtors hope to use these Chapter 11 Cases to right-size their

capital structure to match these challenges.

       50.     In order to maximize the value of the Debtors’ estates for their creditors, it is

essential that the Debtors make every effort to complete construction and reach COD on the most

expedited timeline possible. Until the Hydroelectric Plants reach the commissioning period

(currently expected to occur in December 2021), the Debtors are unable to generate revenue.

Furthermore, the COD of the first Hydroelectric Plant will trigger the commencement of the MLP

PPA, which will greatly increase the value the Debtors are able to deliver to creditors. While the

Debtors expect that COD is within reach, they face an imminent liquidity shortfall that could

jeopardize their ability to pay their contractors and facilitate the completion of construction. As a

result, the Debtors have sought and obtained debtor-in-possession financing, described in further

detail in Part III below, to fund their most critical expenses and facilitate COD of the Hydroelectric

Plants in Q1 2022.

       51.     Finally, the Debtors believe that these Chapter 11 Cases, as compared to other

potential restructuring processes, are the solution that will ensure the maximum possible recoveries

for the Debtors’ creditors. As discussed above, in Section II.A, the MLP PPA is one of the

Debtors’ most important assets. In the absence of the PPA, the Debtors’ revenue projections would

be adjusted even further downward. Therefore, protecting the PPA and the Debtors’ other assets

is essential to maximizing the value of the estates. The PPA contains a provision allowing MLP

to terminate the agreement (following the passage of extended cure periods) if Alto Maipo is




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declared to be in liquidation or requests its own liquidation, or if Alto Maipo files a reorganization

proceeding in Chile. Notably, this clause is not triggered by the filing of a chapter 11 proceeding.

Facing imminent liquidity issues, the Debtors must take all steps necessary to avoid a declaration

of their liquidation in Chile. Therefore, in order to retain the value of the PPA for their creditors,

the protections afforded by these Chapter 11 Cases are necessary.

    III.   Debtor-In-Possession Financing 3

           52.     In order to ensure that it has sufficient liquidity to reach COD and therefore

maximize the value of their estates, the Debtors have received a proposal for debtor-in-possession

financing (the “DIP Facility”) with the DIP Lender, AES Andes, as described in greater detail in

the DIP Motion also filed on the Petition Date. The DIP Facility and Cash Collateral 4 will, among

other things, permit the Debtors to continue to fund their operations during the pendency of these

Chapter 11 Cases, and ensure that the Debtors will have sufficient liquidity to successfully

complete construction of the Project while pursuing their reorganization efforts.

           A.      DIP Facility

           53.     The DIP Facility provides for the following key terms:

                   i.       DIP Loans

           54.     The DIP Facility is a revolving loan facility, in an aggregate original principal

amount of $50 million, with up to $20 million of the DIP Loans available upon the entry of an

order of this Court approving the DIP Motion on an interim basis (the “Interim DIP Order”). Upon

the entry of an order of this Court approving the DIP Motion on a final basis (the “Final DIP




3
         Capitalized terms used in this section but not otherwise defined herein shall have the meanings ascribed to
them in the DIP Motion (as defined below).
4
           The term “Cash Collateral” shall have the meaning ascribed to it in the Cash Collateral Motion (as defined
below).



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Order”), the DIP Credit Agreement also provides that the undrawn portion of the DIP Facility will

be available in a single draw or in multiple draws in minimum amounts of $1 million each.

               ii.    Conditions Precedent

       55.     The DIP Credit Agreement provides that as a condition precedent to any draw on

the DIP Facility, the Debtors’ available cash must be less than $10 million. For this reason, entry

of an Interim DIP Order alone will not likely satisfy the Debtors’ immediate cash needs. Instead,

as described below, the Debtors also require immediate access to Cash Collateral.

               iii.   Covenants

       56.     The DIP Credit Agreement includes certain affirmative and negative covenants and

events of default that are usual and customary for debtor-in-possession financings of this type.

The DIP Credit Agreement also requires compliance with the DIP Budget and monthly reporting

to the DIP Lender and the Required Consenting Lenders in accordance with that budget.

               iv.    Interest and Fees

       57.     Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain interest and fees to the DIP Lender. Specifically, the Debtors have agreed

to an interest rate of 4.0% per annum, payable in kind. In addition, the Debtors have agreed to pay

an upfront fee of 1.0% on the principal amount of the DIP Commitments (the “Upfront Fee”), and

an unused commitment fee of 0.75% per annum on the undrawn portion of the DIP Commitments

(the “Unused Commitment Fee”). The Upfront Fee shall be divided into two payments: (i) 1.0%

of the portion of the DIP Commitments available upon entry of the Interim DIP Order, payable in

kind on the date of entry of the Interim DIP Order, and (ii) 1.0% of the remaining portion of the

DIP Commitments, payable in kind on the date of entry of the Final DIP Order. The Unused

Commitment Fee shall be approved upon entry of the Interim Order and shall be due monthly in

arrears and payable in kind.


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               v.      Milestones

       58.     The DIP Credit Agreement establishes the following milestones, which may be

waived by the consent of the Majority DIP Lenders:

                           Event                                            Due Date

 A restructuring support agreement with relevant case January 31, 2022
 constituents and acceptable to the DIP Lender approved
 by the Bankruptcy Court
 Filing of an Acceptable Plan                              No later than three (3) months
                                                           following the Petition Date
 Plan confirmation by the Bankruptcy Court                 No later than six (6) months
                                                           following the Petition Date
 The effective date of the Plan and emergence of the No later than eight (8) months
 Debtors from chapter 11                                   following the Petition Date
 Synchronization of Las Lajas Units 1 and 2 and Alfalfal 2 January 30, 2022
 Substantial Completion of Critical Milestones D, E and F March 31, 2022
 has been reached
 Las Lajas and Alfalfal 2 Commercial Operation Date        April 30, 2022

       B.      The Necessity of the DIP Facility

       59.     The Debtors require an immediate infusion of liquidity to ensure sufficient working

capital to operate its business and administer their estates. The necessary payments include

payments to employees, third party vendors, taxing authorities, and insurance companies, among

others, who provide the essential services needed to operate, maintain, and insure the Debtors’

assets. The DIP Facility is also necessary to provide a positive message to the market that these

Chapter 11 Cases are sufficiently funded, which is critical to address any concerns raised by the

Debtors’ lenders, employees, and vendors. Thus, immediate access to the DIP Facility and the

continued use of Cash Collateral is necessary to avoid immediate and irreparable harm to the

Debtors and is crucial to the Debtors’ efforts to maximize and preserve value for their stakeholders

during these Chapter 11 Cases.

       60.     Access to the DIP Facility will provide the Debtors with capital that is essential to

operate throughout these Chapter 11 Cases and avoid immediate and irreparable harm to the


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Debtors’ estates. In anticipation of the immediate need for the DIP Facility and the continued use

of Cash Collateral, the Debtors’ senior management, with the assistance of their investment

banker, Lazard, prepared the DIP Budget (as defined in the DIP Credit Agreement), which process

I oversaw. I am familiar with the DIP Budget and its contents. I believe the DIP Budget is fair,

reasonable, and appropriate under the circumstances.

       61.     The Debtors, with the assistance of their advisors, including Lazard, have

determined that the DIP Facility, together with access to its Cash Collateral, should be sufficient

to support the Debtors’ operations through the pendency of these Chapter 11 Cases and should be

adequate, considering all available assets, to pay administrative expenses due or accruing during

the period covered by the DIP Budget. I believe the DIP Documents reflect good faith, vigorous

negotiation between the Debtors and the DIP Lender. Without access to the DIP Facility and the

continued use of Cash Collateral, the Debtors would suffer immediate and irreparable harm, and

the Debtors would be forced to liquidate. I believe that the use of Cash Collateral alone would be

insufficient to meet the Debtors’ postpetition liquidity needs.

       C.      The DIP Facility Is the Best Financing Available

       62.     As described more fully in the Declaration of Ari Lefkovits in Support of Debtors’

Motion for Interim and Final Orders (i) Approving Postpetition Financing, (ii) Providing

Superpriority Administrative Expense Claim Status Pursuant to 11 U.S.C. §§ 363 And 364, (iii)

Modifying the Automatic Stay Pursuant to 11 U.S.C. § 362, (iv) Scheduling a Final Hearing and

(v) Granting Related Relief, the Debtors have been unable to obtain financing on better terms than

those offered by the DIP Lender. Following Lazard’s market research and advice, I do not believe

that the Debtors would be able to obtain financing on terms more favorable than those of the DIP

Facility. Moreover, the proposed DIP Facility serves as an important component of the Debtors’




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overall chapter 11 efforts, providing the stability of adequate liquidity and the resources to emerge

from the chapter 11 process in a timely and expeditious manner.

IV.      First Day Motions

         63.    Concurrently with the filing of their chapter 11 petitions, the Debtors filed the

below-listed First Day Motions seeking relief that the Debtors believe are necessary to enable them

to maximize the value of their estates while these Chapter 11 Cases are pending. The Debtors

request that the relief requested in each of the First Day Motions be granted as critical elements in

ensuring that value is preserved as the Debtors transition into chapter 11. For the reasons discussed

below, I believe that the relief requested in each of the First Day Motions is necessary and

appropriate and is in the best interest of the Debtors, their creditors, and other parties-in-interest.

         A.     Administrative and Procedural Motions

                i.      Debtors’ Motion for Order Authorizing the Joint Administration of Related
                        Chapter 11 Cases (the “Joint Administration Motion”)

         64.    By the Joint Administration Motion, the Debtors, Alto Maipo SpA and Alto Maipo

Delaware LLC, seek the entry of an order directing the joint administration of these Chapter 11

Cases.

         65.    The joint administration of the Debtors’ respective estates will ease the

administrative burden on the Court and all parties in interest in these Chapter 11 Cases. The joint

administration of these Chapter 11 Cases will permit the Clerk of the Court to utilize a single

docket for each of these Chapter 11 Cases and to combine notices to creditors and other parties in

interest in the Debtors’ respective cases. In addition, there likely will be numerous motions,

applications, and other pleadings filed in these Chapter 11 Cases that will affect most or all of the

Debtors. Joint administration will permit counsel for all parties in interest to include all of these

Chapter 11 Cases in a single caption for the numerous documents that are likely to be filed and


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served in these Chapter 11 Cases. Joint administration also will enable parties in interest in each

of these Chapter 11 Cases to stay apprised of all of the various matters before the Court.

               ii.     Motion to Authorize Alto Maipo SpA to Act as Foreign Representative of
                       the Debtors (the “Foreign Representative Motion”)

       66.     By the Foreign Representative Motion, the Debtors seek to appoint Alto Maipo

SpA as foreign representative of the Debtors’ estates pursuant to section 1505 of the Bankruptcy

Code so that Alto Maipo has the power and ability to seek recognition of these Chapter 11 Cases

and other orders of this court in any additional court it deems necessary and beneficial.

       67.     It is my understanding that in order for the Debtors to seek the cooperation and

assistance of foreign courts in achieving the objectives of these Chapter 11 Cases, it is necessary

for a duly appointed foreign representative to seek recognition in those courts. Given the

international nature of the Debtors’ creditor base and the uncertainties inherent in this early stage

of the proceedings, entry of the proposed order will enable Alto Maipo to have necessary

authorization to seek recognition in such jurisdictions as may be required based on developments

or adverse creditor action going forward.

               iii.    Debtors’ Application for Appointment of Prime Clerk LLC as Claims and
                       Noticing Agent (the “Prime Clerk § 156(c) Application”)

       68.     By the Prime Clerk § 156(c) Application, the Debtors seek appointment of Prime

Clerk LLC (“Prime Clerk”) as claims and noticing agent pursuant to § 156(c) of the Bankruptcy

Code and Local Rule 2002-1(f). I am aware that the Debtors anticipate that there will be in excess

of 300 creditors and parties-in-interest to be noticed in these Chapter 11 Cases. I am also aware

that the Debtors selected Prime Clerk following a competitive process in which the Debtors

obtained and reviewed engagement proposals from two other court-approved claims and noticing

agents. The Debtors selected Prime Clerk because it is an industry leader with significant

experience in both the legal and administrative aspects of large, complex chapter 11 cases. I


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believe that Prime Clerk is well-qualified to perform the services contemplated in the Prime Clerk

§ 156(c) Application.

       B.      Operational Motions Requiring Immediate Relief

               i.       Debtors’ Motion for Interim and Final Orders (i) Approving Postpetition
                        Financing, (ii) Providing Superpriority Administrative Expense Claim
                        Status Pursuant to 11 U.S.C. §§ 363 And 364, (iii) Modifying the Automatic
                        Stay Pursuant to 11 U.S.C. § 362, (iv) Scheduling a Final Hearing and (v)
                        Granting Related Relief (the “DIP Motion”)

       69.     By the DIP Motion, the Debtors seek the entry of interim and final orders

authorizing the Debtors to obtain postpetition financing in the form of a superpriority revolving

loan facility (the “DIP Facility”) with AES Andes (the “DIP Lender”). The facts underlying the

DIP Motion are set forth above, in Part III of this Declaration. For the reasons outlined in Part III

of this Declaration, I believe that the terms and conditions of the DIP Facility are fair and

reasonable, and that the Debtors’ entry into the DIP Facility is in the best interests of their estates

and their creditors.

               ii.      Debtors’ Motion for Entry of Interim and Final Orders (i) Authorizing Use
                        of Cash Collateral; (ii) Granting Adequate Protection; and (iii) Modifying
                        the Automatic Stay (the “Cash Collateral Motion”)

       70.     By the Cash Collateral Motion, the Debtors seek the entry of interim and final

orders (i) authorizing the Debtors’ use of Cash Collateral (as defined below) pursuant to sections

105(a), 361, 362, 363, 364 and 552 of the Bankruptcy Code, Bankruptcy Rule 4001(b), and Local

Rule 4001-2, (ii) granting and affirming the adequate protection proposed to be provided to the

term loan and supplier financing lender Strabag SpA (collectively, the “Prepetition Lenders”) and

agent (in its capacity as such, the “Agent”) under the Debtors’ prepetition secured term loan and

Supplier Deferred Payment (as defined below) (collectively, the “Prepetition Secured Loans”), in

connection with the Prepetition Loan Documents (as defined below), and (iii) modifying the




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automatic stay as set forth in the Proposed Interim Order and waiving the fourteen (14) day stay

provisions of Bankruptcy Rules 4001(a)(3) and 6004(h).

       71.     As discussed above in Section I.C, Alto Maipo is the borrower under a series of

prepetition term loans (the “Prepetition Term Loans” and the lenders thereunder, the “Prepetition

Term Lenders”), all of which are secured by all assets of Alto Maipo (the “Prepetition Collateral”)

and rank pari passu as between each other, from certain international development banks, local

and international commercial banks, and syndicated lenders. Certain of the Prepetition Term

Loans are also subject to interest rate swaps (the “Swaps”) held by the originating banks as well

as KfW IPEX-Bank GmbH (the “Swap Counterparties,” together with the Prepetition Term

Lenders and Strabag, the “Prepetition Secured Parties,” the documents governing agreements

therewith, the “Prepetition Loan Documents,” and all obligations of Alto Maipo thereunder, the

“Prepetition Obligations”). The Debtors’ obligations under the Swaps are also secured by secured

by substantially all assets of Alto Maipo (the “Prepetition Collateral”) and rank pari passu with

the Prepetition Term Loans.

       72.     Additionally, Alto Maipo and Strabag are parties to an Amended and Restated

Lump Sum Fixed Price Tunnel Complex Construction Contract, dated as of February 19, 2018

(the “Tunneling Construction Contract”). Pursuant to the Tunneling Construction Contract, among

other things, Strabag provided to Alto Maipo, and Alto Maipo remains obligated to Strabag for,

$391.5 million in secured deferred supplier financing (the “Supplier Deferred Payment”). The

Prepetition Secured Loans and Supplier Deferred Payment rank pari passu and are secured by the

Prepetition Collateral.

       73.     It is essential to the Debtors’ efforts to preserve and maximize the value of their

assets that they obtain the authority to access the cash presently in the Debtors’ approximately




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twenty (20) accounts (the “Bank Accounts”), of which four (4) are actively utilized by the Debtors

in their current cash management system, all of which are held at Itaú Corpbanca S.A. in its New

York, New York and Santiago, Chile branches (the “Cash Collateral”).

       74.     As described above, these Chapter 11 Cases are filed under unique circumstances.

The Debtors, whose primary asset is the nearly-completed hydroelectric Project, have sought

bankruptcy relief in order to stave off what could be a disorderly and extended restructuring

process in the event that it fails to meet payments to prepetition creditors, which would be hugely

disruptive to the construction process, and thus value-destructive to the Debtors’ estates as a whole

and potential recoveries to creditors. The Debtors intend to use Cash Collateral for expenditures

related not only to construction costs and wages to employees and contractors presently engaged

in completing the project, but also to compensation for the restructuring professionals that have

been retained by the Debtors to ensure an orderly restructuring and minimal disruption to the

construction process.

       75.     Furthermore, as discussed above in Part III, the Debtors’ attempt to obtain

postpetition financing have yielded only one proposal. Despite the fact that no other proposals

were received, the DIP Facility is highly favorable to the Debtors: it is offered on an unsecured,

non-priming basis, with a low interest rate and limited covenants. However, the DIP Facility, as

negotiated with the proposed lender thereunder, effectively requires the Debtors to first use certain

of their existing cash reserves (i.e., the Cash Collateral) to fund construction costs and other

operating costs prior to drawing on the DIP. Specifically, the DIP Facility includes a condition

precedent to any draw that the Debtors’ available cash must be less than $10 million.

       76.     As a result, and in order to ensure that the Debtors will have access to their

postpetition financing and will suffer no interruption in their efforts to complete the Project, it is




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imperative that the Debtors be able to immediately access the Cash Collateral to fund construction

and other costs in the immediate post-petition period until the conditions precedent to the first

draw on the DIP Facility are met. Therefore, interim authorization to use Cash Collateral is in the

best interests of both the Debtors’ estates and the creditors.

       77.     To compensate the Prepetition Secured Parties for the diminution in value, if any,

of the collateral securing the Prepetition Obligations, the Debtors propose to provide adequate

protection in the form of payment of the fees and expenses of the Prepetition Secured Parties’

professionals retained in conjunction with these Chapter 11 Cases, given that it is indisputable that

an orderly restructuring of the Debtors’ capital structure is critical to the Debtors’ ability to

continue apace with construction of the Project and begin operating as expeditiously as possible.

       78.     Finally, the Debtors propose a modification of the automatic stay solely to permit

the Prepetition Secured Parties to deliver written notice by electronic mail stating that the

Prepetition Secured Parties elect to commence the exercise of rights and remedies on the terms set

forth in the Proposed Interim Order including, without limitation, with respect to their Prepetition

Collateral. Stay modifications of this kind are ordinary and standard features for the use of cash

collateral, and in the Debtors’ business judgment, are reasonable and fair under the circumstances.

               iii.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                       Continued Use of Cash Management System; (II) Authorizing Use of
                       Prepetition Bank Accounts and Certain Payment Methods; (III) Authorizing
                       Postpetition Affiliate Transactions; (IV) Waiving Compliance with
                       Restrictions Imposed by Section 345 of the Bankruptcy Code; (V)
                       Authorizing the Opening of New Bank Accounts; and (VI) Granting Related
                       Relief (the “Cash Management Motion”)

       79.     By the Cash Management Motion, the Debtors seek the entry of interim and final

orders pursuant to sections 105, 363, 364(b), and 503(b) of the Bankruptcy Code, Bankruptcy

Rules 6003 and 6004, and Local Rule 2015-2, (i) authorizing the Debtors’ continued use of their

existing cash management system; (ii) authorizing the Debtors to continue using prepetition bank


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accounts and payment methods, including debit, wire, and ACH payments; (iii) authorizing the

continuation of affiliate transactions; (iv) extending by 60 days the time for the Debtors to come

into compliance or obtain waivers with respect to the restrictions imposed by section 345 of the

Bankruptcy Code; (v) and authorizing the opening of new bank accounts.

       80.     In the ordinary course of its business, the Debtors utilize an integrated, centralized

cash management operational process (the “Cash Management System”), in which the Debtors’

cash is transferred to centralized accounts and which includes all activities necessary and pertinent

to the collection, concentration and disbursement of the Debtors’ cash assets.            The Cash

Management System allows the Debtors to facilitate their cash forecasting and reporting, monitor

the collection and disbursement of funds, maintain control over the administration of its bank

accounts, and transfer cash needed to respond to these requirements. Financial and treasury

personnel located in the Debtors’ and their service provider’s office’s in Santiago and San Jose de

Maipo, Chile administer the Cash Management System and implement cash management controls

on behalf of the Debtors’ businesses.

       81.     The Cash Management System is structured to meet the Debtors’ operating needs,

enabling the Debtors to centrally control and monitor funds, ensure cash availability and liquidity,

and reduce administrative costs by facilitating the movement of funds and enhancing the

development of accurate account balances. The Cash Management System is essential to the

efficient execution and achievement of the Debtors’ strategic business objectives and, ultimately,

to maximizing the value of the Debtors’ estates. Any disruption of the Cash Management System

would therefore be extremely detrimental and costly to the Debtors’ operations, as their businesses

require prompt access to cash to operate.




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       82.     As of the Petition Date, the Debtors maintain approximately 20 bank accounts (the

“Bank Accounts”) all held in its name with Itaú Corpbanca S.A. (“Itaú” or the “Bank”) in either

its New York branch (“Itaú NY”) or Chilean branch (Chile) (“Itaú Chile”), including, without

limitation, those set forth in Exhibit D to the Cash Management Motion. Although the Debtors

maintains 20 Bank Accounts, at present, only four are actively utilized by the Debtors in their

current Cash Management System. Generally, the Bank Accounts consist of: (i) general operating

accounts that are used to fund the construction of the Project (the “Construction Accounts”), which

include, inter alia, onshore and offshore multi-purpose accounts, (ii) disbursement-only accounts

(the “Disbursement Accounts”); and (iii) receipt-only accounts (the “Receipt Accounts”). In the

ordinary course of business, the Debtors make payments and transfers through automated

clearinghouse (“ACH”) payments, wires, account debits and other similar methods.

       83.     As part of its utilization of a centralized cash management system, the Debtors

conduct transactions in the ordinary course of business with their non-Debtor affiliates (“Affiliate

Transactions”). These non-Debtor affiliates have valuable business operations that enhance the

Debtors’ enterprise value, and the Affiliate Transactions are essential to their functioning. The

non-Debtor affiliates provide numerous services and contributions to the Debtors during the

construction of the plant, including, inter alia, (i) selling power to the Debtors during construction

of the project, (ii) providing technical support and advisory services to the Debtors, and (iii)

granting the Debtors access to certain shared facilities, including office and warehouse space. The

Debtors seek the authority to continue the Affiliate Transactions in the ordinary course of business

during the pendency of these Chapter 11 Cases.           If the Affiliate Transactions were to be

discontinued, the Cash Management System, the Debtors’ operations and prosecution of these




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Chapter 11 Cases would be disrupted, to the detriment of the Debtors, their creditors and the

Debtors’ estates.

       84.      Finally, in connection with the DIP Motion, the Debtors determined that it was in

their best interest to have two new bank accounts (the “New Accounts”) available to them in order

to, inter alia, ensure that no pre-existing liens will attach to the proceeds of the DIP Facility, and

to hold funds pursuant to the Carve Out (as defined in the DIP Motion). Out of an abundance of

caution, through the Cash Management Motion the Debtors seek an order of the Court confirming

the Debtors’ ability to open two new bank accounts, to be used in connection with the DIP Facility,

at M&T Bank Corporation (“M&T”), which is an Authorized Depository pursuant to section

345(b) of the Bankruptcy Code and the United States Trustee Guidelines regarding authorized

depositories.

       85.      The Debtors maintain the Cash Management System in the ordinary course of their

business operations, which allows them to effectively and efficiently administer their cash and

financial affairs. In addition, the Cash Management System is consistent with those utilized by

corporate enterprises comparable to the Debtors in size and complexity. Absent the relief sought

in the Cash Management Motion, the Debtors’ Cash Management System will grind to a halt,

compromising the Debtors’ ability to pay taxes to government entities, make payments to their

vendors and to pay their employees, among other adverse effects. Any disruption to the Cash

Management System would have an immediate adverse impact on the Debtors’ business and would

impair the Debtors’ ability to successfully administer these Chapter 11 Cases.

                iv.    Debtors’ Motion for Entry of Interim and Final Orders (i) Authorizing the
                       Debtors to (a) Pay Prepetition Wages, Salaries, Other Compensation, and




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                      Reimbursable Expenses, and (b) Continue Employee Benefits Programs;
                      and (ii) Granting Related Relief (the “Wages Motion”)

       86.     By the Wages Motion, the Debtors seek the entry of interim and final orders

authorizing, but not directing, the Debtors to (i) pay prepetition wages, salaries, other

compensation, and reimbursable expenses, and (ii) continue employee benefits programs in the

ordinary course of business, including payment of certain prepetition obligations related thereto.

       87.     As of the Petition Date, the Debtors’ workforce comprises 48 full-time salaried

employees (the “Employees”), as well as Independent Contractors (as defined below). In general,

the Employees consist of two groups for the purposes of Employee salaries and benefits programs:

Employees who are classified as managerial or supervisory Employees in roles of high strategic

importance for the project (“Managerial Employees”), and Employees who are not managerial or

supervisory Employees in professional or technical positions (the “General Employees”). As of

the Petition Date, the Debtors employ 22 Managerial Employees and 22 General Employees. The

Debtors also employ 4 “expat” Employees, who largely serve in high-level supervisory or

technical positions (the “Expat Employees”). The Debtors also rely on workers employed by R y

Q Ingenieria S.A., an independent construction contractor, as well as Gepys Empresa de Servicios

Transitorios SPA, Miguel Rodriguez y CIA Ltda, Hayde Lidia Lopez Ortega, Vector Servicios y

Asesorias SA, and VIP Asesorias y Servicios Integrales SPA (the “Independent Contractors”) to

provide services and support in the ordinary course of their businesses.

       88.     The Debtors seek to minimize the personal hardship that the Employees and

Independent Contractors would suffer if Employee obligations are not paid when due or as

expected, and the immediate and irreparable harm that would be caused to the Debtors by the lack

of motivation of the Employees and Independent Contractors and the prospect that they might seek

employment elsewhere. The Debtors, therefore, seek authority to pay and honor certain prepetition



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claims relating to, among other things, wages, salaries, commissions, expense reimbursements,

and other compensation (including compensation related to Independent Contractors), payroll

withholding taxes and other amounts withheld, unemployment contributions, health insurance, life

insurance, worker’s compensation contributions and related potential liabilities, paid time off, and

bonus programs, scholarships, and other benefits that the Debtors have historically directly or

indirectly provided to the Employees, in the ordinary course of business (all such payments,

benefits, and compensation collectively, the “Employee Compensation & Benefits”).

       89.     Subject to the Court’s approval, the Debtors intend to continue their prepetition

Employee Compensation & Benefits programs in the ordinary course of business. Out of an

abundance of caution, the Debtors request authority to modify, change, and discontinue any of its

Employee Compensation & Benefits and to implement new programs, policies, and benefits in the

ordinary course of business during these Chapter 11 Cases and without the need for further Court

approval, subject to applicable law.

       90.     The Employees and Independent Contractors provide the Debtors with services

necessary to conduct the Debtors’ businesses, and the Debtors believe that absent the payment of

the Employee Compensation & Benefits, the Debtors may experience turnover and instability at

this critical time in its efforts to bring the Project to completion and in these Chapter 11 Cases.

This is particularly detrimental given the unique circumstances the Debtors face currently, as any

delay in construction of the Project will necessitate a delay in the Debtors’ ability to bring the

Project online and ultimately generate revenue, creating additional value in the collateral pledged

to the senior secured lenders. Additionally, construction of this nature requires unique engineering

skills, which cannot be replaced without significant efforts, which efforts may not be successful

given the overhang of these Chapter 11 Cases, particularly in a scenario where local Employees




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may be reluctant to join an entity that has not satisfied its employee obligations. Enterprise value

may be materially impaired to the detriment of all stakeholders in such a scenario. The Debtors

therefore believe that payment of the prepetition obligations with respect to the Employee

Compensation & Benefits is a necessary and critical element of the Debtors’ efforts to preserve

value and will give the Debtors the greatest likelihood of retention of the Employees and

Independent Contractors as the Debtors seek to operate their businesses in these Chapter 11 Cases.

               v.       Debtors’ Motion for Entry of Interim and Final Orders (a) Authorizing
                       Continuation of, and Payment of Prepetition Obligations Incurred in the
                       Ordinary Course of Business in Connection with their Insurance Program,
                       and (b) Authorizing Banks to Honor and Process Checks and Electronic
                       Transfer Requests Related Thereto (the “Insurance Motion”)

       91.     By the Insurance Motion, the Debtors seek the entry of interim and final orders (i)

authorizing the Debtors to continue and, to the extent necessary, renew its insurance program and

pay policy premiums and broker fees arising thereunder or in connection therewith, and (ii)

authorizing banks and other financial institutions at which the Debtors hold accounts (collectively,

the “Banks”) to honor and process check and electronic transfer requests related thereto.

       92.     In the ordinary course of business, the Debtors maintain a comprehensive insurance

program. This program includes multiple insurance policies (each a “Policy” and, collectively,

the “Policies”). The Policies vary in amounts and types of coverage in accordance with prudent

business practices, state and local laws governing the jurisdictions in which the Debtors operate

and various contractual obligations. The Policies include: (i) construction; (ii) general liability,

(iii) excess general liability, (iv) terrorism and sabotage, and (v) automobile.

       93.     With the exception of the Debtors’ policy covering automobile liability (the

“Automobile Policy”), the Debtors do not pay annual premiums. Rather, the Debtors pay a

variable premium upon the renewal or extension of each Policy (the “Premiums”), along with other

obligations, including fees to the Debtors’ brokers (the “Broker Fees”, and, together with the


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Premiums, the “Insurance Obligations”). The Debtors’ Policies, with the exception of the

Automobile Policy, are for multiyear terms, and the Premiums paid by the Debtors with respect to

these Policies ensure coverage for the full term of each Policy. The Debtors’ Automobile Policy

is for an annual term. The Debtors make all Premium payments, whether for annual or multiyear

terms, upfront and in full. As of the Petition Date, the Debtors believe that they are current on all

Premium payments under the Policies. The Debtors seek authority to continue the Policies in the

ordinary course of business. The Debtors also seek authority to renew the Policies as necessary.

       94.     The Policies are essential to the preservation of the value of the Debtors’

businesses, property, and assets during these Chapter 11 Cases. Additionally, some of the Policies

are required by the various regulations, laws, and contracts that govern the Debtors’ commercial

activities. Therefore, continuation of the Policies is essential to preserve the value of the Debtors’

assets and minimize exposure to risk.

               vi.     Debtors’ Motion for Entry of Interim and Final Orders (i) Authorizing the
                       Payment of Certain Prepetition Taxes and Fees, and (ii) Granting Related
                       Relief (the “Taxes Motion”)

       95.     By the Taxes Motion, the Debtors seek the entry of interim and final orders

authorizing, but not directing, the Debtors to remit and pay certain prepetition taxes and fees that

will become payable during the pendency of these Chapter 11 Cases in the ordinary course of

business.

       96.     In the ordinary course of business, the Debtors collect, withhold, or incur a variety

of taxes, including, without limitation, sales, use, franchise, property, income, foreign, and various

other similar taxes, fees, charges, and assessments (collectively, the “Taxes and Fees”). The

Debtors remit the Taxes and Fees to various federal, state, and local governments, including taxing

and licensing authorities (collectively, the “Authorities”) in accordance with applicable law. Taxes

and Fees are remitted and paid by the Debtors through checks and electronic funds transfers that


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are processed through their banks and other financial institutions. The Debtors pay the Taxes and

Fees to the Authorities on a periodic basis, remitting them monthly, quarterly, semiannually, and

annually, depending on the nature and incurrence of the particular Tax or Fee. Out of an abundance

of caution, the Debtors seek authority pursuant to this Motion to make such payments where: (a)

Taxes and Fees accrue or are incurred postpetition; (b) Taxes and Fees accrued or were incurred

prepetition but were not paid prepetition, or were paid in an amount less than actually owed; or (c)

Taxes and Fees paid prepetition by the Debtors were lost or otherwise not received in full by any

of the Authorities.

       97.     Failing to pay the Taxes and Fees would materially disrupt the Debtors’ business

operations in several ways. First, the Authorities could initiate audits, suspend operations, file

liens, or seek to lift the automatic stay, which would unnecessarily divert the Debtors’ attention

from their reorganization process. Second, failing to pay the Taxes and Fees could subject certain

of the Debtors’ directors and officers to claims of personal liability, which likely would distract

those key employees from their duties related to the Debtors’ restructuring. Third, failing to pay

certain of the Taxes and Fees likely would cause the Debtors to lose their ability to conduct

business in certain jurisdictions. Fourth, unpaid Taxes and Fees may result in penalties, the accrual

of interest, or both, which could negatively impact the Debtors’ businesses. Fifth, the Debtors

collect and hold certain outstanding tax liabilities in trust for the benefit of the applicable

Authorities, and these funds may not constitute property of the Debtors’ estates. Accordingly, the

Debtors’ ability to pay the Taxes and Fees is critical to their continued and uninterrupted

operations.




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               vii.    Debtors’ Motion for Entry of an Order (i) Restating and Enforcing
                       Protections of 11 U.S.C. §§ 105(a), 362, 365, 525 and 541(c) and (ii)
                       Granting Related Relief (the “Automatic Stay Motion”)

       98.     By the Automatic Stay Motion, the Debtors seek a clarifying order confirming the

application of the following key protections provided by the Bankruptcy Code: (i) the automatic

stay provisions of section 362 of the Bankruptcy Code; (ii) the anti-ipso facto provisions of section

365 of the Bankruptcy Code; (iii) the anti-discrimination provisions of section 525 of the

Bankruptcy Code; and (iv) the anti-ipso facto provisions of section 541(c) of the Bankruptcy Code.

       99.     As discussed above, Alto Maipo is a Chilean company with operations in Chile and

an international creditor base. I believe that the foreign entities with which the Debtors regularly

interact may be unfamiliar with the protections afforded to chapter 11 debtors under the

Bankruptcy Code or their extraterritorial application. I also believe that the “automatic” and self-

executing nature of the protections afforded by the Bankruptcy Code may not be readily

understood by foreign creditors or tribunals unless embodied in an order of this Court.

Accordingly, out of an abundance of caution, the Debtors request the entry of an order restating

and affirming these protections to aid in its discussions and interactions with its creditors and to

limit the extent to which it requires intervention of this Court in disputes concerning the application

and enforcement of the automatic stay.

               viii.   Debtors’ Motion for Entry of Interim and Final Orders (i) Authorizing the
                       Debtors to Pay Certain Prepetition Claims of (a) Critical Vendors and
                       Service Providers, (b) Lien Claimants, and (c) Certain Vendors Entitled to
                       Administrative Expense Priority Under Section 503(b)(9) of the Bankruptcy
                       Code; and (ii) Authorizing Banks to Honor and Process Check and
                       Electronic Transfer Requests Related Thereto (the “Critical Vendors
                       Motion”)

       100.    By the Critical Vendors Motion, the Debtors seek the entry of interim and final

orders authorizing, but not directing, the Debtors to pay, in the ordinary course of business, certain




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prepetition claims of critical vendors and service providers (the “Critical Vendors” whose claims

shall be collectively identified as the “Critical Vendor Claims”).

         101.    The Debtors have determined, in an exercise of their business judgment, that their

continued receipt of certain goods and services is necessary to ensure that there are no unexpected

or inopportune interruptions in the Debtors’ business operations, and to preserve and maximize

the value of the Debtors’ estates. Accordingly, without the relief requested in the Critical Vendor

Motion, many of the Critical Vendors may cease delivering goods and providing services to the

Debtors, which could be detrimental to the success of the Chapter 11 Cases.

         102.    The Critical Vendors supply the Debtors with essential, specialized goods and

services, including contractors, supplies, development plans, and specialized resources for the

Debtors’ businesses. These goods and services form the mainstay of the Debtors’ power plant

development, and if access to these goods and services were cut off or disrupted, even for a limited

amount of time, the Debtors and all parties in interest would experience further delays in their

progress towards the COD and would therefore suffer irreparable harm. To the best of my

knowledge, the vast majority of Critical Vendors are foreign vendors. These vendors may lack

minimum contacts with the United States and, thus, may assert that they are not subject to the

jurisdiction of the Court or the provisions of the Bankruptcy Code that otherwise protect the

Debtors’ assets and business operations—particularly the automatic stay. Given the importance

the Critical Vendors play in the Debtors’ supply chain, even a temporary disruption in the goods

and services provided would have a devastating effect on the operation of the Debtors’ businesses.

Accordingly, the Debtors need the ability to pay the Critical Vendor Claims on an uninterrupted

basis.

                 ix.    Debtors’ Motion for Entry of an Order (i) Granting Administrative Expense
                        Priority to All Undisputed Obligations for Goods Ordered Prepetition and



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                       Received Postpetition and Authority to Satisfy Such Obligations in the
                       Ordinary Course of Business, and (ii) Granting Related Relief (the “Goods
                       in Transit Motion”)

       103.    By the Goods in Transit Motion, the Debtors seek the entry of an order granting

administrative expense priority to all undisputed obligations for goods ordered prepetition and

received postpetition and authority to satisfy such obligations in the ordinary course of business.

       104.    The Debtors rely heavily on the receipt of various goods and other materials in the

operation of their businesses, a majority of which ship from non-U.S. vendors. These goods

include, but are not limited to, materials critical for the continued development and construction

of the Project. Prior to the Petition Date, the Debtors ordered goods in the ordinary course of

business that are essential to the conduct of their businesses but will not be received until after the

Petition Date (the “Outstanding Prepetition Orders”).

       105.    Certain suppliers and vendors may refuse to ship or transport such goods (or may

attempt to recall such shipments) unless the Debtors issue substitute purchase orders or agreements

postpetition, in an effort to avoid a risk of becoming general unsecured creditors of the Debtors’

estates with respect to such goods. To prevent any disruption to the Debtors’ business operations,

and given that goods necessary to the ordinary course operation of the Debtors’ business that were

ordered prepetition may not be received until after the Petition Date, the Debtors submit that the

Court should confirm the administrative expense priority status of the Outstanding Prepetition

Orders and should authorize the Debtors to pay the Outstanding Prepetition Orders in the ordinary

course of business

                                          *       *       *

       106.    The First Day Motions request authority to, among other things, enter into the

Postpetition Financing, honor workforce-related compensation and benefits obligations, pay

claims of certain critical vendors, suppliers, and taxing authorities, and continue the Debtors’ cash


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management system and other operations in the ordinary course of business to ensure minimal

disruption of the Debtors’ business operations during these Chapter 11 Cases. For the avoidance

of doubt, the Debtors request authority, but not direction, to incur indebtedness, pay amounts or

satisfy obligations with respect to the relief requested in the First Day Motions.

       107.    The Debtors have tailored the requests for immediate relief to those circumstances

when the failure to receive such relief would cause immediate and irreparable harm to the Debtors

and their estates. I believe an orderly transition into chapter 11 is critical to the viability of the

Debtors’ operations, and that any delay in granting the relief described below could hinder the

Debtors’ operations and cause irreparable harm. Other requests for relief will be deferred for

consideration at a later hearing.

       108.    I have reviewed each of the First Day Motions and am familiar with the content and

substance contained therein. The facts set forth in each First Day Motion are true and correct to

the best of my knowledge and belief with appropriate reliance on other corporate officers and

advisors and I can attest to such facts. I believe that the relief requested in each of the First Day

Motions listed above (a) is necessary to allow the Debtors to operate with minimal disruption and

productivity losses during these Chapter 11 Cases, (b) is critical to ensure the maximization of

value of the Debtors’ estates through preserving vendor, supplier and other partner relationships,

among other things, and (c) serves the best interests of the Debtors’ stakeholders.

                                            Conclusion

       109.    The Debtors’ ultimate goal in these Chapter 11 Cases is to achieve an orderly,

efficient, consensual, and successful recapitalization to maximize the value of the Debtors’ estates

for their stakeholders. These Chapter 11 Cases will allow the Debtors to achieve a long-term

sustainable solution to their capital structure, ensure the Debtors’ liquidity as they approach COD,

and maximize creditor recoveries by protecting the value of the Debtors’ estates. I believe that if


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the Court grants the relief requested in each of the First Day Motions, the prospect for achieving

these objectives and completing a successful reorganization of the Debtors’ businesses will be

substantially enhanced.

                                    [Signature page follows]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct.

Dated: November 17, 2021

                                         /s/ Javier Dib
                                         Javier Dib
                                         Board President & Chief Restructuring Officer




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                       Exhibit A

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                                                                                Execution Version


                      RESTRUCTURING SUPPORT AGREEMENT

       This RESTRUCTURING SUPPORT AGREEMENT (together with the exhibits,
schedules and other attachments hereto, and as amended, supplemented or otherwise modified
from time to time, this “Agreement”), dated as of November 16, 2021 (the “Effective Date”), is
entered into by and among:

          a) Alto Maipo S.p.A. a sociedad por acciones organized and existing under the laws
             of Chile (“Alto Maipo” or the “Company”);

          b) Norgener Renovables SpA a sociedad por acciones organized and existing under
             the laws of Chile (the “Norgener”);

          c) AES Andes S.A. a sociedad anónima organized and existing under the laws of
             Chile (the “Sponsor”);

          d) the (i) Banco De Crédito e Inversiones, (ii) DNB Bank ASA, (iii) Itaú Corpbanca,
             (iv) Warbler Run I LLC, and (v) Warbler Run II LLC (collectively, and together
             with any subsequent lender that executes and delivers counterpart signature pages to
              this Agreement, a Joinder, or a Transfer Agreement (as defined below) to counsel to the
              Company from time to time agreeing to be bound hereby, the “Supporting Senior
              Lenders”), in their capacity as lenders to that certain Second Amended and Restated
              Common Terms Agreement, dated as of May 8, 2018, among Alto Maipo, as
              borrower, the Inter-American Development Bank, Overseas Private Investment
              Corporation, Banco De Crédito e Inversiones, Banco del Estado de Chile, DNB
              Bank ASA, Itaú Corpbanca, Itaú Corpbanca New York Branch, Deutsche Bank
              AG, London Branch, and Santana S.A., as Senior Lenders, DNB Bank ASA, as LC
              Issuing Bank, and Itaú Corpbanca, as administrative agent (the “Administrative
              Agent”) (as further amended and supplemented, the “Common Terms
              Agreement”); and

          e) Strabag SpA (“Strabag” and, together with Norgener, the “Shareholders”), as
             (i) contractor under that certain Amended and Restated Lump Sum Fixed Price
             Tunnel Complex Construction Contract between Alto Maipo and Strabag, dated
             February 19, 2018 (the “Tunneling Construction Contract”), (ii) shareholder under
             the Shareholders’ Agreement of Alto Maipo SpA among Norgener Renovables
             SpA, Strabag and Alto Maipo (as amended and restated from time to time, the
             “Shareholders’ Agreement”), (iii) lender under certain subordinated and unsecured
             loan agreements among Strabag and Alto Maipo entered into prior to the date
             hereof, and (iv) secured creditor with respect to the Supplier Deferred Payment (as
             defined in the Common Terms Agreement).


       The Company, Norgener, the Sponsor and the Consenting Creditors may each be referred
to herein as a “Party” and, collectively, as the “Parties.” As used herein, (i) “Alto Maipo
Obligations” means (i) an amount equal to US$1,652,472,639 due to all Senior Lenders as Secured
Obligations under the Financing Documents (in each case, as defined in the Common Terms
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Agreement), and (ii) an amount equal to US$391,500,000 due to Strabag S.p.A. under the
Tunneling Contract (as defined in the Common Terms Agreement)1, without duplication, and (ii)
“Consenting Creditors” means the Supporting Senior Lenders, Strabag and any hedge counterparty that
executes and delivers counterpart signature pages to this Agreement, a Joinder, or a Transfer Agreement to
counsel to the Company from time to time agreeing to be bound hereby. Capitalized terms used but not
defined in this Agreement have the meanings ascribed to them in the Plan Term Sheet (as defined
below).


                                                 RECITALS

        WHEREAS, the Consenting Creditors, the Company, the Shareholders, the Sponsor, and
their respective counsel and other advisors have engaged in negotiations regarding a
comprehensive restructuring of the Company’s obligations and indebtedness (the “Restructuring”)
pursuant to a consensual pre-negotiated restructuring plan (the “Plan”) in accordance with a term
sheet attached as Exhibit A hereto (as amended and supplemented in accordance with the terms of
this Agreement), the “Plan Term Sheet”);

         WHEREAS, the Company intends to implement the Restructuring in accordance with the
terms and conditions set forth in the Plan Term Sheet and this Agreement (the “Restructuring
Documents”) by (i) commencing a voluntary case (the “Chapter 11 Case”) under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) to effect the
Restructuring as set forth in the Plan Term Sheet, including (A) the entering into of the DIP Credit
Facility (as defined below), to be funded by AES Andes S.A. as debtor-in-possession lender
(together with such other entities as may from time to time become party to the DIP Credit Facility
(as defined below), the “DIP Lender”) in cash, (B) the entering into of a first priority tranche of
secured notes or bank instruments (the “New 1L Secured Obligations”), to be distributed as
provided in the Plan Term Sheet and the Plan, (C) the entering into of a second priority secured
loan (the “New 2L Secured Loan” and together with the New 1L Secured Obligations, the “New
Secured Obligations”), to be distributed as provided in the Plan Term Sheet and the Plan, and (D)
the issuance of common equity in reorganized Alto Maipo (the “New Common Equity” and,
collectively with the DIP Credit Facility and the New Secured Obligations, the “New
Obligations”), to be distributed as provided in the Plan Term Sheet and the Plan, (ii) obtaining
consents from the Senior Lenders (as defined in the Common Terms Agreement) and Strabag to
amend the liens on all collateral pledged under the Financing Documents to provide that such liens
will secure the Company’s obligations, from and after the Effective Date, under the New Secured
Obligations, as set forth in the Restructuring Documents (the “Proposed Amendments”), and (iii)
the consummation of the other transactions contemplated in the Restructuring Documents (clauses
(i) through (iii), collectively, the “Restructuring Transactions”);

       WHEREAS, the DIP Lender has agreed to provide the Company with an unsecured
administrative super-priority debtor in possession revolving credit facility (the “DIP Credit

1
 In addition to the Alto Maipo Obligations, certain other amounts are or will be due from the Company to Strabag
under the Tunneling Construction Contract, as set forth in the term sheet attached as Annex III to the Plan Term
Sheet.


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Facility”), subject to the applicable terms and conditions set forth herein and in the term sheet
attached as Schedule II to Exhibit A (the “DIP Term Sheet”) with DIP Lender serving as
administrative agent (in such capacity, the “DIP Agent”), pursuant to definitive documentation
(which documentation shall include a motion pursuant to sections 363 and 364 of the Bankruptcy
Code to authorize the Company to obtain post-petition unsecured financing (the “DIP Financing
Motion”), the orders approving the DIP Financing Motion on an interim and final basis (the
“Interim DIP Order” and the “Final DIP Order” and together, the “DIP Orders”) and a post-petition
credit agreement (the “DIP Credit Agreement”, and together with certain related loan documents,
the “DIP Loan Documents”) in each case, (i) on the terms and subject to the consent rights set
forth in the DIP Term Sheet and (ii) in consultation with the Required Consenting Creditors;

        WHEREAS, each Party and its respective counsel and other advisors (i) have reviewed or
have had the opportunity to review the Restructuring Documents and (ii) acknowledge and agree
that the Plan Term Sheet is a summary of the material terms of the proposed Restructuring and
that implementation of the Restructuring will require the negotiation and agreement of terms not
covered by the Plan Term Sheet; and

       WHEREAS, each Party has agreed, subject to the conditions contained in the
Restructuring Documents, to participate in the Restructuring in accordance with this Agreement.

        NOW, THEREFORE, in consideration of the covenants and agreements contained
herein, and for other valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, each Party, intending to be legally bound hereby, agrees as follows:


Section 1.      Commitments Regarding the Restructuring.

        1.01. Effectiveness of Agreement. This Agreement shall be effective from the date all
of the following conditions precedent have been satisfied to the satisfaction of the Company and
the Sponsor, on the one hand, and (i) Supporting Senior Lenders that hold no less than 2/3 of the
aggregate principal amount of the Alto Maipo Obligations held by all Supporting Senior Lenders
and (ii) Consenting Creditors that hold no less than 2/3 of the aggregate principal amount of the
Alto Maipo Obligations held by all Consenting Creditors ((i) and (ii) collectively, “Required
Consenting Creditors”), on the other hand:

        (a)     Receipt by counsel to the Company and counsel to the Consenting Creditors of an
electronic copy of this Agreement, duly authorized, executed and delivered by each of the Parties
hereto;

       (b)       All of the representations and warranties contained in this Agreement shall be true
and correct in all respects; and

        (c)      The Company shall have paid (i) all outstanding fees and expenses of ASSET
Chile S.A. and FTI Consulting Canada ULC; (ii) $210,000 to Troutman Pepper Hamilton Sanders
LLP for legal services to Strabag; (iii) $600,000 to Norton Rose Fulbright US LLP as a retainer
for legal services to the Senior Lenders; and (iv) $35,000 to Carey y Cia Ltda. as a retainer for
legal services to the Senior Lenders.


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       1.02. Strabag’s Approval: During the effectiveness of this Agreement, any terms of the
Restructuring Term Sheet that expressly supplement or vary the terms of the Tunneling
Construction Contract shall apply.

        1.03. Agreement to Support. As long as (x) this Agreement has not been terminated in
accordance with the terms of Section 3 hereof, (y) no circumstances exist which would (1) cause
this Agreement to terminate automatically, or (2) give the Required Consenting Creditors or
Strabag, as applicable, the right to deliver a written notice of termination of this Agreement, in
each case under the terms of Section 3.01(a) to (r) and notwithstanding any cure periods that would
be otherwise applicable, and (z) the Company is pursuing the Restructuring in a manner that is
both (1) consistent in all respects with the Restructuring Documents and (2) in form and substance
reasonably acceptable to the Required Consenting Creditors, each Consenting Creditor agrees,
severally and not jointly, that it shall:

        (a)    with respect to all Alto Maipo Obligations and any other claims and all interests
held by such Consenting Creditor and inclusive of any claims acquired pursuant to Section 1.06
hereof (the “Consenting Creditor Claims and Interests”):

                A.           following the commencement of any solicitation in accordance with
this Agreement and section 1126(b) of the Bankruptcy Code and subject to its actual receipt of the
Plan and related disclosure statement and other solicitation materials (the “Solicitation Materials”),
support the Restructuring Transactions as contemplated by, and within the timeframes outlined in,
this Agreement and in the Plan Term Sheet and vote and exercise any powers or rights available
to it (including in any creditors’ meeting or in any process requiring voting or approval to which
they are legally entitled to participate, including, without limitation, confirmation of the Plan) in
each case in favor of any matter requiring approval to the extent necessary to implement and give
effect to the Restructuring Transactions;

                B.          not change or withdraw (or cause to be changed or withdrawn) such
vote or exercise of powers; provided that if, prior to consummation of the Plan, the Plan is modified
without the consent of the Consenting Creditors or this Agreement is terminated in accordance
with the terms of Section 3 hereof, each Consenting Creditor shall have the right to revoke its vote
in favor of the Plan, and the Company shall take all steps necessary to assist in such revocation,
and upon such revocation any such vote shall automatically be deemed, for all purposes, to be null
and void ab initio and shall not be considered or otherwise used in any manner by the Parties in
connection with the Restructuring Transactions or this Agreement, and the ballots casting such
vote may be changed and resubmitted regardless of whether the applicable voting deadline has
passed (without the need to seek a court order or consent from the Company allowing such change
or resubmission);

                C.           provide its consent in favor of, and execute and deliver, such
reasonable and customary documents as may be requested by Alto Maipo to implement the
Proposed Amendments; provided that, if this Agreement is terminated in accordance with the
terms of Section 3 hereof at any time prior to the Plan Effective Date, the Consenting Creditors
shall have the right to revoke all (or, at their election, any portion) of their consents given to effect
the Proposed Amendments and the Company shall take all steps necessary to assist in such
revocation and upon such revocation any such consents shall automatically be deemed, for all


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purposes, to be null and void ab initio and shall not be considered or otherwise used in any manner
by the Parties in connection with the Restructuring or this Agreement, and any ballots or other
documents providing such consents may be changed or resubmitted regardless of whether the
deadline to resubmit or revoke such consents has passed (without the need to seek a court order or
consent from the Company allowing such change or resubmission);

       (b)      consent to the use of cash collateral during the pendency of the Chapter 11 Case
subject to the terms and conditions set forth in the order approving the cash collateral motion,
which shall be in form and substance acceptable to the Required Consenting Creditors, if and when
entered by the Bankruptcy Court;

        (c)      consider in good faith any reasonable request from the Company to amend or
supplement the DIP Loan Documents or the Plan that is necessary or advisable to preserve the
expected rights and benefits contemplated under the Plan or that would not otherwise adversely
affect the rights or interests of the Consenting Creditors; provided, however, that no Consenting
Creditor shall be under any obligation to consent or agree to any such amendment or supplement;

         (d)      not, in any capacity, (i) object to, delay, impede or take any other action, including
initiating any legal proceedings or enforcing rights as a holder of the Consenting Creditor Claims
and Interests, that would have the effect of preventing the acceptance, approval or implementation
of the Restructuring or the Plan; (ii) propose, file, vote for or enter into any letter of intent or other
agreement regarding any restructuring, workout, liquidation or plan of reorganization for the
Company under any applicable bankruptcy or insolvency laws other than the Restructuring or the
Plan; (iii) take any action to accelerate any Consenting Creditor Claims and Interests or to enforce
or foreclose on, or otherwise exercise remedies in respect of, the collateral securing the Alto Maipo
Obligations; or (iv) solicit, direct or encourage any person, including, without limitation, the
Administrative Agent, to undertake any action prohibited by the foregoing clauses (i)-(iii) of this
Section 1.03(d);

        (e)      (i) negotiate in good faith the terms of (A) the Proposed Amendments, (B) any
amendments to the constitutive documents and agreements governing the equity of Alto Maipo
that are required for the issuance of the New Obligations or are necessary to consummate the Plan
and the other Restructuring Transactions in accordance with the Restructuring Documents, if
applicable, and (C) any shareholder resolutions required for the entering into or issuance of the
New Obligations or necessary to consummate the Plan and the other Restructuring Transactions
in accordance with the Restructuring Documents, if applicable, and (ii) execute and deliver such
reasonable and customary documents as may be requested by Alto Maipo to evidence such consent
before the date on which votes on the Plan are required to be submitted in accordance with the
Solicitation Materials (the “Voting Deadline”), to be effective on the Plan Effective Date in
accordance with the terms and subject to the conditions set forth herein and in the Restructuring
Documents;

       (f)      negotiate in good faith with the goal of reaching agreement regarding the definitive
amendments to any collateral documents securing the Alto Maipo Obligations, shareholder
agreements, and all other documents necessary to consummate the Plan and the other Restructuring
Transactions in accordance with the Restructuring Documents, including the Plan, the Disclosure
Statement and the documentation relating to the New Obligations (collectively, the “Definitive


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Documentation”), as applicable, which shall be both (i) consistent in all material respects with the
Restructuring Documents and this Agreement and (ii) in form and substance reasonably acceptable
to the Required Consenting Creditors; and

        (g)      (i) not, directly or indirectly, (A) seek, solicit, encourage, propose, assist, engage
in negotiations in connection with or regarding or participate in the formulation or preparation of
any restructuring proposal other than the Restructuring set forth in the Restructuring Documents
or (B) take any action to interfere with or that would materially adversely affect (i) the business
relationship that any supplier, creditor or customer has with Alto Maipo or any direct or indirect
subsidiary thereof, or (ii) the relationship of Alto Maipo with any applicable regulator or authority,
including any Chilean authorities (provided, however, that nothing herein shall restrict Strabag’s
performance of its obligations under the Tunneling Construction Contract).

Notwithstanding the foregoing, this Agreement shall not limit any of the following Consenting
Creditor’s rights: (i) to enforce any rights under this Agreement, including the right to terminate
this Agreement in accordance with the provisions hereof; (ii) under any applicable credit
agreement, other loan document, contract or applicable law to appear and participate as a party in
interest in any matter to be adjudicated in any case under the Bankruptcy Code or under the laws
of any other applicable jurisdiction concerning the Company in any forum, so long as such
appearance and the positions advocated in connection therewith are not inconsistent with the Plan
Term Sheet, the Plan, this Agreement and the Restructuring and do not hinder, delay or prevent
the date that the Plan becomes effective (the “Plan Effective Date”); (iii) to take or direct any
action relating to maintenance, protection or preservation of any collateral, the perfection or
priority of any security interest or other lien, or the proof, allowance, or enforcement of any claim
against any Debtor or non-Debtor person; or (iv) or otherwise limit any claims against any parties
other than the Company.

Notwithstanding anything to the contrary in this Agreement, the Restructuring Term Sheet or the
Plan Term Sheet, in the event that the Company issues a draw request with respect to any letter of
credit related to the Tunneling Construction Contract, all rights, claims and defenses of each of
Strabag and the Company arising from or related to such draw request or draw are fully preserved
and nothing herein or in the Restructuring Term Sheet or Plan Term Sheet shall prevent the
exercise or assertion of any such rights, or the assertion of any such claims or defenses thereto.

Notwithstanding anything to the contrary herein or otherwise, (A) the Alto Maipo Obligations held
by a Consenting Creditor shall not include any Alto Maipo Obligation for which such Consenting
Creditor does not have the right to control voting or is not permitted by a preexisting contractual
obligation or operation of law to vote in favor of the Restructuring (the “Non-Controlled
Obligations”) until such times as the Consenting Creditor acquires the right to control voting or
the preexisting contractual obligations or provisions of law no longer restrict the ability of the
creditor to vote such Non-Controlled Obligations in favor of the Restructuring and (B) the failure
of any Consenting Creditor to vote any of its Alto Maipo Obligations or deliver any consents in
accordance with the Restructuring Documents in each case due to any change in law that prohibits
or limits such vote or delivery shall not be a breach of this Agreement.

       1.04.     Covenants of the Company.



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        (a)      Consummation of the Restructuring. The Company shall: (i) not, directly or
indirectly, seek, solicit, encourage, propose or assist in the formulation or preparation of any
restructuring proposal, offer of dissolution, winding up, liquidation, sale or disposition,
reorganization, merger or restructuring of the Company, or the appointment of a receiver, other
than the Restructuring (as the terms of which may be modified by written agreement of the
Company and the Consenting Creditors); provided that the Company may engage in negotiations
in connection with or regarding any unsolicited restructuring proposal (other than a restructuring
proposal made by the Shareholders, the Sponsor, or any entity affiliated with the Shareholders or
the Sponsor), to the extent required by the fiduciary duties of its directors under applicable law in
the written opinion of its counsel, provided, further, that the Company shall promptly upon (and
in any event no later than two (2) business days after) receiving any unsolicited restructuring
proposal, inform the Consenting Creditors of its receipt of such proposal and, subject to the
Consenting Creditors entering into confidentiality agreements with the Company, provide a
summary of the terms thereof and share with the Consenting Creditors copies of all materials
delivered in connection therewith, (ii) not take any action that would reasonably be expected to
prevent, interfere with, delay or impede the Chapter 11 Case or the consummation of the Plan or
any of the other Restructuring Transactions, including, without limitation, entering into any
agreements, documents, contracts or instruments that would reasonably be expected to prevent,
interfere with, delay or impede the Chapter 11 Case or the consummation of the Plan or any of the
other Restructuring Transactions and (iii) take all actions reasonably necessary or reasonably
requested by the Required Consenting Creditors to consummate the Plan and the other
Restructuring Transactions in accordance with the terms set forth in the Restructuring Documents,
including:

                  A.           providing draft copies to the Consenting Creditors of (i) the Plan, the
related disclosure statement and the Solicitation Materials at least ten (10) business days prior to
the earlier of (y) date on which the Company commences solicitation of acceptance of the Plan or
(z) the date on which the Plan is filed with the Bankruptcy Court, (ii) the Confirmation Order, the
plan supplement (including all Definitive Documentation included in that supplement) and the
corporate governance documents for the reorganized Company at least ten (10) business days prior
to the date on which the Company intends to file any such documents; and (iv) any other material
pleadings or court documents at least two (2) business days prior to the date when the Company
intends to file any such pleadings or documents with the Bankruptcy Court, which pleadings or
documents shall be in form and substance reasonably acceptable to the Required Consenting
Creditors; provided, however, that the Company shall be entitled to treat the failure of any
Consenting Creditor to provide a response to such a draft filing within the two (2) business day
period as such Consenting Creditor’s consent to the filing of such pleading; provided, further, that
such Consenting Creditor’s failure to provide a response to the Company (i) shall not prejudice
such Consenting Creditor’s right to object or otherwise respond to such pleading or request for
relief after it is filed and (ii) shall not be cited or relied on in any pleading or document filed by
the Company in response to any objection or response filed by such Consenting Creditor;

               B.          commencing the Chapter 11 Case on or before November 17, 2021 (the
“Outside Petition Date,” and the actual commencement date, the “Petition Date”);

            C.          filing on the Petition Date the following pleadings and documents: (i)
cash management motion and proposed order, (ii) first day declaration, (iii) cash collateral motion


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and proposed order, (iv) automatic stay motion and proposed order, (v) DIP Financing Motion and
proposed Interim DIP Order, (vi) wages and benefits motion and proposed order, (vii)
critical/foreign vendor motion and proposed order, (viii) lienholder motion and proposed order,
(ix) taxes/fees motion and proposed order and (x) motion to assume this Agreement and proposed
order (collectively, the “First Day Pleadings”), each in form and substance reasonably satisfactory
to the Required Consenting Creditors.

             D.          filing within 10 business days of the Petition Date a motion and a
proposed order (which order shall be in form and substance reasonably acceptable to the
Consenting Creditors) to assume this Agreement pursuant to sections 363 and 365 of the
Bankruptcy Code or otherwise to approve the Agreement.

                E.            taking no actions to propose or otherwise consent to, and timely filing
a formal objection to any motion filed with the Bankruptcy Court by a third party seeking, the
entry of an order (i) converting the Chapter 11 Case to a case under chapter 7 of the Bankruptcy
Code; (ii) dismissing the Chapter 11 Case; (iii) modifying or terminating the Company’s exclusive
right to file and/or solicit acceptances of a plan of reorganization; (iv) directing the appointment
of a trustee pursuant to section 1104 of the Bankruptcy Code; (v) directing the appointment of an
examiner pursuant to section 1104 of the Bankruptcy Code; (vi) seeking an appointment of any
additional official committees of creditors, equity holders or other purported parties in interest
under section 1102 of the Bankruptcy Code; or (vii) granting any relief inconsistent with this
Agreement, the Plan, or the DIP Loan Documents;

               F.            taking all steps reasonably necessary or desirable to obtain an order of
the Bankruptcy Court, which shall be satisfactory in form and substance to the Required
Consenting Creditors in their sole and absolute discretion, confirming the Plan pursuant to section
1129 of the Bankruptcy Code (the “Confirmation Order”) in a manner that is consistent in all
respects with the terms and conditions set forth in the Plan and the Plan Term Sheet, on or before
the deadline set forth in this Agreement;

               G.          taking all steps reasonably necessary to cause the Restructuring
Transactions to occur on or before the milestones set forth in the DIP Term Sheet; and

                H.         taking no actions, directly or indirectly, and not encouraging any other
person to take any actions, that are inconsistent with or are reasonably likely to interfere with,
frustrate, delay or prevent the timely approval, confirmation and consummation of the Plan in
accordance with the terms and conditions of the Plan and this Agreement, subject to Section 3.02
hereof in all respects.

        (b)     Payment of Fees and Expenses. The Company shall promptly pay and reimburse
the reasonable and documented fees and expenses incurred by (i) ASSET Chile S.A. and FTI
Consulting Canada ULC, financial advisors selected by the Required Consenting Creditors, and
(ii) Norton Rose Fulbright US LLP, Landis Rath & Cobb LLP, and Carey y Cía Ltda., U.S., local
Delaware and Chilean counsel, respectively, selected by the Required Consenting Creditors, and
any other counsel reasonably necessary to advise the Required Consenting Creditors in connection
with the Restructuring Transactions (collectively, the “Ad Hoc Group Advisors”), set forth on
summary statements that provide general descriptions of the work performed during the relevant


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period (which descriptions may be limited or redacted in the professionals’ sole discretion to
protect matters that may be privileged or confidential), which statements are delivered to the
Company and/or Cleary Gottlieb Steen & Hamilton LLP, whether incurred before or after the date
hereof and regardless of whether the Restructuring contemplated herein is actually consummated
or the documentation related to the Restructuring is executed; provided, however, that to the extent
this Agreement is terminated in accordance with the terms hereof, the Company shall have no such
obligation to pay such fees and expenses pursuant to this Section 1.04(b) with respect to any fees
or expenses incurred after the date of such termination; provided further, that the Company’s
obligation to pay any such fees and expenses which are incurred after the Petition Date shall be
subject to reasonableness review by the Office of the United States Trustee and such other
conditions as may be imposed in orders of the Bankruptcy Court.

       (c)      Agreement to Negotiate. The Company shall negotiate in good faith with the goal
of reaching agreement regarding the Definitive Documentation, which shall be consistent in all
material respects with the Restructuring Documents and this Agreement and in form and substance
reasonably acceptable to the Company and the Required Consenting Creditors.

        (d)      Notice. The Company shall promptly provide written notice to the Consenting
Creditors in accordance with Section 5.09 hereof of: (1) the occurrence, or failure to occur, of any
event, change, effect, occurrence, development, circumstance or change of fact of which the
Company has knowledge, which occurrence or failure to occur would reasonably likely cause, or
has caused, (a) any representation or warranty of the Company contained in this Agreement or the
Restructuring Documents to be untrue or inaccurate in any material respect, (b) any covenant of
the Company contained in this Agreement or the Restructuring Documents not to be satisfied in
any material respect, (c) any occurrence that would cause any condition precedent to the Plan
Effective Date (i) not to be satisfied or (ii) become materially less likely to be satisfied or (d) a
material adverse impact on the ability of the Company to initiate solicitation of acceptance of the
Plan, file the Chapter 11 Case as contemplated herein, or consummate any other Restructuring
Transaction; (2) receipt of any written notice from any third party whose consent or agreement the
Company reasonably believes may be required in connection with the Restructuring Transactions
(a) indicating that such consent or agreement will not be provided by such party, (b) requesting
consideration in exchange for such consent, or (c) conditioning such consent on terms that are
inconsistent with the terms hereof; (3) receipt by the Company of any written notice from any
governmental body in connection with this Agreement, the Chapter 11 Case, the Plan, or any of
the other Restructuring Transactions; (4) receipt by the Company of any written notice of any
proceeding commenced against the Company relating to or involving or otherwise adversely
affecting in any material respect this Agreement, the Chapter 11 Case, the PPA (as defined below),
the Plan, or any of the other Restructuring Transactions; and (5) receipt by the Company of any
notice or communication from Minera Los Pelambres S.A. in connection with or relating to the
Power Purchase Agreement between Minera Los Pelambres SA. (originally Antofagasta Minerals
S.A.) and the Company, dated as of June 28, 2013 and amended on March 17, 2017 (the “PPA”).

         (e)      Continuation of Business. The Company shall continue to conduct the Company’s
business as currently conducted (subject to the other provisions of this Section 1.04 and as required
to facilitate the Restructuring Transactions in accordance with this Agreement) and to keep intact
the material assets, operations, contracts, and relationships of the Company’s business, shall
perform its post-petition administrative obligations under the Tunneling Construction Contract


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when and as they arise unless they are subject to bona fide dispute, and shall promptly inform the
Consenting Creditors about all occurrences that would reasonably be expected to have a material
adverse effect on the assets, operations, conditions (financial or otherwise), liquidity, or
relationships of the Company’s business, in each case taken as a whole.

        (f)     Maintenance of the PPA. The Company (i) shall take any and all actions necessary
to remain in compliance with and avoid the termination of the PPA pursuant to its terms and (ii)
shall not agree to amend, modify or waive any provisions of the PPA without the prior written
consent of the Consenting Creditors.

         (g)     Limitations on Actions. Absent the prior written consent of the Required
Consenting Creditors or as provided in the Plan Term Sheet, the Company shall refrain from:
(i) issuing any new equity interest or any securities or instruments convertible or exchangeable or
exercisable into equity interests; (2) engaging in any transactions that would violate the covenants
in the Common Terms Agreement; (3) making any payments (including through redemptions or
acquisitions or by way of distributions of assets) to holders of equity interests of the Company
(except as to payment to Strabag in respect of non-subordinated administrative obligations under
the Tunneling Construction Contract that are not subject to bona fide dispute) or making any
declarations for payments of dividends, including payments on account of equity interests issued
to any employee or directors of the Company pursuant to any compensation or benefit plans under
any agreement in effect as of the date hereof; and (4) except as otherwise provided or contemplated
in this Agreement, granting liens or suffering any liens to exist on any assets, in each case to secure
debt or derivatives or other financing arrangements, other than in respect of the Alto Maipo
Obligations.

        1.05.     Covenants of the Shareholders and the Sponsor.

         (a)       The Shareholders and the Sponsor shall (i) not, directly or indirectly, seek, solicit,
encourage, propose, assist, engage in negotiations in connection with or regarding or participate
in the formulation or preparation of, any restructuring proposal, offer of dissolution, winding up,
liquidation, sale or disposition, reorganization, merger or restructuring of the Company, or the
appointment of a receiver or, without the consent of the Company, the appointment of any official
or ad-hoc creditor or equity committee, other than the Restructuring (as the terms of which may
be modified by written agreement of the Company and the Consenting Creditors), (ii) not take any
action that would reasonably be expected to prevent, interfere with, delay or impede the Chapter
11 Case or the consummation of the Plan or any of the other Restructuring Transactions, including,
without limitation, (x) taking any action in contravention of the Required Amendments or taking
any action intending to reverse, undo, negate or limit the effect of the Required Amendments, or
(y) entering into any agreements, documents, contracts, or instruments that would reasonably be
expected to prevent, interfere with, delay or impede the Chapter 11 Case or the consummation of
the Plan or any of the other Restructuring Transactions (provided, however, that nothing herein
shall restrict Strabag from performing its obligations under the Tunneling Construction Contract),
(iii) (x) in its capacity as a creditor of the Company, vote in favor of the Plan, (y) not contest the
treatment of any claims or interests held by the Shareholders or the Sponsor under the Plan, and
(z) be bound in all respects by the Confirmation Order, (iv) in the case of the Sponsor, not directly
or indirectly, take any action, or encourage, propose, or assist the Company to take any action, that
would result in any amendment or termination of the PPA in contravention of the terms of this


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Agreement; and (v) in the case of the Sponsor, take all actions reasonably necessary or reasonably
requested by the Required Consenting Creditors to consummate the Plan and the other
Restructuring Transactions in accordance with the terms set forth in the Restructuring Documents,
including, without limitation, taking any necessary actions or obtaining necessary consents to
effectuate the Restructuring Transaction in compliance with Chilean law; provided, however, that
this Section 1.05(a) shall be binding on Strabag only as long as (x) this Agreement has not been
terminated as to Strabag in accordance with the terms of Section 3 hereof, (y) no circumstances
exist which would (1) cause this Agreement to terminate automatically, or (2) give Strabag the
right to deliver a written notice of termination of this Agreement as to Strabag, in each case under
the terms of Section 3.01 and notwithstanding any cure periods that would be otherwise applicable,
and (z) the Company is pursuing the Restructuring in a manner consistent in all respect with the
Restructuring Documents; provided further that nothing herein shall limit in any manner any
transfer or assignment of equity interests in Alto Maipo solely as between Norgener and the
Sponsor.

      (b)     the Sponsor shall, subject to the terms and conditions set forth herein, in the DIP
Term Sheet, and in the DIP Loan Documents, perform any obligations set forth in the DIP Loan
Documents.

       1.06.     Transfer of Interests.

        (a)      Except as expressly provided herein, this Agreement shall not in any way restrict
the right or ability of any Consenting Creditor to sell, use, assign, transfer, pledge, participate,
hypothecate or otherwise dispose of, directly or indirectly, any or all of its Alto Maipo Obligations;
provided, however, that for the period commencing as of the Effective Date until termination of
this Agreement pursuant to the terms hereof (such period, the “Restricted Period”), no Consenting
Creditor shall sell, assign, loan, transfer, pledge, participate, hypothecate or otherwise dispose of,
directly or indirectly, in whole or in part (“Transfer”) any Alto Maipo Obligations and any
purported Transfer of any Alto Maipo Obligations shall be void and without effect, unless (i) the
transferee is a Consenting Creditor that has not been notified by the Company that it is in breach
of this Agreement or (ii) if the transferee is not a Consenting Creditor prior to the Transfer, such
transferee delivers to the Company, at or prior to the time of the proposed Transfer, an executed
copy of the transfer agreement (each, a “Transfer Agreement”) in the form attached as Exhibit B
hereto pursuant to which such transferee shall assume all obligations of the Consenting Creditor
transferor hereunder in respect of the Alto Maipo Obligations being Transferred; provided that no
Consenting Creditor shall Transfer any or all of its Alto Maipo Obligations to any person or entity
that the Consenting Creditor has actual knowledge of the identity of such counterparty and actual
knowledge that such counterparty is an adverse party to any pending litigation or arbitration
involving the Company; provided, further, that the Consenting Creditors shall have no duty to
inquire or determine the identity of the counterparty to the Transfer or whether such counterparty
is an adverse party to any pending litigation against the Company.

       (b)      Upon consummation of any Transfer in compliance with Section 1.06(a), (i) any
person or entity that is a transferee shall be fully bound by this Agreement as a “Consenting
Creditor” and shall be a “Party” hereunder and (ii) the transferor shall no longer be bound by the
Agreement or the obligations, nor have any rights, hereunder with respect to any Alto Maipo
Obligations that have been Transferred. This Agreement shall in no way be construed to preclude


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the Consenting Creditors from acquiring additional Alto Maipo Obligations; provided, however,
that any additional claims and interests acquired by any Consenting Creditor after executing this
Agreement shall automatically and immediately upon acquisition by such Consenting Creditor be
deemed subject to all of the terms of this Agreement whether or not notice is given to the Company
and counsel to the Consenting Creditors of such acquisition. Each Consenting Creditor shall notify
Alto Maipo of the total principal amount of claims and interests held by such Consenting Creditor
upon execution of this Agreement (on its signature pages hereto) and, thereafter, promptly upon a
change in such total principal amounts; provided that the Company shall keep such information
confidential, which obligation shall survive termination of this Agreement.

       (c)      This Section 1.06 shall not impose any obligation on the Company to issue any
“cleansing letter” or otherwise publicly disclose information for the purpose of enabling a
Consenting Creditor to Transfer any Alto Maipo Obligations.

Section 2.      Representations and Warranties.

       2.01. Representations and Warranties of the Company. The Company represents and
warrants to each of the Consenting Creditors as of the date hereof to the best of its knowledge after
due inquiry and as of the Petition Date, the Voting Deadline, the date of entry of the Confirmation
Order and the Plan Effective Date, to the best of their knowledge, that:

         (a)       the information, reports, financial statements, certificates, memoranda and
schedules furnished (or to be furnished) in writing by or on behalf of the Company in connection
with the negotiation, preparation, or delivery and performance of this Agreement, the
Restructuring Transactions, and the Solicitation Materials do not, and will not as of the time they
shall be made or furnished, (i) contain any untrue statement of any material fact, (ii) omit to state
any material fact necessary to make such statements, information, reports, financial statements,
certificates, memoranda and schedules, taken as a whole and in light of the circumstances under
which they were made and as of the time at which they were made, not materially misleading, or
(iii) fail to disclose any material facts, occurrences, circumstances, or events including without
limitation any contingent or non-contingent liabilities of the Company the value of which liabilities
individually would reasonably be expected to exceed $500,000; and

        (b)      as of the date hereof, no draw request has been issued with respect to any letter of
credit related to the Tunneling Construction Contract.

        2.02. Representations and Warranties of the Consenting Creditors. Each of the
Consenting Creditors, severally and not jointly, represents and warrants to the Company (and not
to each other) that:

         (a)     Securities Law Representations. Although none of the Parties intends that this
Agreement should constitute, and they each believe it does not constitute, a solicitation or
acceptance of a Chapter 11 plan of reorganization or an offering of securities, each Consenting
Creditor acknowledges, agrees, and represents to the other Parties that it (a) is a Qualified
Institutional Buyer (as defined in Rule 144A of the Securities Act of 1933 (the "Securities Act")),
"institutional accredited investor" (within the meaning of Rule 501(a) of the Securities Act), U.S.
government agency or Non-"U.S. Person" (as defined in Regulation S of the Securities Act), (b)



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understands that any securities to be acquired by it pursuant to the Restructuring have not been
registered under the Securities Act and that such securities are, to the extent not acquired pursuant
to section 1145 of the Bankruptcy Code, being offered and sold pursuant to an exemption from
registration contained in the Securities Act, based in part upon such Consenting Creditor's
representations contained in this Agreement and cannot be sold unless subsequently registered
under the Securities Act or an exemption from registration is available, and (c) has such knowledge
and experience in financial and business matters that such Consenting Creditor is capable of
evaluating the merits and risks of the securities to be acquired by it pursuant to the Restructuring
and understands and is able to bear any economic risks with respect to such investment.

         (b)      Beneficial Ownership; No Transfer. (i) Such Consenting Creditor (A) has full
power and authority to act on behalf of and consent to matters concerning the Alto Maipo
Obligations for which it is the sole legal or beneficial owner or has sole investment or voting
discretion and to dispose of, exchange, assign and transfer such Alto Maipo Obligations, (B) holds
no other Alto Maipo Obligations and (C) has made no prior Transfer of, and has not entered into
any other agreement to Transfer, in whole or in part, any portion of its right, title, or interests in
any of the Alto Maipo Obligations that is inconsistent or conflicts with the representations and
warranties of such Consenting Creditor set forth in this Section 2.02(b), would otherwise render it
unable to comply with this Agreement and perform its obligations hereunder or would breach
Section 1.06(a); and (ii) other than pursuant to this Agreement, such Alto Maipo Obligations are
free and clear of any pledge, lien, security interest, charge, claim, equity, option, proxy, voting
restriction, right of first refusal or other limitation on disposition or encumbrance of any kind, that
would adversely affect in any way such Consenting Creditor’s performance of its obligations
contained in this Agreement at the time such obligations are required to be performed.

        2.03. Representations and Warranties of the Shareholders. Strabag represents and
warrants to the Company and the Consenting Creditors that Strabag holds 6.88% of the common
equity interests in Alto Maipo. The remaining Shareholders other than Strabag represent and
warrant to the Company and the Consenting Creditors that such Shareholders hold, in the
aggregate, 93.12% of the common equity interests in Alto Maipo. Each Shareholder represents
and warrants, severally and not jointly, that (i) each Shareholder (A) has full power and authority
to act on behalf of and consent to matters concerning the equity interests in the Company of which
it is the sole beneficial owner or has sole investment or voting discretion and to dispose of,
exchange, assign and transfer, such equity interests, (B) holds no other equity interests in the
Company, and (C) except as provided herein, has made no prior Transfer of, and has not entered
into any other agreement to Transfer, in whole or in part, any portion of its right, title, or interests
in any of the equity interests in the Company that would render it unable to comply with this
Agreement and perform its obligations hereunder; and (ii) other than pursuant to the Financing
Documents (as defined in the Common Terms Agreement), the Shareholders’ Agreement and this
Agreement, such equity interests are free and clear of any pledge, lien, security interest, charge,
claim, equity, option, proxy, voting restriction, right of first refusal or other limitation on
disposition or encumbrance of any kind, that would adversely affect in any way the Shareholders’
performance of their obligations contained in this Agreement at the time such obligations are
required to be performed.

       2.04. Mutual Representations and Warranties. The Company represents and warrants,
and each of the Consenting Creditors represents and warrants, severally and not jointly, and the


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Shareholders and the Sponsor represent and warrant, severally and not jointly, to each of the other
Parties that the following statements are true and correct as of the date hereof (each of which is a
continuing representation and warranty) and as of the Plan Effective Date:

        (a)     Existence; Enforceability. It is validly existing and in good standing under the
laws of the jurisdiction of its organization, and this Agreement is a legal, valid, and binding
obligation of such Party, enforceable against it in accordance with its terms.

       (b)     No Consent or Approval. Except as expressly provided in this Agreement, no
consent or approval is required by any other person or entity in order for it to carry out the
Restructuring contemplated by, and perform its respective obligations under, the Restructuring
Documents.

        (c)       Power and Authority. It has, or will have, all requisite corporate, partnership,
limited liability company or similar power and authority to enter into this Agreement and to carry
out the Restructuring contemplated by, and perform its respective obligations under, the
Restructuring Documents.

       (d)     Authorization; Execution. The execution, delivery and performance of this
Agreement and the performance of its obligations hereunder have been duly authorized by all
necessary corporate, partnership, limited liability company or similar action on its part. This
Agreement has been duly executed and delivered by it.

        (e)      No Conflicts. The execution, delivery and performance of this Agreement by it do
not and will not violate (i) any provision of law, rule or regulation applicable to it, (ii) its certificate
of incorporation or by-laws (or other organizational documents), (iii) any order of any court or
other governmental authority or regulatory body applicable to it, or (iv) any of the Company’s
material contracts or agreements except as would be waived, consented to or cured, if curable,
prior to the consummation of the Restructuring.

        (f)      Governmental Consents. The execution, delivery and performance by it of this
Agreement do not and will not require any registration or filing with, consent or approval of, or
notice to, or any other action to, with, or by, any federal, state or other governmental authority or
regulatory body, except, solely in the case of the Company, any filings in connection with the
Chapter 11 Case, including the approval of the Solicitation Materials and the confirmation of the
Plan and any filings with Chilean regulatory authorities as required by applicable law or regulation.

       (g)     Representation by Counsel. It has been represented by counsel in connection with
this Agreement and the Restructuring Transactions contemplated by this Agreement.

        (h)     Proceedings. Other than the Chapter 11 Case filed pursuant to the terms of this
Agreement, no litigation or proceeding before any court, arbitrator, or administrative or
governmental body is pending against it that would materially adversely affect its ability to enter
into this Agreement or perform its obligations hereunder.




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Section 3.      Termination Events.

        3.01. Consenting Creditor Termination Events. The Consenting Creditors or Strabag,
as applicable, may terminate this Agreement with respect to the Parties upon the occurrence of any
of the following events other than as set forth in Section 3.01(s) and Section 3.01(t) (each, a
“Consenting Party Termination Event”), and this Agreement shall automatically terminate upon
the occurrence of an event set forth in Section 3.01(s) and Section 3.01(t):

        (a)     the breach in any material respect by the Company, Norgener or the Sponsor of
any of the covenants, undertakings or any other obligation of the Company, Norgener or the
Sponsor set forth in this Agreement, the Plan Term Sheet or the DIP Loan Documents and such
breach, if curable, shall continue uncured until the earliest of (A) three (3) business days after
receipt by Alto Maipo, Norgener or the Sponsor of written notice of the breach from the Required
Consenting Creditors (or, with respect to the breach of any term in the Plan Term Sheet related to
the Tunneling Construction Contract or Supplier Deferred Payment, from Strabag) in accordance
with Section 5.09 hereof or (B) if notice of the breach has been provided by either the Required
Consenting Creditors (or, with respect to the breach of any term in the Plan Term Sheet related to
the Tunneling Construction Contract or Supplier Deferred Payment, by Strabag) or the Company,
the day immediately prior to the Voting Deadline, in each case, which termination shall be
effective automatically unless the Required Consenting Creditors (or, with respect to the breach of
any term in the Plan Term Sheet related to the Tunneling Construction Contract or Supplier
Deferred Payment, Strabag) provide a prior written waiver of such termination in accordance with
Section 5.09 hereof;

        (b)      any representation or warranty in this Agreement made by the Company, Norgener
or the Sponsor shall have been untrue in any material respect when made or shall have become
untrue in any material respect, and such breach, if curable, shall continue uncured until the earliest
of (A) three (3) business days after receipt by Alto Maipo and the Sponsor of written notice of the
breach from the Required Consenting Creditors in accordance with Section 5.09 hereof or (B) if
notice of the breach has been provided by either the Required Consenting Creditors or the
Company, the day immediately prior to the Voting Deadline, which termination shall be effective
automatically unless the Required Consenting Creditors provide a prior written waiver of such
termination in accordance with Section 5.09 hereof;

        (c)      the issuance by any governmental authority having jurisdiction over the Company,
Norgener, the Sponsor or their assets, including any regulatory authority or court of competent
jurisdiction, of any ruling, order or any other document or official record (i) enjoining the
substantial consummation of the Restructuring, (ii) making illegal or otherwise restricting,
preventing, or prohibiting the Restructuring or compliance with any term or condition of the
Restructuring or (iii) otherwise substantially impeding or rendering impossible or impracticable
the substantial consummation of the Restructuring, and such ruling, order, or other document is
not dismissed, stayed, reversed or lifted by the earliest of (x) five (5) business days following the
issuance thereof or (y) the day immediately prior to the Voting Deadline, in each case, which
termination shall be effective upon the Required Consenting Creditors’ delivery of written notice
of termination to all Parties in accordance with Section 5.09 hereof;




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        (d)     the Company has filed, propounded, solicited votes upon, sought confirmation of
or otherwise supported an alternative restructuring transaction relating to any of the Alto Maipo
Obligations other than the Plan, including without limitation, the filing of any other chapter 11
plan or any other plan of reorganization under any applicable law, which termination shall be
effective upon the Required Consenting Creditors’ delivery of written notice of termination to all
Parties in accordance with Section 5.09 hereof;

        (e)       the Company has filed with the Bankruptcy Court any motion or application
seeking authority to use, sell, abandon or otherwise dispose of any assets, whether in the ordinary
court of its business or otherwise, which motion or application is in a form not acceptable to the
Required Consenting Creditors in their reasonable discretion, which termination shall be effective
upon the Required Consenting Creditors’ delivery of written notice of termination to all Parties in
accordance with Section 5.09 hereof; provided, however, that the filing by the Company of any
motion or application seeking authority to sell all, or substantially all, of the Company’s assets
shall result in the automatic termination of this Agreement;

        (f)     an examiner with expanded powers (beyond those set forth in section 1106(a)(3)
or (4) of the Bankruptcy Code) or a trustee shall have been appointed in the Chapter 11 Case, the
Chapter 11 Case shall have been converted to a case under chapter 7 of the Bankruptcy Code, or
the Chapter 11 Case shall have been dismissed by an order of the Bankruptcy Court or converted
to a case under chapter 7 of the Bankruptcy Code, or the Company, Norgener or the Sponsor file
or encourage a motion seeking any of the foregoing, which termination shall be effective upon the
Required Consenting Creditors’ delivery of written notice of termination to all Parties in
accordance with Section 5.09 hereof;

       (g)      the Company announces its intention to withdraw or revoke the Plan, dismiss the
Chapter 11 Case, terminate the Restructuring or otherwise not to consummate the Restructuring
on terms and conditions consistent in all material respects with this Agreement and the Plan, which
termination shall be effective upon the Required Consenting Creditors’ delivery of written notice
of termination to all Parties in accordance with Section 5.09 hereof;

        (h)      the Company shall be declared the subject of any insolvency, bankruptcy,
liquidation or reorganization proceeding (other than the Chapter 11 Case contemplated herein)
under the laws of any jurisdiction that prevents the implementation of the Restructuring and, only
if such proceeding is an involuntary insolvency proceeding, it is not dismissed, stayed, reversed or
lifted within sixty (60) days of such declaration, which termination shall be effective automatically
unless the Required Consenting Creditors provide a prior written waiver of such termination in
accordance with Section 5.09 hereof;

        (i)      the amendment, modification or filing of a pleading by the Company seeking to
amend or modify the Restructuring Documents (or, with respect to Strabag, reject the Tunneling
Construction Contract), or any documents related to the foregoing, including motions, notices,
exhibits, appendices and orders, in respect of which the consent of the Required Consenting
Creditors (or, with respect to rejection of the Tunneling Construction Contract, Strabag) is required
under this Agreement, without the prior consent of the Required Consenting Creditors (or, with
respect to rejection of the Tunneling Construction Contract, Strabag), and such pleading or related
document has not been withdrawn prior to the earliest of (i) three (3) business days of the


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Company’s or Sponsor’s receiving written notice in accordance with Section 5.09 hereof from
counsel to the Required Consenting Lenders (or, with respect to rejection of the Tunneling
Construction Contract, counsel to Strabag) that such motion or pleading violates this Section
3.01(i), and (ii) entry of an order of the Bankruptcy Court approving such motion, which
termination shall be effective upon the Required Consenting Creditors’ (or, with respect to
rejection of the Tunneling Construction Contract, Strabag’s) delivery of written notice of
termination to all Parties in accordance with Section 5.09 hereof;

        (j)      the Bankruptcy Court or any court with requisite jurisdiction grants relief that is
(i) materially inconsistent with this Agreement or the Plan, (ii) in a form materially different than
a Restructuring Document or other Definitive Documentation approved by the Required
Consenting Creditors or (iii) materially and adversely affects the rights of the Consenting Creditors
under this Agreement, without the consent of the Required Consenting Creditors, or the Company
requests or encourages any of the foregoing, and the Company has not obtained an order amending
or modifying the relief in form and substance reasonably acceptable to the Required Consenting
Creditors within five (5) business days following entry of an order granting such relief, which
termination shall be effective upon the Required Consenting Creditors’ delivery of written notice
of termination to all Parties in accordance with Section 5.09 hereof;

       (k)     either the order approving the Solicitation Materials and the disclosure statement
or the Confirmation Order is reversed, stayed, dismissed, vacated, reconsidered or is materially
modified or materially amended after entry in a manner that is not acceptable to the Required
Consenting Creditors in their reasonable discretion, which termination shall be effective upon the
Required Consenting Creditors’ delivery of written notice of termination to all Parties in
accordance with Section 5.09 hereof;

       (l)      the occurrence of the Maturity Date (as defined in the DIP Credit Agreement) of
the DIP Credit Facility without the Plan having been substantially consummated, which
termination shall be effective upon the Required Consenting Creditors’ delivery of written notice
of termination to all Parties in accordance with Section 5.09 hereof;

        (m)      the Plan Effective Date shall not have occurred on or prior to the date that is ten
(10) months following the date of the Petition Date, provided, that, the date included in this Section
3.01(m) shall automatically be increased by the same number of calendar days that any milestone
set forth in the DIP Term Sheet is extended at the request of the Company with the consent of the
Required Consenting Creditors, which termination shall be effective upon the Required
Consenting Creditors’ delivery of written notice of termination to all Parties in accordance with
Section 5.09 hereof;

       (n)      a custodian or receiver or similar entity is appointed with respect to the Company
or any substantial part of the property of the Company, and such appointment is not revoked,
dismissed, reversed or lifted within five (5) business days of such appointment, which termination
shall be effective upon the Required Consenting Creditors’ delivery of written notice of
termination to all Parties in accordance with Section 5.09 hereof;

       (o)    the failure by the Company to pay any fee in accordance with Section 1.04(b)
hereof when due and such failure is not cured within thirty (30) business days after receipt by Alto


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Maipo and the Sponsor of written notice of such failure from the Required Consenting Creditors
in accordance with Section 5.09 hereof

        (p)      the commencement of any litigation, action, lawsuit or adverse proceeding before
a governmental authority regarding the Restructuring or the transactions contemplated hereby or
by the Restructuring Documents or with respect to the PPA by any person other than a Consenting
Creditor or any person acting on its behalf or at the instruction, behest or with the encouragement
of any Consenting Creditor (other than a litigation, action, lawsuit or adverse proceeding by the
Company to enforce this Agreement) naming the Company, the Sponsor, Norgener or any
Consenting Creditors as a party and such litigation, action, lawsuit or adverse proceeding results
in an adverse ruling (i) enjoining the Restructuring or the transactions contemplated hereby or by
the Restructuring Documents or (ii) a final and non-appealable judgment, order or arbitral award
(or series thereof) against the Company for the payment of money in excess of the aggregate of
fifteen million Dollars ($15,000,000) (or its equivalent in any other currency) and that judgment,
order or arbitral award continues to be unsatisfied or is not vacated, discharged or stayed within
sixty (60) days, which termination shall be effective upon the Required Consenting Creditors’
delivery of written notice of termination to all Parties in accordance with Section 5.09 hereof;

        (q)     the Company loses the exclusive right to file and solicit acceptances of a plan of
reorganization, or the Company files or actively encourages the filing of a motion seeking the
termination of exclusivity, which termination shall be effective upon the Required Consenting
Creditors’ delivery of written notice of termination to all Parties in accordance with Section 5.09
hereof;

        (r)      the occurrence of any material change, effect, event, circumstance or development
(collectively, “Material Changes”) that individually or in the aggregate and taken together with all
other Material Changes, has had or would reasonably be expected to have, a materially adverse
effect on (i) the business, operations, financial condition or results of operations of the Company
or (ii) the ability of the Company to consummate the Plan or any of the other Restructuring
Transactions, which termination shall be effective upon the Required Consenting Creditors’
delivery of written notice of termination to all Parties in accordance with Section 5.09 hereof;

        (s)     (1) the Company (x) files a motion to reject the PPA or (y) amends the PPA in
violation of Section 1.04(f), (2) an order is entered by the Bankruptcy Court authorizing
termination of the PPA or (3) the PPA is otherwise terminated; or

       (t)     the failure of the Bankruptcy Court to enter an order by January 31, 2022
authorizing and directing the Company to assume the RSA or otherwise approving the RSA.

Notwithstanding the foregoing, the right to terminate pursuant to this Section 3.01 shall not be
available to any Consenting Creditor based on a Consenting Party Termination Event if a breach
of this Agreement by any of the Consenting Creditors has resulted in such Consenting Party
Termination Event.

       3.02. Company Termination Events. The Company or Sponsor, as applicable, may
terminate this Agreement with respect to the Parties as specified herein upon prior written notice,




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delivered to all Parties in accordance with Section 5.09 hereof, upon the occurrence of any of the
following events (each, a “Company Termination Event”):

         (a)     prior to the occurrence of the Voting Deadline, the breach by one or more
Consenting Creditors of any of the representations, warranties or covenants of such Consenting
Creditor set forth in this Agreement, such that the non-breaching Consenting Creditors, at any
time, hold or control less than 75% of the principal amount of the Alto Maipo Obligations held by
all of the Consenting Creditors, and which breach remains uncured for a period of five (5) business
days after the receipt by such breaching Consenting Creditor(s) of written notice of such breach
from the Company or Sponsor in accordance with Section 5.09 hereof;

        (b)     after the occurrence of the Voting Deadline, the material breach by one or more
Consenting Creditors of any of the representations, warranties or covenants of such Consenting
Creditor set forth in this Agreement, such that the non-breaching Consenting Creditors, at any
time, together with all other holders of the Alto Maipo Obligations who vote in favor of the Plan,
in the aggregate, hold or control less than 66 2/3% of the principal amount of the Alto Maipo
Obligations or constitute less than one-half in number of such creditors who voted in favor of the
Plan, and which breach remains uncured for a period of five (5) business days after the receipt by
such breaching Consenting Creditor(s) of written notice of such breach from the Company or
Sponsor;

        (c)       the issuance by any governmental authority having jurisdiction over the Company
or its assets, including any regulatory authority or court of competent jurisdiction, of any final,
non-appealable ruling or order enjoining the consummation of a material portion of the
Restructuring;

        (d)      the Plan Effective Date shall not have occurred on or prior to the date that is seven
(7) months following the date of the Petition Date; provided that the date included in this Section
3.02(e) shall automatically be increased by the same number of calendar days that any milestone
set forth in the DIP Term Sheet is extended at the request of the Company and with the consent of
the Required Consenting Creditors and Sponsor;

       (e)      the commencement of any litigation, action, lawsuit or adverse proceeding before
a governmental authority regarding the Restructuring or the transactions contemplated hereby or
by the Restructuring Documents by any person other than the Company, Norgener, the Sponsor,
or any person acting on behalf of or at the instruction, behest or with the encouragement of the
Company, Norgener or the Sponsor (other than a litigation, action, lawsuit or adversary proceeding
by the Consenting Creditors to enforce this Agreement) naming any of the Consenting Creditors,
Norgener, the Sponsor or the Company as a party and such litigation, action, lawsuit or adverse
proceeding results in an adverse ruling (i) enjoining the Restructuring or the transactions
contemplated hereby or by the Restructuring Documents or (ii) a final and non-appealable
judgment, order or arbitral award (or series thereof) against the Company for the payment of
money in excess of the aggregate of fifteen million Dollars ($15,000,000) (or its equivalent in any
other currency) and that judgment, order or arbitral award continues to be unsatisfied or is not
vacated, discharged or stayed within sixty (60) days, and Alto Maipo delivers to the Consenting
Creditors a written notice of termination in accordance with Section 5.09 hereof; or



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        (f)     the Company reasonably determines, based on the advice of outside advisors (after
consultation with outside counsel), that termination of this Agreement is required under any
fiduciary duties the Company owes to creditors or other stakeholders and Alto Maipo delivers to
the Consenting Creditors a written notice of termination in accordance with Section 5.09 hereof.

Notwithstanding the foregoing, the right to terminate pursuant to this Section 3.02 shall not be
available to the Company based on a Company Termination Event if a breach of this Agreement
by the Company has resulted in such Company Termination Event.

       3.03. Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
may be terminated by mutual agreement among the Company and the Required Consenting
Creditors.

       3.04.     Effect of Termination.

        (a)      Upon termination of this Agreement under Sections 3.01, 3.02 or 3.03 hereof, this
Agreement shall be of no further force and effect and each Party shall be released from its
commitments, undertakings and agreements under or related to this Agreement and shall have the
rights and remedies that it would have had had it not entered into this Agreement, and shall be
entitled to take all actions, whether with respect to the Restructuring or otherwise, that it would
have been entitled to take had it not entered into this Agreement; provided, however, that no such
termination shall relieve any Party of its breach or non-performance of its obligations hereunder
prior to the date of such termination. Upon the occurrence of any termination of this Agreement,
any and all consents given or votes of Consenting Creditor Claims and Interests occurring prior to
such termination by the Consenting Creditors shall be deemed, for all purposes, to be null and void
ab initio and shall not be considered or otherwise used in any manner by the Parties in connection
with the Restructuring and this Agreement or otherwise.

       3.05. Automatic Termination Upon Plan Effective Date. This Agreement shall
terminate automatically, without any further required action or notice by any Party, immediately
following the effectiveness of the Plan on the Plan Effective Date.

Section 4.      Amendments. This Agreement may not be modified, amended, or supplemented
(except as expressly provided herein) except in writing signed by the Company, the Shareholders,
the Sponsor and each Consenting Creditor bound by such modification, amendment or supplement;
provided that a writing transmitted by electronic mail shall be sufficient for the purposes of this
provision.

Section 5.       Miscellaneous.

        5.01. Further Assurances. Subject to the other terms of this Agreement, the Parties agree
to execute and deliver such other instruments and perform such acts, in addition to the matters
herein specified, as may be reasonably appropriate or necessary, from time to time, to effectuate
the Restructuring in a manner materially consistent with the terms and conditions set forth in the
Restructuring Documents.

       5.02. Complete Agreement. This Agreement and the exhibits, schedules and other
attachments hereto represent the entire agreement between the Parties with respect to the subject


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matter hereof and supersede all prior agreements, oral or written, among the Parties with respect
thereto; provided, however, that upon the Plan Effective Date, the Plan, the Confirmation Order
and the Definitive Documentation executed in accordance therewith shall survive and supersede
this Agreement and shall continue to be in full force and effect in accordance with its terms
irrespective of this Agreement. No claim of waiver, modification, consent, or acquiescence with
respect to any provision of this Agreement shall be made against any Party, except on the basis of
a written instrument executed by or on behalf of such Party or as may be carried out in accordance
with Section 4 hereof. Notwithstanding anything herein to the contrary, the provisions of Section
1.04(b) shall survive termination of this Agreement.

        5.03. Parties; Successors and Assigns. This Agreement shall be binding upon, and inure
to the benefit of, the Parties. No rights or obligations of any Party under this Agreement may be
assigned or transferred to any other person or entity except as provided in Section 1.06
hereof. Nothing in this Agreement, express or implied, shall give to any person or entity, other
than the Parties, any benefit or any legal or equitable right, remedy, or claim under this Agreement.

       5.04. Headings. The headings of all sections of this Agreement are inserted solely for
the convenience of reference and are not a part of and are not intended to govern, limit, or aid in
the construction or interpretation of any term or provision hereof.

    5.05. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
FORUM; WAIVER OF TRIAL BY JURY.

     (a)   THIS AGREEMENT IS TO BE GOVERNED BY AND SHALL BE
CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK,
UNITED STATES OF AMERICA WITHOUT TAKING INTO ACCOUNT ITS CONFLICTS
OF LAWS PRINCIPLES (OTHER THAN SECTIONS 5-1401 AND 5-1402 OF THE NEW
YORK GENERAL OBLIGATIONS LAW).

        (b)       All actions and claims pursuant to this Agreement shall be heard and determined
in the courts of the United States of America located in the Southern District of New York or in
the courts of the State of New York located in the Borough of Manhattan (the “Chosen Courts”).
Consistent with the preceding sentence and to the fullest extent permitted by applicable law, the
Parties hereby (i) irrevocably submit to the exclusive jurisdiction of the Chosen Courts in any such
action or proceeding, (ii) waive any objection to laying of venue in any such action or proceeding
in the Chosen Courts, and (iii) waive any objection that the Chosen Courts are an inconvenient
forum or do not have jurisdiction over any Party; provided, however, that each of the Parties hereby
agrees that, for the duration of any Chapter 11 Case, (y) the Bankruptcy Court shall have exclusive
jurisdiction of all matters arising out of or in connection with, and that the Bankruptcy Code shall
govern, the Plan and (z) the Bankruptcy Court shall have exclusive jurisdiction of all actions and
claims arising out of or in connection with this Agreement. If the Bankruptcy Court abstains from
exercising or determines its lack of jurisdiction, the Chosen Courts shall have exclusive
jurisdiction of all actions and claims pursuant to this Agreement. The foregoing shall not limit the
rights of any Party to introduce this Agreement in any court in any jurisdiction in order to defend
against a cause of action that has been brought against it or any of its affiliates or representatives
in such court.



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     (c)   TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, EACH
PARTY HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY AND ALL
RIGHTS TO DEMAND A TRIAL BY JURY IN ANY ACTION, SUIT OR PROCEEDING
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY.

        (d)       The Company appoints C T Corporation System (the “New York Process Agent”),
with an office at 28 Liberty Street, New York, NY 10005, as its agent to receive on behalf of itself
and its property, service of copies of all writs, claims, process, complaint, summonses and any
other process that may be served in any legal or other proceeding with respect to matters arising
out of, based upon or in connection with this Agreement or the transactions contemplated hereby,
and agrees to promptly appoint a successor New York Process Agent in the City of New York
(which appointment the successor New York Process Agent shall accept in writing prior to the
termination for any reason of the appointment of the initial New York Process Agent). In any such
legal or other proceeding, such service may be made on the Company by delivering a copy of such
process to it in care of the appropriate New York Process Agent at such New York Process Agent’s
address. Nothing in this Agreement shall in any way be deemed to limit the ability to serve any
writs, process or summonses in any other manner permitted by applicable law.

       5.06. Execution of Agreement. This Agreement may be executed and delivered (by
facsimile, electronic mail, or otherwise) in any number of counterparts, each of which, when
executed and delivered, shall be deemed an original, and all of which together shall constitute the
same agreement.

        5.07. Interpretation. This Agreement is the product of negotiations between the
Company, the Shareholders, the Sponsor and the Consenting Creditors, and in the enforcement or
interpretation hereof, is to be interpreted in a neutral manner, and any presumption with regard to
interpretation for or against any Party by reason of that Party having drafted or caused to be drafted
this Agreement, or any portion hereof, shall not be effective in regard to the interpretation hereof.

        5.08. Severability. If the whole or any part of a provision of this Agreement is declared
void, unenforceable or illegal in any jurisdiction, it is severed for the purposes of that jurisdiction
and the remainder of this Agreement shall be unaffected thereby and shall remain in full force and
effect in such jurisdiction. In this event, the remainder of this Agreement will have full force and
effect and the validity or enforceability of the relevant provision in any other jurisdiction is not
affected.

        5.09. Notices. All notices hereunder shall be deemed given if in writing and delivered,
if sent by electronic mail, courier, or registered or certified mail (return receipt requested) to the
following addresses (or at such other addresses as shall be specified by like notice):

       (a)      if to the Company, to:

               Alto Maipo SpA
               Av. Los Conquistadores 1730, piso 10
               Providencia, Santiago, Chile
               Attention: Javier Dib



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               Telephone: +56 22686-8910
               Email: javier.dib@aes.com

               with copies (which shall not constitute notice) to:

               Cleary Gottlieb Steen & Hamilton LLP
               One Liberty Plaza
               New York, NY 10006
               Attention: Richard J. Cooper
                          Luke A. Barefoot
               E-mail addresses: rcooper@cgsh.com; lbarefoot@cgsh.com

       (a)      if to the Sponsor, to:

               AES Andes S.A.
               Av. Los Conquistadores 1730, piso 10
               Providencia, Santiago, Chile
               Attention: Ricardo Roizen and Felix Gomez
               Telephone: +56 22686-8900
               Email: ricardo.roizen@aes.com; felix.gomez@aes.com
               with copies to (which shall not constitute notice):

               AES Andes S.A.
               Av. Los Conquistadores 1730, piso 10
               Providencia, Santiago, Chile
               Attention: Maria Paz Cerda and Andrea Sougarret
               Telephone: +56 22686-8900
               Email: mariapaz.cerda@aes.com; andrea.sougarret@aes.com

               Morris, Nichols, Arsht & Tunnell LLP
               1201 North Market Street, 16th Floor
               P.O. Box 1347
               Wilmington, Delaware 19899-1347
               Attention: Derek Abbott
               Telephone: +1 (302) 351-9357
               E-mail: DAbbott@morrisnichols.com


       (b)     if to a Consenting Creditor or a transferee thereof, to the addresses set forth below
following the Consenting Creditor’s signature (or as directed by any transferee thereof), as the case
may be, with copies (which shall not constitute notice) to:

               Norton Rose Fulbright US LLP
               1301 Avenue of the Americas
               New York, NY 10019
               Attention: Marissa Alcala
                          Christy Rivera


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               Email addresses: marissa.alcala@nortonrosefulbright.com;
                                christy.rivera@nortonrosefulbright.com

       (c)     if to Strabag or a transferee thereof, to the address set forth below following
Strabag’s signature (or as directed by any transferee thereof), as the case may be, with copies
(which shall not constitute notice) to:

               Troutman Pepper Hamilton Sanders LLP
               4000 Town Center, Suite 1800
               Southfield, MI 48075
               Attention: Robert S. Hertzberg
               Email address: robert.hertzberg@troutman.com
               -and-
               Troutman Pepper Hamilton Sanders LLP
               Hercules Plaza
               1313 N. Market Street, Suite 5100
               Wilmington, DE 19801
               Attention: David M. Fournier
               Email address: david.fournier@troutman.com

Any notice given by delivery, mail, or courier shall be effective when received. Any notice that
is required to or may be delivered on behalf of the Company hereunder shall be deemed delivered
on behalf of the Company when delivered by the Company.

        5.10. Reservation of Rights; Waiver. Except as expressly provided in this Agreement,
nothing herein is intended to, or does, in any manner waive, limit, impair, or restrict any right of
any Consenting Creditors or the ability of each of the Consenting Creditors to protect and preserve
its rights, remedies, and interests, including, without limitation, its claims against or interests in
the Company under the Alto Maipo Obligations and other agreements and documents relating
thereto, as well as under applicable law. If the Restructuring is not consummated in accordance
with the terms of the Restructuring Documents (including this Agreement), or if this Agreement
is terminated for any reason (other than under Section 3.05 hereof), the Parties fully reserve any
and all of their rights. Pursuant to Rule 408 of the Federal Rules of Evidence and any other
applicable rules of evidence, this Agreement and all negotiations relating hereto shall not be
admissible into evidence in any proceeding other than a proceeding to enforce its terms.

        5.11. Specific Performance. It is understood and agreed by the Parties that money
damages may be an insufficient remedy for any breach of this Agreement by any Party and each
non-breaching Party shall be entitled to seek specific performance and injunctive or other equitable
relief as a remedy of any such breach, including without limitation, an order of the Bankruptcy
Court or other court of competent jurisdiction requiring any Party to comply promptly with any of
its obligations hereunder.

       5.12. Several, Not Joint, Obligations. Unless otherwise provided herein, the
agreements, representations, and obligations of the Parties under this Agreement are, in all
respects, several and not joint.


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        5.13. Remedies Cumulative. All rights, powers, and remedies provided under this
Agreement or otherwise available in respect hereof at law or in equity shall be cumulative and not
alternative, and the exercise of any right, power, or remedy thereof by any Party shall not preclude
the simultaneous or later exercise of any other such right, power, or remedy by such Party.

        5.14. No Third-Party Beneficiaries. Unless expressly stated herein, this Agreement
shall be solely for the benefit of the Parties, and no other person or entity shall be a third-party
beneficiary hereof.

        5.15. Automatic Stay. The Parties acknowledge that the giving of notice or the
disclosure of information, including under Section 5.19 hereof, or termination by any Party,
including under Section 3 hereof, shall not be stayed by section 362 of the Bankruptcy Code or
other similar applicable law, to the extent applicable, and to the extent the Bankruptcy Court
determines otherwise, the delivering Party shall not be subject to any damages on account of the
giving of such notice or disclosure or with respect to termination.

        5.16. Acknowledgement. Notwithstanding any other provision herein, this Agreement
is not and shall not be deemed to be an offer with respect to any securities or solicitation of votes
for the acceptance of a plan of reorganization for purposes of sections 1125 and 1126 of the
Bankruptcy Code or otherwise. Any such offer or solicitation will be made only in compliance
with all applicable securities laws and provisions of the Bankruptcy Code. The Company will not
solicit acceptances of the Plan from the holders of Alto Maipo Obligations in any manner
inconsistent with the Bankruptcy Code or applicable non-bankruptcy law, and no obligation by
any Consenting Creditor to vote to accept the Plan will be enforceable unless and until the
Solicitation Materials are approved by the Bankruptcy Court in accordance with the terms herein.

        5.17. Survival. Notwithstanding anything contained herein to the contrary, upon any
termination of this Agreement (whether as a result of the consummation of the Restructuring, or
its termination pursuant to Section 3 hereof or otherwise), the agreements and obligations of the
Parties set forth in Section 1.04(b) (provided that Section 1.04(b) is not intended to supersede, or
provide rights in addition to, those set forth in the agreements set forth with the firms named
therein), the proviso to the last sentence of Section 1.06(b), Section 2.01, Section 2.02, Section
2.03, Section 2.04, Section 3.04 and Section 5 hereof shall survive the termination of this
Agreement.

       5.18.     Relationship Among Parties; Consents.

        (a)     It is understood and agreed that no Consenting Creditor has any duty of trust or
confidence in any form with any other Consenting Creditor, and, except as provided in this
Agreement, there are no commitments among or between them. In this regard, it is understood
and agreed that any Consenting Creditor may transfer or trade in the New Obligations without the
consent of the Company or any other Consenting Creditor, subject to applicable securities laws
and the terms of this Agreement, including, specifically, Section 1.06; provided, further, that no
Consenting Creditor shall have any responsibility for any such trading by any other entity by virtue
of this Agreement. No prior history, pattern or practice of sharing confidences among or between
the Consenting Creditors shall in any way affect or negate this understanding and agreement.




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        (b)      As used in this Agreement, any consent, waiver or other form of approval by or
from the Consenting Creditors shall be exercised or withheld in the sole discretion, exercised in
good faith, of such Parties. The Company shall be permitted to rely upon any written confirmation
(including by email) from Norton Rose Fulbright US LLP expressly confirming a consent, waiver
or other form of approval by the Consenting Creditors. The Company shall be permitted to rely
upon any written confirmation (including by email) from Troutman Pepper Hamilton Sanders LLP
expressly confirming a consent, waiver or other form of approval by Strabag.

       5.19.     Publicity.

         (a)     The Consenting Creditors shall not (i) use the name of the Company in any press
release or (ii) disseminate to any news media any press releases, public filings, public
announcements or other communications relating to this Agreement or the Restructuring
Transactions and any amendments thereof without first (A) submitting such press releases, public
filings, public announcements or other communications to counsel for the Company for review
and potential suggestions and (B) receiving the prior written consent of the Company. Nothing
contained herein shall be deemed to waive, amend or modify the terms of any confidentiality or
non-disclosure agreement between the Company and any Consenting Creditor.

        (b)      At least one (1) business day prior to making any public disclosure that (i)
constitutes disclosure of the existence or terms of this Agreement or any amendment to the terms
of this Agreement, (ii) makes any other disclosure that includes descriptions of the Restructuring
or any Consenting Creditors or (iii) constitutes disclosure of the aggregate amount or percentage
of claims held by the Consenting Creditors, the Company shall submit drafts to Norton Rose
Fulbright US LLP of any press releases or public documents, shall negotiate any proposed changes
thereto in good faith and shall not publish such documents unless they are satisfactory to the
Required Consenting Creditors in their sole and absolute discretion.




                                   [Signature pages to follow]




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                IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed and delivered by their respective duly authorized officers, solely in their respective
capacity as officers of the undersigned and not in any other capacity, as of the Effective Date.

  ALTO MAIPO SPA                                      AES ANDES S.A.
  By:    __________________________                   By:     __________________________
         Name:                                                Name:
         Title:                                               Title:

  NORGENER SPA

  By:    __________________________
         Name:
         Title:




                           [SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT]
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WARBLER RUN I LLC


__________________________________________
 _________
        ______
             ____________
Name:
 ame: S. V
         Vezina
            eezzina
Title: Authorized Signatory

Address: 500 Boylston St, 24th Fl.
         Boston, MA 02116


Attention: Tim Caflisch;
tcaflisch@finepointcap.com
Ops@finepointcap.com
Telephone: 617-336-2200
Facsimile: 617-336-2276




                          [SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT]
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DNB BANK ASA


__________________________________________
       _______________     _______________
Name: Eivind Hildre           Nils Fykse
Title: SVP                    SVP

Address: Dronning Eufemias gt 30
         0191 Oslo, Norway


Attention:
Eivind Hildre (eivind.hildre@dnb.no)
Nils Fykse (nils.fykse@dnb.no)

Telephone: +4791504800
Facsimile: n/a




                         [SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT]
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            ITAÚ CORPBANCA




            __________________________________________
            Name: Sebastián Romero Evans
            Title: Officer
            Telephone: 56283406213
            Address: Presidente Riesco 5537, Las Condes,
            Santiago, Chile




            ITAÚ CORPBANCA




            __________________________________________
            Name: Carlos Irarrázaval Cruzat
            Title: Officer
            Telephone: 56283406277
            Address: Presidente Riesco 5537, Las Condes,
            Santiago, Chile




                                           [SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT]
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                                                                                    Execution Version


              EXHIBIT A TO RESTRUCTURING SUPPORT AGREEMENT


                                       ALTO MAIPO S.P.A.

                                         PLAN TERM SHEET

The terms set out in this indicative term sheet (this “Plan Term Sheet”) are preliminary and
indicative solely for discussion purposes, and are not intended to describe or include all of the
terms and conditions of the restructuring of indebtedness issued by Alto Maipo S.p.A. (the
“Company” or “Alto Maipo”) or to set forth the definitive contractual language of any provisions
summarized below. This Plan Term Sheet is not binding on any party, is subject to, among other
things, ongoing diligence and negotiation and is solely for the purpose of promoting discussion of
the structure and other terms applicable to the restructuring.

This Plan Term Sheet is not an offer with respect to any securities, or a solicitation of
acceptances of any chapter 11 plan within the meaning of section 1125 of the Bankruptcy Code
or any other plan of reorganization, scheme of arrangement, or similar process under any other
applicable law. Any such offer or solicitation will comply with all applicable laws, and provisions
of the Bankruptcy Code. No party shall be bound with respect to any transaction until the
agreement, execution, and delivery of definitive documentation after obtaining all necessary
internal approvals.

Capitalized terms used herein and not otherwise defined shall have the meanings assigned to such
terms in Annex I attached hereto.

This Plan Term Sheet (and communications concerning it) is being provided in furtherance of
settlement discussions entered into by the Company and the Consenting Creditors (as defined
below), and it is entitled to the protections from use or disclosure afforded by New York C.P.L.R.
Section 4547, Fed. R. Evid. 408 and any similar U.S. or Chilean state, federal or other applicable
rule that restricts or prohibits use. All statements made in this Plan Term Sheet or in
communications concerning it are in the nature of settlement discussions and compromise, are not
intended to be and do not constitute representations of any fact or admissions of any liability, are
to be used only for the purpose of attempting to reach a consensual compromise and settlement,
are subject to and governed by the terms and conditions of existing confidentiality agreements,
and are not admissible in any court. In the event of a conflict between the terms and conditions of
this Plan Term Sheet, including this paragraph, and any existing confidentiality agreement, the
terms and conditions of such confidentiality agreement shall govern.

                GENERAL PROVISIONS REGARDING THE RESTRUCTURING

 Implementation                            The Company will file a voluntary Chapter 11 Case in the
                                           United States Bankruptcy Court for the District of Delaware.
                                           The following is a summary of a proposed pre-arranged plan
                                           of reorganization for the Company (the “Plan”) to be filed in
                                           the Bankruptcy Case as soon as reasonably practicable




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                                    following the date on which the petitions are filed (the
                                    “Petition Date”).

                                    On the Plan Effective Date, or as soon as is reasonably
                                    practicable thereafter, each holder of an Allowed Claim or
                                    Interest, as applicable, shall receive under the Plan the
                                    treatment described in this Plan Term Sheet in full and final
                                    satisfaction, settlement, release, and discharge of and in
                                    exchange for such holder’s Allowed Claim or Interest, except
                                    to the extent different treatment is agreed to by the
                                    Reorganized Company, the Required Consenting Creditors
                                    and the holder of such Allowed Claim or Interest, as
                                    applicable.

                                    For the avoidance of doubt, any action required to be taken by
                                    the Company on the Plan Effective Date pursuant to this Plan
                                    Term Sheet may be taken on the Plan Effective Date or as soon
                                    as is reasonably practicable thereafter.

                                    The Restructuring will be subject to the terms and conditions
                                    of this Plan Term Sheet and the Definitive Documentation.

DIP Credit Facility    Subject to the terms and conditions set forth in the Restructuring Support
                       Agreement and the DIP Term Sheet (as defined below), the DIP Lender
                       shall, subject to Bankruptcy Court approvals, provide up to $50 million of
                       financing (the “Commitments”) in the form of a unsecured, administrative
                       super-priority debtor-in-possession revolving credit facility (the “DIP
                       Credit Facility”).
                       The DIP Credit Facility shall have the terms specified in the term sheet
                       attached hereto as Annex II (the “DIP Term Sheet”) and be documented
                       by a unsecured administrative super-priority debtor in possession revolving
                       credit agreement in form and substance acceptable to the Agent and the
                       lenders party thereto, in consultation with the Required Consenting
                       Creditors (the “DIP Credit Agreement”).

New Obligations        On the Plan Effective Date, the Reorganized Company shall enter into or
                       issue, as applicable: (i) a super-senior first-lien secured financing facility
                       which shall be provided by the DIP Lender as provided for in Annex III of
                       this Plan Term Sheet (the “Restructuring Term Sheet”) and the Plan (the
                       “New Secured Exit Financing Facility”), (ii) first priority tranche of
                       secured notes or bank instruments which shall be distributed to the Senior
                       Lenders and Strabag as provided in the Restructuring Term Sheet and the
                       Plan (the “New 1L Secured Obligations”), (iii) a first/second priority
                       secured loan (as described in Restructuring Term Sheet) which shall be
                       distributed to the Senior Lenders and Strabag as provided in the
                       Restructuring Term Sheet and the Plan (the “New 2L Secured Loan”, and
                       collectively with the New Secured Exit Financing Facility and the New 1L
                       Secured Obligations, the “New Secured Obligations”), and (iv) the
                       issuance of common equity in the Reorganized Company to be provided to
                       AES Andes or its designees (the “New Common Equity” and, together


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                              with the New Secured Obligations, the “New Obligations”). The New
                              Obligations shall have terms consistent with the Restructuring Term Sheet.
                              The New Secured Exit Financing Facility, New 1L Secured Obligations
                              and the New 2L Secured Loan shall benefit from the same collateral
                              provided, however, that (i) the New 1L Secured Obligations and New 2L
                              Secured Loan and all liens related thereto shall be expressly subordinated,
                              in both right of payment and lien priority, to the payment in full of the New
                              Secured Exit Financing Facility, and (ii) the New 2L Secured Loan and all
                              liens related thereto shall be expressly subordinated in part (as described in
                              the Restructuring Term Sheet), in both right of payment and lien priority,
                              to the payment in full of the New 1L Secured Obligations pursuant to a
                              New Secured Obligations Intercreditor Agreement.

Tax Matters            The Company will seek to effectuate the terms and conditions of the
                       Restructuring in a tax efficient manner.

Amendment of           The Consenting Creditors will enter into any amendments or other
Pledges                documentation as is necessary to cause, effective on the Plan Effective Date,
                       the liens on all collateral pledged to secure the Alto Maipo Obligations (the
                       “Pledge Amendments”) to thereafter secure the Reorganized Company’s
                       obligations under the New Secured Obligations from and after the Plan
                       Effective Date in a manner consistent with the RSA and Annex II thereto.

   TREATMENT OF CLAIMS AND INTERESTS OF THE COMPANY UNDER THE PLAN

                                                                                            Impairment /
Class No.     Type of Claim                             Treatment
                                                                                              Voting

                                   Unclassified Non-Voting Claims

                                   On the Plan Effective Date, all Allowed DIP
                                   Claims shall be exchanged for, or paid off with the
   N/A         DIP Claims                                                                      Impaired
                                   proceeds of, the New Secured Exit Financing
                                   Facility, as provided for in the DIP Term Sheet.

                                   On the Plan Effective Date, except as otherwise
                                                                                             Unimpaired/
              Administrative       expressly provided elsewhere in this Plan Term
   N/A                                                                                       Deemed to
                 Claims            Sheet, each holder of an Allowed Administrative
                                                                                               Accept
                                   Claim shall receive payment in full in cash.

                                   On the Plan Effective Date, each holder of an
                                                                                             Unimpaired/
               Priority Tax        Allowed Priority Tax Claim shall receive treatment
   N/A                                                                                       Deemed to
                 Claims            in a manner consistent with section 1129(a)(9)(C)
                                                                                               Accept
                                   of the Bankruptcy Code.




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                      Classified Claims and Interests of the Company

                              On the Plan Effective Date, each holder of an
             Alto Maipo       Allowed Alto Maipo Obligation shall receive its Pro
Class 1                                                                               Impaired
             Obligations      Rata Share of the New 1L Secured Obligations and
                              New 2L Secured Loan.

                              Each holder of an Allowed Other Priority Claim         Unimpaired /
            Other Priority
Class 2                       shall receive treatment in a manner consistent with     Deemed to
               Claims
                              section 1129(a)(9) of the Bankruptcy Code.               Accept

                              On the Plan Effective Date, each holder of a
              General         General Unsecured Claim, whether subordinated           Impaired /
Class 3      Unsecured        or unsubordinated, shall have its Claim cancelled,      Deemed to
              Claims          released, and discharged and without any                  Reject
                              distribution.

                              On or before the Plan Effective Date, Voith Hydro
                              Ltda. and Voith Hydro S.A. shall have their
                              Allowed Claims under that certain Lump Sum,
                              Turnkey,     Engineering,     Procurement      and
                              Construction Contract among Alto Maipo S.p.A.,
Class 4    Voith’s Claims     Voith Hydro Ltda. and Voith Hydro S.A. dated               N/A
                              August 10, 2012 (as amended from time to time,
                              including pursuant to the terms described in the in
                              the term sheet attached hereto as Annex III)
                              assumed as amended pursuant to Sections 363 and
                              365

                              All Claims of Strabag, other than Claims that
                              constitute Alto Maipo Obligations, under that
                              certain Amended and Restated Lump Sum Fixed
                              Price Tunnel Complex Construction Contract
                              between Alto Maipo S.p.A. and Strabag S.p.A.
           Strabag’s Other
Class 5                       dated February 19, 2018 (as further amended from        Impaired
               Claims
                              time to time, including pursuant to the terms
                              described in the term sheet attached hereto as
                              Annex III), shall be treated in accordance with the
                              terms set forth in the term sheet attached hereto as
                              Annex III.

                                                                                     Unimpaired /
                              On the Plan Effective Date, each holder of an
                                                                                      Deemed to
                              Allowed Intercompany Claim shall have its Claim:
                                                                                       Accept
            Intercompany      (a) Reinstated or (b) cancelled, released, and
Class 6                                                                                  or
                Claims        extinguished and without any distribution, in each
                                                                                      Impaired /
                              case, at the Company’s election with the consent of
                                                                                      Deemed to
                              the Required Consenting Creditors.
                                                                                        Reject




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                                   On the Plan Effective Date, each holder of an
                                   Existing Equity Interest shall have such Interest
                                   cancelled, released, and discharged and without
                                   any distribution, in each case, at the Company’s
                                   election and to the extent permitted under local
               Existing Equity
Class 7                            law; provided, however, that AES Andes or its                  N/A
                  Interests
                                   designee shall receive 100% of the New Common
                                   Equity, subject to the conversion of the New 2L
                                   Secured Loan and Shared Services Loan, if
                                   applicable, as provided for in the term sheet
                                   attached hereto as Annex III.

                      GENERAL PROVISIONS REGARDING THE PLAN

Subordination             The classification and treatment of Claims under the Plan shall conform to
                          the respective contractual, legal, and equitable subordination rights of such
                          Claims, and any such rights shall be settled, compromised, and released
                          pursuant to the Plan.

Restructuring             The Confirmation Order shall be deemed to, among other things, ratify all
Transactions              prior corporate actions taken and to authorize all future actions as may be
                          necessary or appropriate to effectuate any transaction described in, approved
                          by, contemplated by, or necessary to consummate the Plan and the
                          Restructuring Transactions therein. On the Plan Effective Date, the Company
                          shall issue all securities, notes, instruments, certificates, and other documents
                          required to be issued pursuant to the Restructuring.

Cancellation of           On the Plan Effective Date, except to the extent otherwise provided in this
Notes,                    Plan Term Sheet or the Plan, all notes, instruments, certificates, and other
Instruments,              documents evidencing Claims or Interests, including credit agreements, shall
Certificates, and         be canceled and discharged, and the Company’s obligations thereunder or in
Other                     any way related thereto shall be deemed satisfied in full and discharged.
Documents

Executory Contracts       Voith’s Claims and Strabag’s Other Claims will be treated as described
and Unexpired             above and all other executory contracts and unexpired leases that are not
Leases                    assumed as of the Plan Effective Date (either pursuant to the Plan or a
                          separate motion) will be deemed rejected pursuant to section 365 of the
                          Bankruptcy Code.

Retention of              The Plan will provide that the Bankruptcy Court shall retain jurisdiction for
Jurisdiction              usual and customary matters.

Releases and              Consummation of the Plan will be subject to approval by the Bankruptcy
Exculpation               Court of customary release provisions for the benefit of the Released Parties
                          and exculpation provisions for Exculpated Parties, in each case other than
                          claims arising from gross negligence, willful misconduct, or fraud. Such
                          provisions shall include (i) mutual releases among the Company and the
                          Released Parties; and (ii) consensual third party releases from and to the




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                    Releasing Parties in favor of each of the parties identified in the foregoing
                    clause (i).


Governance          The identities of directors on the board of the Reorganized Company shall be
                    set forth in the Plan Supplement to the extent known at the time of filing.
                    Corporate governance for the Reorganized Company including charters,
                    bylaws, operating agreements, or other organization documents, as
                    applicable, shall (a) be consistent with section 1123(a)(6) of the Bankruptcy
                    Code and (b) be acceptable to the Required Consenting Creditors in their sole
                    and absolute discretion..

Exemption from      The issuance of all securities under the Plan will be exempt from registration
SEC Registration    under Section 4(a)(2) or Regulation S of the Securities Act or Section 1145
                    of the Bankruptcy Code, as applicable.

Treatment of the   All New Obligations under the Plan that would have been issuable and
Non-Qualified      deliverable to Non-Qualified Creditors if they had been Qualified Creditors
Creditors          will be deposited with an agent (the “Selling Agent”). The Selling Agent
                   shall offer such New Obligations in one or more sale transactions within 180
                   days following the Plan Effective Date (the “Sale Period”). The price, terms
                   and manner of sale will be on the best terms reasonably available at the time
                   using a transparent open market process and shall be for cash. The proceeds
                   of any and all such sales (net of the costs of sale including the fees of any
                   agent, broker, marketing agent, placement agent or underwriter appointed in
                   relation to the sale and any taxes and provisions for taxes on sale) shall be
                   distributed, on a pro rata basis, to such Non-Qualified Creditors at the end of
                   the Sale Period (the “Substitute Consideration”). In the event that a sale of
                   such New Obligations is unable to be consummated at any price within the
                   Sale Period, the amount of Substitute Consideration shall be zero, and such
                   New Obligations shall be cancelled for no consideration. None of the
                   Company, any Consenting Creditor, and the Selling Agent shall have any
                   liability for any loss or alleged loss arising from such sale or a failure to
                   procure any purchaser for any such debt securities.

                   For the avoidance of doubt, any Non-Qualified Creditors who would have
                   been entitled to receive any New Obligations under the Plan if they had been
                   Qualified Creditors shall only be entitled to receive the Substitute
                   Consideration in respect thereof.

Indemnification     Consistent with applicable law, all indemnification provisions in place as of
Obligations         the Plan Effective Date (whether in the by-laws, certificates of incorporation
                    or formation, other organizational documents, board resolutions,
                    indemnification agreements, employment contracts, or otherwise) for
                    current and former directors, officers, managers, employees, attorneys,
                    accountants, investment bankers, and other professionals of the Company,
                    as applicable, shall be reinstated and remain intact, irrevocable, and shall
                    survive the effectiveness of the Restructuring on terms no more or less
                    favorable to such current and former directors, officers, managers,
                    employees, attorneys, accountants, investment bankers, and other


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                     professionals of the Company than the indemnification provisions in place
                     as of the date hereof, provided that the Reorganized Company shall not
                     indemnify officers, directors, managers, employees, attorneys, accountants,
                     investment bankers or other professionals of the Company for any claims or
                     causes of action arising out of or relating to any act or omission that is a
                     criminal act or constitutes intentional fraud, gross negligence, or willful
                     misconduct.

Retained Causes of   The Reorganized Company shall retain all rights to commence and pursue any
Action               causes of action, other than any causes of action that the Company has released
                     pursuant to the release and exculpation provisions outlined in this Plan Term
                     Sheet and implemented pursuant to the Plan.

Conditions           The following shall be conditions to the Plan Effective Date (the “Conditions
Precedent to         Precedent”):
Restructuring
                         a. the Bankruptcy Court shall have entered the Confirmation Order,
                            which shall be a Final Order, in form and substance consistent in all
                            respects with the Restructuring Support Agreement and otherwise in
                            form and substance reasonably acceptable to the Company and the
                            Required Consenting Creditors;
                         b. the Restructuring Support Agreement shall remain in full force and
                            effect and shall not have been terminated at any time;
                         c. the Company shall have obtained all authorizations, consents,
                            regulatory approvals, rulings, or documents that are necessary to
                            implement and effectuate the Plan;
                         d. the final version of each of the Plan, the Definitive Documentation,
                            and all documents contained in any supplement to the Plan,
                            including the Plan Supplement and any exhibits, schedules,
                            amendments, modifications, or supplements thereto or other
                            documents contained therein shall have been executed or filed, as
                            applicable, in form and substance consistent in all respects with this
                            Plan Term Sheet and the Plan and shall have not been modified in
                            any manner without the consent of the Consenting Creditors (as
                            described in the Restructuring Support Agreement) in their sole and
                            absolute discretion;
                         e. the New Obligations Documents shall have been duly executed and
                            delivered by all of the Entities that are parties thereto and all
                            conditions precedent (other than any conditions related to the
                            occurrence of the Plan Effective Date) to the effectiveness of the
                            New Obligations Documents shall have been satisfied or duly
                            waived in writing in accordance with the terms of each the New
                            Obligations Documents and the issuance of each of the New
                            Obligations shall have occurred;
                         f.   the Final Order approving the DIP Credit Facility shall have been
                              entered and shall remain in full force and effect and no event of
                              default shall have occurred and be continuing thereunder;




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             g. all professional fees and expenses of retained professionals that
                require the Bankruptcy Court’s approval shall have been paid in full
                or amounts sufficient to pay such fees and expenses after the Plan
                Effective Date shall have been placed in a professional fee escrow
                account pending the Bankruptcy Court’s approval of such fees and
                expenses;
             h. the payment in cash in full of all Restructuring Expenses.




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                                                   Annex I

                                               DEFINITIONS

        “AES Andes” means AES Andes S.A.

         “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter
11 Case pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses incurred on or after the Petition Date until and including the
Plan Effective Date to preserve the Estates and operate the Company’s businesses; (b) Allowed Professional
Claims; (c) all fees and charges assessed against the Estates pursuant to section 1930 of chapter 123 of title
28 of the United States Code; and (d) DIP Claims.

         “Affiliate” shall have the meaning ascribed to it in section 101(2) of the Bankruptcy Code. With
respect to any Person that is not a debtor, the term “Affiliate” shall apply to such Person as if the Person
were a debtor.

         “Agreement Effective Date” means the date on which the conditions to the effectiveness of the
Restructuring Support Agreement set forth therein have been satisfied or waived by the appropriate Party
or Parties in accordance with the Restructuring Support Agreement.

         “Allowed” means, with respect to any Claim or Interest that is allowed (i) pursuant to the Plan,
(ii) in any stipulation that is entered into with the consent of the Required Consenting Creditors and
approved by the Bankruptcy Court, (iii) by Final Order of the Bankruptcy Court or (iv) pursuant to any
contract, instrument, indenture, or other agreement entered into or assumed in connection herewith. Except
as otherwise specified in the Plan or any Final Order, the amount of an Allowed Claim shall not include
interest or other charges on such Claim from and after the Petition Date. No Claim of any Entity subject
to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in
full the amount that it owes the Company or Reorganized Company, as applicable.

        “Alto Maipo” means Alto Maipo S.p.A. or any successor or assign, by merger, consolidation, or
otherwise, prior to the Plan Effective Date.

       “Alto Maipo Obligations” means (i) an amount equal to US$1,652,472,639 due to the Senior
Lenders as Secured Obligations under the Financing Documents (in each case, as defined in the Common
Terms Agreement), and (iii) an amount equal to US$391,500,000 due to Strabag S.p.A under the
Tunneling Contract (as defined in the Common Terms Agreement), without duplication.

      “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
amended.

        “Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure.

        “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial
banks are authorized to close under the laws of, or are in fact closed in, the state of New York.

        “Chapter 11 Case” means the Company’s voluntary case under chapter 11 of the Bankruptcy
Code in the Bankruptcy Court.




                               [SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT]
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       “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of
the Company.

       “Class” means a category of holders of Claims or Interests pursuant to section 1122(a) of the
Bankruptcy Code.

       “Common Terms Agreement” means that certain Second Amended and Restated Common
Terms Agreement, dated as of May 8, 2018, among Alto Maipo, as borrower, the Inter-American
Development Bank, Overseas Private Investment Corporation, Banco De Crédito e Inversiones, Banco del
Estado de Chile, DNB Bank ASA, Itaú Corpbanca, Itaú Corpbanca New York Branch, Deutsche Bank
AG, London Branch, and Santana S.A., as senior lenders, DNB Bank ASA, as LC Issuing Bank, and Itaú
Corpbanca, as administrative agent (as further amended and supplemented).

        “Company” means Alto Maipo.
       “Confirmation Date” means the date on which the Bankruptcy Court enters the Confirmation
Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy Rules 5003 and 9021.

        “Confirmation Hearing” means the hearing(s) before the Bankruptcy Court under section 1128
of the Bankruptcy Code at which the Company seeks entry of the Confirmation Order.

        “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan under
section 1129 of the Bankruptcy Code.

        “Consenting Creditors” means such creditors, including Strabag, that have executed and
delivered counterpart signature pages to the Restructuring Support Agreement, a Joinder, or a Transfer
Agreement (as defined in the Restructuring Support Agreement) to counsel to the Company from time to
time agreeing to be bound thereby.

        “Consummation” means the occurrence of the Plan Effective Date.
        “Definitive Documentation” means the definitive amendments to any collateral documents
securing the Alto Maipo Obligations, shareholder agreements, and all other documents necessary to
consummate the Plan and the other Restructuring Transactions in accordance with the Restructuring
Support Agreement and this Plan Term Sheet, including the Plan, the Disclosure Statement and the
documentation relating to the New Obligations. The Definitive Documentation and any modifications
thereto will be (i) consistent with the Plan Term Sheet in all material respects and (ii) in form and
substance acceptable to the Company and the Required Consenting Creditors in each case, as set forth in
the Restructuring Support Agreement.

      “DIP Agent” means AES Andes in its capacity as administrative agent under the DIP Credit
Agreement.

         “DIP Claims” means all Claims arising under, derived from or based upon the DIP Credit Facility,
including Claims for all principal amounts outstanding, interest, fees, expenses, costs, and other charges
arising thereunder or related thereto, in each case, with respect to the DIP Credit Facility.
       “DIP Credit Facility” means the credit facility provided to the Company by the DIP Lender in
accordance with the DIP Orders.
        “DIP Expenses” all prepetition and postpetition reasonable and documented fees and expenses
of the DIP Lender, including any fees and expenses of any of its advisors, that are incurred in connection
with the preparation, execution, delivery, implementation, consummation and enforcement the DIP



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Credit Facility and the transactions contemplated thereby.
        “DIP Lender” means AES Andes, the lender party to the DIP Credit Agreement with respect to
the DIP Credit Facility.
        “DIP Orders” means, together, the Interim DIP Order and the Final DIP Order.

        “Entity” shall have the meaning ascribed to it in section 101(15) of the Bankruptcy Code.

       “Estate” means the estate of any Company created under sections 301 and 541 of the Bankruptcy
Code upon the commencement of the applicable Company’s Chapter 11 Case.

         “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Company;
(b) any official committees appointed in the Chapter 11 Case and each of their respective members; (c) to
the maximum extent permitted by applicable law, Norgener Renovables S.p.A., (d) to the maximum extent
permitted by applicable law, AES Andes, (e) to the maximum extent permitted by applicable law, Strabag,
in its capacity as shareholder, (f) to the maximum extent permitted by applicable law, the Consenting
Creditors; (g) to the maximum extent permitted by applicable law, the Administrative Agent and the
Collateral Agents (in each case, as defined in the Common Terms Agreement); and (h) with respect to each
of the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current and
former Affiliates’ current and former Related Parties.

        “Existing Equity Interest” means an Interest in the Company existing as of the Agreement
Effective Date of the Restructuring Support Agreement or created after the execution of the Restructuring
Support Agreement and prior to the Plan Effective Date.

        “Final DIP Order” means a final order by the Bankruptcy Court approving the Company’s use
of the DIP Credit Facility provided pursuant to the DIP Credit Agreement, and related relief.

         “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter, as entered on the docket in any Chapter 11 Case or the
docket of any court of competent jurisdiction, and as to which the time to appeal, or seek certiorari or
move for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that
has been taken or any petition for certiorari that has been or may be timely filed has been withdrawn or
resolved by the highest court to which the order or judgment was appealed or from which certiorari was
sought or the new trial, reargument, or rehearing will have been denied, resulted in no stay pending appeal
of such order, or has otherwise been dismissed with prejudice; provided, that the possibility that a motion
under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules,
may be filed with respect to such order will not preclude such order from being a Final Order.

         “General Unsecured Claim” means any Claim other than an Administrative Claim, an Other
Priority Claim, an Alto Maipo Obligation or an Intercompany Claim.

        “Governmental Unit” shall have the meaning ascribed to it in section 101(27) of the Bankruptcy
Code.

         “Impaired” means, with respect to any Class of Claims or Interests, a Class of Claims or Interests
that is impaired within the meaning of section 1124 of the Bankruptcy Code.




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        “Intercompany Claim” means a Claim held by the Company against an Affiliate of the Company
and vice versa. For the avoidance of doubt, the term “Intercompany Claim” does not include any Claim
held by Strabag against the Company.

       “Interim DIP Order” means an order by the Bankruptcy Court approving the Company’s use of
the DIP Credit Facility provided pursuant to the DIP Credit Agreement, and related relief on an interim
basis.

         “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in
the Company and any other rights, options, warrants, stock appreciation rights, phantom stock rights,
restricted stock units, redemption rights, repurchase rights, convertible, exercisable or exchangeable
securities or other agreements, arrangements or commitments of any character relating to, or whose value
is related to, any such interest or other ownership interest in the Company.

        “Joinder” means a joinder agreement, substantially in the form attached to the Restructuring
Support Agreement as Exhibit B, whereby a holder of Claims that is not a party to the Restructuring
Support Agreement as of the Agreement Effective Date may become a Consenting Creditor by executing
such joinder agreement.

         “New 1L Secured Obligations” means a first priority secured note or bank instrument which shall
be distributed to the Senior Lenders and Strabag in exchange for their Alto Maipo Obligations as provided
in this Plan Term Sheet and the Plan.

         “New 2L Secured Loan” means a first/second priority secured loan, as further described in the
Restructuring Term Sheet, which shall be distributed to the Senior Lenders and Strabag in exchange for
their Alto Maipo Obligations as provided in this Plan Term Sheet and the Plan.

      “New Common Equity” means the common Interest in the Company to be issued by the
Company on or about the Plan Effective Date pursuant to the terms and conditions of this Plan Term Sheet.

        “New Obligations” means the New Secured Exit Financing Facility, New 1L Secured
Obligations, New 2L Secured Loan and New Common Equity.

        “New Obligations Documents” means collectively, any indenture, loan agreement or other
agreement governing the New Obligations, the New Secured Obligations Intercreditor Agreement and any
and all other agreements, documents, and instruments delivered or to be entered into in connection
therewith, including any pledge and collateral agreements, intercreditor agreements, and other security
documents, in each case if any, the terms of which documents shall be acceptable to the Company and the
Required Consenting Creditors.

         “New Secured Exit Financing Facility” means a super-senior first-lien secured financing facility
which shall be provided by the DIP Lender in exchange for or in satisfaction of the Claims under the DIP
Facility, as provided for in the Plan Term Sheet and the Plan.

        “New Secured Obligations” means the New Secured Exit Financing Facility, New 1L Secured
Obligations and New 2L Secured Loan.

         “New Secured Obligations Intercreditor Agreement” means an intercreditor agreement having
customary terms for such agreements between senior and junior creditors and acceptable to the Consenting
Creditors by which (i) the New 1L Secured Obligations and New 2L Secured Loan and all liens related
thereto shall be expressly subordinated, in both right of payment and lien priority, to the payment in full



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of the New Secured Exit Financing Facility, and (ii) the New 2L Secured Loan and all liens related thereto
shall be expressly subordinated in part (as described in the Restructuring Term Sheet), in both right of
payment and lien priority, to the payment in full of the New 1L Secured Obligations.

        “Non-Qualified Creditor” means any creditor of the Alto Maipo Obligations other than a
Qualified Creditor.

       “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority Tax
Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

        “Person” shall have the meaning ascribed to it in section 101(41) of the Bankruptcy Code.

        “Plan” means the joint chapter 11 plan of reorganization filed by the Company as it may be
amended or supplemented from time to time, including all exhibits, schedules, supplements, appendices,
annexes and attachments thereto, which plan shall be consistent in all material respects with this Plan Term
Sheet, and to the extent not consistent with this Plan Term Sheet in any material respect, in form and
substance acceptable to the Company and the Required Consenting Creditors.

       “Plan Effective Date” means the date that is the first Business Day after the Confirmation Date
on which all conditions precedent to the Plan Effective Date under of the Plan have been satisfied or
waived (in the sole and absolute discretion of the Required Consenting Creditors) in accordance with the
Plan.

         “Plan Supplement” means any compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan, which shall be filed by the Company prior to the Confirmation Hearing,
and additional documents filed with the Bankruptcy Court prior to the Plan Effective Date as amendments
to the Plan Supplement, each of which shall be consistent in all respects with, and shall otherwise contain,
the terms and conditions set forth in the Restructuring Support Agreement and the Plan Term Sheet,
attached as Exhibit A to the Restructuring Support Agreement, where applicable; the New Obligations
Documents; the schedule of executory contracts and unexpired leases to be assumed pursuant to the Plan
and the list of directors and officers of the Reorganized Company.

        “Priority Tax Claims” means any Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

         “Pro Rata Share” means, with respect to any holder of Claims in a Class receiving any
distribution under the Plan, such holder’s pro rata share of such distribution measured by reference to the
aggregate amount of all Allowed Claims in such Class in each case as of the date of such distribution.

       “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the
Bankruptcy Code.

         “Qualified Creditor” means a creditor of the Alto Maipo Obligations who provides either one of
the following certifications: (i) a certification that it is located in the United States, and is either a
“Qualified Institutional Buyer” as defined in Rule 144A of the Securities Act, U.S. government agency or
an “accredited investor” as defined in Regulation D under the Securities Act, and it acknowledges that it
will be receiving “restricted securities” within the meaning of Rule 144 under the Securities Act; or (ii) a
certification that it is located or resident outside the United States and is qualified to participate in acquiring
the securities offered to it under the Plan in accordance with applicable law.



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         “Reinstated” means, with respect to Claims and Interests, that the Claim or Interest shall be
rendered unimpaired in accordance with section 1124 of the Bankruptcy Code, which, in all instances,
shall be acceptable to the Required Consenting Creditors in their sole and absolute discretion.

         “Related Party” means, collectively, current and former directors, managers, officers, equity
holders (regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, predecessors, participants, successors, assigns, subsidiaries, affiliates, managed
accounts or funds, partners, limited partners, general partners, principals, members, management
companies, fund advisors or managers, employees, agents, advisory board members, financial advisors,
attorneys, accountants, investment bankers, consultants, representatives, heirs, executors, and assigns, and
other professionals, in each case solely in their capacities as such, together with their respective past and
present directors, officers, shareholders, partners, members, employees, agents, attorneys, representatives,
heirs, executors and assigns, in each case solely in their capacities as such.

         “Released Parties” means, collectively, and in each case in its capacity as such: (a) the Company;
(b) the Reorganized Company, and each direct or indirect subsidiary of the Company or Reorganized
Company; (c) Norgener Renovables S.p.A.; (d) AES Andes; (e) Strabag, in its capacity as shareholder; (f)
the DIP Agent, and each DIP Lender; (g) the Administrative Agent and the Collateral Agents (in each case,
as defined in the Common Terms Agreement); (h) each Consenting Creditor; (i) each current and former
Affiliate of each Entity in clause (a) through (h); and (j) each Related Party of each Entity in clause (a)
through (i); provided that any holder of a Claim or Interest that opts out of the releases shall not be a
“Released Party” and any Related Party of such person or Entity that opts out of the releases (other than the
Company and the Reorganized Company) shall also not be a “Released Party.”

         “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) the Company;
(b) the Reorganized Company, and each direct or indirect subsidiary of the Company or Reorganized
Company; (c) Norgener Renovables S.p.A.; (d) AES Andes; (e) Strabag, in its capacity as shareholder; (f)
the DIP Agent and each DIP Lender; (g) the Administrative Agent and the Collateral Agents (in each case,
as defined in the Common Terms Agreement); (h) each Consenting Creditor; (i) all holders of Claims or
Interests that are eligible to vote to accept or reject the Plan that vote to accept for any Class, (j) all holders
of Claims or Interests that are deemed to accept the Plan; (k) all holders of Claims or Interests that are
eligible to vote to accept or reject the Plan that abstain from voting on the Plan for all Classes in which
they are eligible to vote and who do not affirmatively opt out of the releases provided by the Plan by
checking the box on the applicable ballot indicating that they opt not to grant the releases provided in the
Plan; (l) all holders of Claims or Interests that are eligible to vote to accept or reject the Plan that vote to
reject the Plan for all Classes in which they are eligible to vote and who do not affirmatively opt out of the
releases provided by the Plan by checking the box on the applicable ballot indicating that they opt not to
grant the releases provided in the Plan; (m) each current and former Affiliate of each Entity in clause (a)
through (l), and (n) each Related Party of each Entity in clause (a) through (m).

        “Reorganized Company” means the Company, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Plan Effective Date.

        “Required Consenting Creditors” means, as of the relevant date, the holders of 2/3 of the
aggregate principal amount of the Alto Maipo Obligations held by all Consenting Creditors that are party
to the Restructuring Support Agreement on such date.

       “Restructuring” means the restructuring of Alto Maipo and Alto Maipo Delaware LLC, as
contemplated by and described in the Restructuring Support Agreement, the Plan Term Sheet and the Plan.




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        “Restructuring Expenses” means all prepetition and postpetition reasonable and documented
fees and expenses of (i) the Consenting Creditors in any way related to the Company or the Restructuring,
including any fees and expenses of the Consenting Lenders’ advisors, in connection with the negotiation,
formulation, preparation, execution, delivery, implementation, consummation and enforcement of the
Restructuring Support Agreement, the Plan, the Definitive Documentation, and the transactions
contemplated thereby, and (ii) the Senior Secured Notes Trustee and the Senior Secured Notes Collateral
Agent.

       “Restructuring Support Agreement” shall mean that certain support agreement for
implementation of the Restructuring dated as of November 16, 2021 between Alto Maipo and the
Consenting Creditors to which this Plan Term Sheet has been attached as Exhibit A.

        “Restructuring Transactions” means those certain restructuring and recapitalization transactions
with respect to the Company’s capital structure required to effect the Restructuring on the terms and
conditions set forth in the Restructuring Support Agreement, this Plan Term Sheet, and the Plan.

        “SEC” means the United States Securities and Exchange Commission.

         “Securities Act” means the United States Securities Act of 1933, as amended and now in effect
and as it may further be amended from time to time prior to the Plan Effective date.
        “Senior Lenders” means the (i) Inter-American Development Bank, (ii) U.S. International
Development Finance Corporation, (iii) Banco De Crédito e Inversiones, (iv) DNB Bank ASA, (v) Itaú
Corpbanca, (vi) Itaú Corpbanca New York Branch, (vii) Deutsche Bank AG, London Branch, (viii)
Santana S.A., (ix) Nineteen 77 Capital Solutions LP, (x) Moneda Deuda Latinoamericana Fondo de
Inversión, (xi) Moneda Alturas II Fondo de Inversión, (xii) Regera Sarl, (xiii) Warbler Run I LP,
(xiv) Warbler Run II LP and (xv) Clover Private Credit Opportunities Secondary II LP in their capacity
as lenders under the Common Terms Agreement.
        “Strabag’s Other Claims” means Strabag’s unsecured claims under that certain Amended and
Restated Lump Sum Fixed Price Tunnel Complex Construction Contract between Alto Maipo S.p.A. and
Strabag S.p.A. dated February 19, 2018 (as further amended from time to time, including pursuant to the
terms described in the in the term sheet attached hereto as Annex III), other than such Claims that are part
of the Alto Maipo Obligations, that are payable in cash for construction costs and insurance proceeds
pursuant to the terms described in the in the term sheet attached hereto as Annex III.
         “Transfer Agreement” means an executed form of the transfer agreement providing, among other
things, that a transferee is bound by the terms of the Restructuring Support Agreement and substantially
in the form attached to the Restructuring Support Agreement as Exhibit B.

         “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is not Impaired.

       “United States Trustee” means the United States Trustee for the jurisdiction in which the
Chapter 11 Case are commenced.

        “Voith’s Claims” means the Claims of Voith Hydro Ltda. and Voith Hydro S.A. under that
certain Lump Sum, Turnkey, Engineering, Procurement and Construction Contract among Alto Maipo
S.p.A., Voith Hydro Ltda. and Voith Hydro S.A. dated August 10, 2012 (as amended from time to time,
including pursuant to the terms described in the in the term sheet attached hereto as Annex III).




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                                                   ANNEX II

                                             DIP TERM SHEET

                                                ALTO MAIPO

                         US$50,000,000 DEBTOR IN POSSESSION CREDIT FACILITY
                                   SUMMARY OF TERMS AND CONDITIONS2

This summary of terms and conditions (the “DIP Term Sheet”) of a proposed debtor-in-possession credit
facility (the “DIP Facility”) is intended for discussion purposes only and does not constitute a commitment
to lend. Only execution and delivery of definitive documentation relating to the DIP Facility shall result in
any binding or enforceable obligations of any party relating to the DIP Facility. This DIP Term Sheet does
not purport to summarize all of the terms, conditions, representations warranties and other provisions with
respect to the transactions referred to herein.


         Material                                         Summary Description
         Provision
                                                  Parties
    Borrower:                  Alto Maipo Delaware LLC, a limited liability company, organized
                               under the laws of the state of Delaware (the “Company” or the
                               “Borrower”) as debtor in possession in a case (the “Chapter 11 Case”)
                               filed under Chapter 11 of Title 11 of the United States Code (the
                               “Bankruptcy Code”) in the United States Bankruptcy Court for the
                               District of Delaware (the “Bankruptcy Court”).

    Debtor:                    The Borrower.

                               The Borrower is also referred to herein at the “Debtor,” and together
                               with the Guarantor, the “Obligors.” The date of commencement of the
                               Chapter 11 Cases is referred to herein as the “Petition Date”.

    Guarantor:                  Alto Maipo SpA, a sociedad por acciones, organized under the laws
                               of Chile, as debtor in possession in the Chapter 11 Case.

    DIP Facility:              The DIP Facility shall be in an aggregate principal amount of US$50
                               million (the “DIP Commitments,” and the loans made thereunder, as
                               increased by capitalized interest and fees, the “DIP Loans”). The DIP
                               Loans, together with all related obligations incurred under the DIP
                               Facility, are referred to herein as the “DIP Obligations”. The DIP
                               Facility shall be an unsecured, super priority revolving loan (with no


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      This DIP Financing Term Sheet is attached to and is incorporated by reference into the Restructuring Support
      Agreement (the “RSA”), dated November 16, 2021, entered into by and among the Debtor, Norgener Renovables
      SpA (“Norgener”); AES Gener, S.A. (the “Sponsor”), Strabag SpA (“Strabag”), and the lenders to that certain
      Second Amended and Restated Common Terms Agreement, dated as of May 8, 2018 (the “Senior Lenders”) that
      have executed the RSA (the “Supporting Senior Lenders”).
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                    additional draws permitted after the Commitment Period (as defined
                    below)).

Lenders:            AES ANDES S.A. (the “DIP Lenders” or “DIP Lender”, as
                    applicable)

Administrative      AES ANDES S.A. (in such capacity and together with its successors,
Agent:              the “Administrative Agent”).

Amount of Loan:     A debtor-in-possession revolving loan facility, in an aggregate original
                    principal amount of US$50 million (the “DIP Facility”).

DIP Loan            The Borrower will execute a definitive NY law governed loan
Documents:          agreement and other documents in furtherance or in connection
                    therewith (collectively, the “DIP Loan Documents”), to evidence the
                    DIP Facility, in form and substance customary for transactions of this
                    type, but acceptable to the Borrower, the Administrative Agent and the
                    DIP Lenders, acting reasonably, and in consultation with the Required
                    Consenting Lenders (as defined in the RSA) including, without
                    limitation, a promissory note governed by Chilean law.

Purpose/Use of      The Borrower shall use the proceeds (“DIP Loan Proceeds”) of the
Proceeds:           DIP Facility in a manner consistent with the DIP Budget (as defined
                    below) and only for the purpose of (i) certain working capital and
                    general corporate purposes of the Borrower; (ii) restructuring costs and
                    professional fees relating to the Chapter 11 Case, including to fund
                    amounts in the Carve-Out Account, in the aggregate amount set out in
                    the “Restructuring Professional Fees” line item in the DIP Budget
                    which, for the avoidance of doubt, shall not be subject to the monthly
                    limits set out in the DIP Budget; (iii) interest, premiums, fees and
                    expenses payable hereunder to the DIP Lenders and the Administrative
                    Agent as provided under the DIP Loan Documents and the DIP Orders;
                    (iv) any other payments by the Borrower approved by the Bankruptcy
                    Court and consistent with the DIP Budget or otherwise approved by the
                    Majority DIP Lenders, and in consultation with the Required
                    Consenting Creditors (as defined under the RSA); (v) other items
                    agreed to by the parties in the DIP Loan Documents; and (vi) as
                    approved by the Bankruptcy Court in the DIP Orders or other order
                    (collectively “Permitted Uses”).

Availability:       Subject in each case to satisfaction of the conditions set forth below
                    under the headings “Conditions Precedent to Initial Draw”,
                    “Conditions Precedent to Subsequent Draws” and “Conditions
                    Precedent to Each Draw”, as applicable:

                           (i) upon the date of entry of an order by the Bankruptcy Court
                           granting interim approval of the DIP Facility that is in form and


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                         substance acceptable to the Majority DIP Lenders (as defined
                         below), the Borrower, and in consultation with the Required
                         Consenting Creditors (as defined in the RSA) (the “Interim
                         Order”), up to US$20 million of the DIP Loans will be made
                         available in a single draw minus the applicable stamp tax (the
                         “Initial Availability”); and

                         (ii) upon the date of entry of an order by the Bankruptcy Court
                         granting final approval of the DIP Facility that is substantially
                         in the form of the Interim Order with such changes as are
                         acceptable to the Majority DIP Lenders and in consultation with
                         the Required Consenting Creditors (the “Final Order”, and
                         together with the Interim Order, the “DIP Orders”), the
                         undrawn portion of the DIP Facility will be available in a single
                         draw or in multiple draws in minimum amounts of US$1 million
                         each minus the applicable stamp tax (the “Subsequent
                         Availability”).

                  Notwithstanding the foregoing, the DIP Facility shall only be accessed
                  and made available if the Obligors’ available cash is less than $10
                  million at the time of the requested draw.

                  Subject to the above, amounts available under the DIP Commitments
                  that have been drawn and subsequently repaid may thereafter be re-
                  borrowed but only within six (6) months following the Petition Date
                  (the “Commitment Period”), subject in each case to satisfaction of the
                  conditions set forth below under “Conditions Precedent to each Draw”.

                  Any then undrawn Subsequent Availability shall terminate and no
                  longer be available upon expiration of the Commitment Period. All
                  DIP Loans and other amounts owed hereunder with respect thereto shall
                  be due and payable in full no later than the Maturity Date (as defined
                  below).

Maturity Date:    The DIP Facility will mature (the “Maturity Date”) and will be
                  immediately due and payable on the earliest to occur of any of the
                  following: (a) twelve (12) months after entry by the Bankruptcy Court
                  of the Final Order (“Scheduled Maturity Date”); (b) 35 days after
                  entry of the Interim Order if the Final Order has not been entered prior
                  to the expiration of such 35-day period; (c) the date of acceleration of
                  any outstanding borrowings under the DIP Facility pursuant to an Event
                  of Default (as defined below); (d) the date of the conversion of any of
                  the Chapter 11 Cases to a case under Chapter 7 of the Bankruptcy Code,
                  unless otherwise consented to in writing by the Majority DIP Lenders;
                  (e) the date of the appointment of an examiner with expanded powers
                  or a trustee under Section 1101 of the Bankruptcy Code, unless
                  otherwise consented to in writing by the Majority DIP Lenders, (f)


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                       filing of a motion by any Debtor which seeks the dismissal, or the entry
                       of an order granting any party’s request for the dismissal, of the Chapter
                       11 Case, unless otherwise consented to in writing by the Majority DIP
                       Lenders; (g) the occurrence of a change of control (to be defined in a
                       mutually agreed upon manner, but it shall include, without limitation,
                       any changes with respect to beneficial ownership of 50% of total voting
                       shares, a 363 sale and any other sale of all or substantially all of the
                       assets of the Borrower in a single or series of transactions; hereinafter
                       referred to as a “Change of Control”); (h) the effective date (the
                       “Effective Date”) of the plan of reorganization (the “Plan”) confirmed
                       in the Chapter 11 Case.

                       Upon the Maturity Date, the DIP Facility and the DIP Commitments
                       thereunder shall terminate and all outstanding DIP Obligations shall
                       become automatically due and payable in full in cash.

                       “Business Day” shall mean a day (other than a Saturday or Sunday) on
                       which banks are open for domestic and foreign exchange business in
                       New York City and Santiago, Chile.

Amortization:          None.

Interest Rate          As set forth in Annex I.
and Fees:

Closing Date:          The date on which the conditions precedent set forth below under
                       “Conditions Precedent to Initial Draw” are satisfied (the “Closing
                       Date”).

Conditions             The Initial Availability on the Closing Date shall be subject to the
Precedent to Initial   satisfaction or waiver by the Majority DIP Lenders of the conditions set
Draw:                  forth under “Conditions Precedent to Each Draw” below, and the
                       following conditions:

                          (a)   the Bankruptcy Court shall have entered the Interim Order
                                (which order is not subject to any stay of effectiveness) no
                                later than 14 days after the filing of a motion seeking entry of
                                the Interim Order, approving and authorizing the DIP Facility
                                on an interim basis, all provisions thereof and the priorities
                                granted under Bankruptcy Code section 364(c)(1) in form and
                                substance acceptable to the Majority DIP Lenders, and in
                                consultation with the Required Consenting Creditors;

                          (b)   the Interim Order shall be in full force and effect and shall not
                                have been reversed, modified, amended, stayed or vacated or
                                subject to a stay pending appeal, in any manner, except as




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                                         otherwise agreed to in writing by the Majority DIP Lenders
                                         and in consultation with the Required Consenting Creditors;

                                   (c)   the Administrative Agent and the DIP Lenders shall have
                                         received executed copies of [the duly executed commitment
                                         letter to which this term sheet is enclosed as an annex] / [each
                                         of the DIP Loan Documents];

                                   (d)   the Administrative Agent and the Consenting Creditors shall
                                         have received the Initial DIP Budget (as defined below),
                                         acceptable to the Majority DIP Lenders; and

                                   (e)   all reasonable and documented transaction costs, fees,
                                         expenses, consisting of reasonable and documented (i) legal
                                         fees of one counsel in each applicable jurisdiction (the “Legal
                                         Fees”) and (ii) fees of financial and other advisors3 (together,
                                         the “Specified Advisors” and their fees, together with the
                                         Legal Fees, the “Transaction and Advisor Expenses”), in
                                         each case, invoiced at least two (2) Business Days prior to the
                                         Closing Date incurred by the DIP Lenders in their capacity as
                                         such solely in connection with the preparation, negotiation and
                                         execution of the DIP Loan Documents, and all compensation
                                         owed to the DIP Lenders under the terms of the DIP Loan
                                         Documents shall have been paid to the extent due.

    Conditions                 The Subsequent Availability is subject to the satisfaction or waiver by
    Precedent to               the Majority DIP Lenders of the conditions set forth under “Conditions
    Subsequent                 Precedent to Each Draw” below, and the following conditions:
    Draws:
                                   (a)   the Bankruptcy Court shall have entered the Final Order
                                         (which order is not subject to any stay of effectiveness)
                                         approving the DIP Facility on a final basis, no later than 35
                                         calendar days following the date of entry of the Interim Order;

                                   (b)   the Final Order shall be in full force and effect, and shall not
                                         have been reversed, modified, amended, stayed, vacated or
                                         subject to a stay pending appeal in any manner except as
                                         otherwise agreed to in writing by the Majority DIP Lenders,
                                         in consultation with the Required Consenting Creditors; and

                                   (c)   the Administrative Agent shall have received customary
                                         closing deliverables and officer’s certificates, including
                                         customary legal opinions from NY and Chilean counsel.




3
    Note to NRS: AES advisors are Morris Nichols, Arsht & Tunnell LLP and Claro & Cia.


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Conditions            The Initial Availability and each subsequent draw under the DIP
Precedent to Each     Facility shall be subject to the satisfaction or waiver by the Majority
Draw:                 DIP Lenders of the following additional conditions:

                         (a)   accuracy of representations and warranties in all material
                               respects, as set forth in the DIP Loan Documents;

                         (b)   absence of any default or Event of Default, as set forth in the
                               DIP Loan Documents;

                         (c)   except as expressly provided with respect to the Initial
                               Availability, all compensation owed to the DIP Lenders due
                               and payable under the terms of the DIP Loan Documents,
                               including any fees due and payable, as applicable, and the
                               Transaction and Advisor Expenses, shall have been paid to the
                               extent due and invoiced at least two (2) Business Days prior
                               to the applicable borrowing date; and

                         (d)   the Administrative Agent shall have received, (i) in the case
                               of the first draw, a Borrowing Notice (as defined below) one
                               (1) Business Days prior to funding and (ii) in the case of all
                               subsequent draws, a Borrowing Notice (as defined below)
                               three (3) Business Days prior to funding. Each such
                               borrowing notice shall, among other things, include a
                               certification that the Borrower’s liquidity is less than the
                               Excess Cash Threshold and the DIP Loan draw requested is
                               required to meet the Borrower’s anticipated liquidity needs
                               and shall be in substantially the form of the borrowing notice
                               agreed between the parties in the DIP Loan Documents (each,
                               a “Borrowing Notice”).

Funding Protection:   Customary for DIP financing of this type, including breakage costs,
                      compensation for increased costs and compliance with capital adequacy
                      and other regulatory restrictions.

Superpriority         All DIP Obligations shall at all times be entitled to a super-priority
Claims:               administrative expense claim against the Debtor (“DIP Superpriority
                      Claim”) that will, in accordance with section 364(c)(1) of the
                      Bankruptcy Code, have priority over any and all administrative
                      expenses of and unsecured claims against the Debtor now existing or
                      hereafter arising, of any kind or nature whatsoever, including, without
                      limitation, all administrative expenses of the kind specified in, or
                      arising or ordered under, Sections 105, 326, 328, 503(b), 506(c), 507(a),
                      507(b), 546(c), 726 and 1114 of the Bankruptcy Code other than any
                      administrative expense claims granted pursuant to the Interim Order,
                      subject only to the Carve-Out.



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                  The DIP Superpriority Claims shall survive any conversion of any of
                  the Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code
                  or the dismissal of any of the Chapter 11 Case.

Carve-Out:        The “Carve-Out” shall be usual and customary for similar debtor-in-
                  possession financings and shall be in an amount equal to (i) all fees
                  required to be paid to the Clerk of the Bankruptcy Court and to the U.S.
                  Trustee, (ii) all reasonable fees and expenses incurred by a chapter 7
                  trustee under section 726(b) of the Bankruptcy Code in an amount not
                  to exceed $100,000, (iii) all unpaid claims for fees, costs, disbursements
                  and expenses of professionals whose retention by the Debtor is
                  approved by the Bankruptcy Court pursuant to Sections 327, 328, or
                  363 of the Bankruptcy Code and Committee Professionals (collectively,
                  the “Professional Fees”) incurred at any time on or prior to the delivery
                  of a Trigger Notice and (iv) Professional Fees incurred after the delivery
                  of a Trigger Notice in an amount not to exceed $500,000 for Debtor
                  Professionals and $50,000 for Committee Professionals (“Trigger
                  Cap”), but in each case only to the extent that payment of such fees and
                  expenses is subsequently allowed on a final basis by the Bankruptcy
                  Court.

                  “Trigger Notice” shall mean a written notice delivered by email (or
                  other electronic means) by the DIP Lenders to the Debtor, their lead
                  restructuring counsel, the U.S. Trustee, and counsel to any committee
                  of unsecured creditors, which notice may be delivered following the
                  occurrence and during the continuation of an event of default and
                  acceleration of the DIP Obligations under the DIP Facility, stating that
                  the Trigger Cap has been invoked.

                  Upon entry of the Final Order, the Debtor shall establish and fund a
                  segregated escrow account (the “Carve-Out Account”) not subject to
                  control of the DIP Lenders, for purposes of funding the Carve-Out. The
                  Carve-Out Account and the proceeds on deposit therein shall be
                  available only to satisfy any obligations benefitting from the Carve-Out.
                  Carve-Out Account terms and conditions to be mutually agreed and set
                  forth in the DIP Orders.

Voluntary         The Borrower may prepay any DIP Obligations in whole or in part in
Prepayments:      an aggregate minimum amount of US$1,000,000 and integral multiples
                  of US$500,000 in excess thereof.

                  The Borrower may terminate in whole or permanently reduce in part,
                  any DIP commitments that remain undrawn at the time of such
                  termination or reduction, provided that such partial reduction shall be
                  in an aggregate minimum amount of US$1,000,000 and integral
                  multiples of US$100,000 in excess thereof.



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Mandatory              Prior to the Maturity Date, the Borrower shall make mandatory
Prepayments:           prepayments of DIP Obligations (and the DIP Commitments shall be
                       permanently reduced in a corresponding aggregate amount) upon
                       receipt by the Borrower of net proceeds from the following (in each
                       case, subject to certain customary baskets to be negotiated in the
                       definitive DIP Loan Documents and customary reinvestment rights, as
                       applicable):

                          i.     Incurrence of Indebtedness: Prepayments in an amount equal
                                 to 100% of the net cash proceeds received from the incurrence
                                 of indebtedness by the Borrower that is not otherwise
                                 explicitly permitted under the DIP Facility.

                          ii.    Asset Dispositions; Extraordinary Receipts: Prepayments in
                                 an amount equal to 100% of the net cash proceeds received
                                 from the sale of any asset outside of the ordinary course of
                                 business or from any other receipts outside of the ordinary
                                 course of the business (including insurance proceeds).

                          iii.   Excess Cash. Prepayments in an amount equal to 100% of
                                 excess cash (to be defined, in a mutually agreed upon manner,
                                 as available cash in excess of US$10,000,000 (but deducting
                                 amounts required to be paid by the Borrower in the next
                                 calendar month according to the DIP Budget); hereinafter
                                 referred to as the “Excess Cash Threshold”) at the end of
                                 each calendar month period;

                          iv.    CNM Arbitration. Prepayments in an amount equal to 100%
                                 of net proceeds paid pursuant to CNM award or any
                                 disposition of the rights under that award

                                 provided, that, in each case (except with respect to paragraph
                                 (iv)), any such prepayment shall be subject to any priority of
                                 any other creditor with a properly secured lien existing
                                 immediately prior to the Petition Date.

Representations and The DIP Loan Documents shall contain representations and warranties
Warranties:         customary for debtor in possession financings of this type, subject to
                    appropriate exceptions and qualifications, and shall be limited to the
                    following: organization; powers; authorization; enforceability;
                    financial statements; subsidiaries; ownership of property; licenses and
                    permits; litigation; compliance with laws and regulations; no conflict
                    with laws; material contractual obligations; governmental and third-
                    party approvals, use of proceeds; insurance; taxes; no material
                    misstatements; employee benefit plans; environmental matters; labor


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                       matters; no default; USA PATRIOT ACT; OFAC; FCPA; certain
                       bankruptcy matters; absence of Material Adverse Effect (to be defined)
                       since the Petition Date; absence of defaults under material agreements
                       entered into after the date of commencement of the Chapter 11 Cases;
                       and the Final Order shall continue to be in full force and effect and not
                       amended, modified or supplemented in a manner adverse to the DIP
                       Lenders; and other bankruptcy matters as agreed upon.

Affirmative            The DIP Loan Documents shall contain affirmative covenants
Covenants:             customary for debtor in possession financings of this type, subject to
                       appropriate exceptions qualifications and carve-outs, and shall be
                       limited to the following:

                            (a) Preservation and maintenance of existence, business and
                                properties;
                            (b) Maintenance of cash management system;
                            (c) Payment of income taxes and other material taxes and other
                                claims;
                            (d) Payment of reasonable and duly documented Transaction and
                                Advisor Expenses;
                            (e) Delivery of quarterly and annual financial statements;
                            (f) Material Litigation and other notices;
                            (g) Compliance with laws and regulations;
                            (h) Maintenance of records;
                            (i) Use of proceeds;
                            (j) Compliance with environmental laws;
                            (k) Payment of post-petition obligations;
                            (l) Notification to the Administrative Agent of any Event of
                                Default and certain other customary material events; and
                            (m) Certain bankruptcy matters.

Negative Covenants: The DIP Loan Documents shall contain negative covenants customary
                    for debtor in possession financings of this type, subject to appropriate
                    exceptions and qualifications, including, without limitation, the
                    following:

                            (a) Limitation on incurrence of indebtedness, other than
                                customary exceptions to be agreed based on the DIP Budget,
                                including DIP sub-facility or a separate DIP financing to
                                finance VAT taxes payable in connection with invoices issued
                                by Strabag pursuant to the Tunneling Contract with Strabag
                                dated as of February 19, 2018 (as amended, restated, modified,
                                supplemented, extended or amended and restated from time to



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                                            time) (which may be secured by a first-priority lien on tax
                                            refunds) (“DIP Tax Financing Facility”);
                                      (b)   Limitation on liens, other than customary permitted liens and
                                            first- priority liens on tax refunds to secure the DIP Tax
                                            Financing Facility;
                                      (c)   Restriction on creation of any other super-priority claim which
                                            is pari passu with or senior to the DIP Superpriority Claims,
                                            except for the Carve-Out and other exceptions to be agreed;
                                      (d)   Limitation on investments and restricted payments, subject to
                                            customary exceptions to be agreed in the DIP Loan
                                            Documents;
                                      (e)   Prohibition on payment of pre-petition indebtedness,
                                            including any debt service, other than, to the extent
                                            constituting indebtedness, any other payments by the
                                            Borrower approved by the Bankruptcy Court and consistent
                                            with the DIP Budget or otherwise approved by the Majority
                                            DIP Lenders, and in consultation with the Required
                                            Consenting Creditors;
                                      (f)   Business activities other than those engaged in on the Petition
                                            Date;
                                      (g)   Prohibition on mergers or a sale, lease or other disposition of
                                            all or substantially all of the assets of the Borrower (including
                                            a Change of Control) and other fundamental changes;
                                      (h)   Prohibition on the sales of any material asset or any other asset
                                            outside of the ordinary course of business;
                                      (i)   No use of proceeds in violation of customary anti-corruption
                                            laws, anti-money laundering, and sanctions laws;
                                      (j)   Adequate protection payments shall be made using the
                                            proceeds of the DIP Financing consistent with the DIP Budget
                                            or as otherwise consented to by the DIP Lenders, which
                                            consent shall not be unreasonably withheld; and
                                      (k)   Bankruptcy related matters.

    DIP Budget and              Prior to or on the Closing Date, the Borrower shall deliver:
    other Financial
    Reporting:                  DIP Budget: An initial DIP budget to the Administrative Agent, with
                                a copy to the Consenting Creditors, with monthly cash flow forecast for
                                the period from the Closing Date through the end of September 2022,
                                form acceptable to the Majority DIP Lenders and Required Consenting
                                Creditors (the “Initial DIP Budget”)4, and thereafter, within an agreed


4
      The Initial DIP Budget is anticipated to be the same as the DIP Budget that has been distributed and agreed
      between the parties as of the date hereof, a copy of which is attached hereto, and the Majority DIP Lenders shall
      approve such DIP Budget as the Initial DIP Budget.


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                               number of days5 following the end of each calendar month (starting
                               with the calendar month immediately following the Closing Date), an
                               updated budget in form substantially similar to the Initial DIP Budget
                               and approved by the Majority DIP Lenders and Required Consenting
                               Creditors (the “Updated DIP Budget” and, the Initial Approved DIP
                               Budget and thereafter, each Updated DIP Budget, the “DIP Budget”).
                               Each Updated DIP Budget shall include a reconciliation of the actual
                               results for the months that are covered in the DIP Budget and have
                               already elapsed.6

                               Monthly Reporting: Commencing on the fourth Thursday after the
                               Closing Date, and on the Thursday of each fourth calendar week
                               thereafter, the Borrower shall provide customary reporting to be agreed.

    Milestones:                The Borrower shall comply with following deadlines (unless waived by
                               the Majority DIP Lenders) (the “Milestones”):

                              •    A restructuring support agreement with relevant case constituents
                                   and acceptable to the DIP Lenders approved by the Bankruptcy
                                   Court by January 31, 2022.

                              •    The Debtor shall file an Acceptable Plan (as defined below) no later
                                   than three (3) months following the Petition Date.

                              •    The Bankruptcy Court shall have entered an order confirming the
                                   Plan no later than six (6) months following the Petition Date.

                              •    The effective date of the Plan confirmed in the Chapter 11 Case and
                                   emergence of the Debtor from Chapter 11 no later than eight (8)
                                   months following the Petition Date.

                              •    Synchronization of Las Lajas Units 1 and 2 and Alfalfal 2 by
                                   January 30, 2022.

                              •    Substantial Completion of Critical Milestones D, E and F has been
                                   reached by March 31, 2022.

                              •    Las Lajas and Alfalfal 2 Commercial Operation Date by April 30,
                                   2022.
    Events of Default:         The credit agreement for the DIP Facility will include events of default
                               (“Events of Default”) (and, as appropriate, grace periods) usual and
                               customary for debtor-in-possession financings of this kind, including
                               failure to make payments when due, failure to meet Milestones, defaults
                               under post-petition indebtedness, noncompliance with affirmative and
                               negative covenants (certain of which shall be subject to grace periods
5
      Date to be not later than 10th day after end of each calendar month.
6
      Budgets need to be prepared with FTI input and Required Creditor Consent.


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                  to be agreed); breaches of representations and warranties; an order shall
                  be entered by the Bankruptcy Court terminating the Debtor’s exclusive
                  periods for proposing a Plan; dismissal or conversion of the Chapter 11
                  Case to a case under Chapter 7; an order shall be entered by the
                  Bankruptcy Court changing the venue of the Chapter 11 Case; the filing
                  of or confirmation of a Plan that is not an Acceptable Plan; unstayed
                  judgments in excess of specified amounts; a Change of Control; the
                  Final Order ceases to be in full force and effect; appointment of an
                  examiner with expanded powers or a trustee under Section 1101 of the
                  Bankruptcy Code, or appointment under the Chapter 11 Cases of a
                  custodian, receiver, liquidator, administrator, administrative receiver or
                  other similar official for the Borrower or a substantial part of its assets;
                  and the commencement of a Chilean liquidation or other such
                  proceeding in Chile without the prior written consent of the Majority
                  DIP Lenders, which proceeding has not been stayed, suspended or
                  dismissed within 90 days. In addition, an Event of Default shall also
                  occur upon a termination of the Power Purchase Agreement between
                  the Borrower and Minera Los Pelambres dated June 28, 2013 (as
                  amended, restated, modified, supplemented, extended or amended and
                  restated from time to time).

                  “Acceptable Plan” means a Plan that, unless otherwise agreed in
                  writing by the DIP Lenders, provides for repayment in full in cash of
                  all DIP Obligations on the effective date of such Plan (excluding
                  payment of contingent indemnity obligations).

                  Upon an Event of Default, the DIP Lenders shall have all customary
                  remedies and rights and any and all of the DIP Obligations shall
                  accelerate and become immediately due and payable and any remaining
                  Subsequent Availability shall terminate and no longer be available.

Assignments and   The DIP Lenders shall not be permitted to assign any portion of the DIP
Participations:   Facility to any other person (other than affiliates of the DIP Lender),
                  without the consent of the Borrower and the Required Consenting
                  Creditors, such consent not to be unreasonably withheld or delayed;
                  provided, however, that no consent of the Borrower shall be required
                  for an assignment if an Event of Default has occurred and is continuing.
                  Upon a permitted assignment, such assignee will become a DIP Lender
                  for all purposes of the DIP Loan Documents.

Majority DIP      “Majority DIP Lenders” shall mean the DIP Lenders holding more
Lenders:          than 50% of total commitments or exposure under the DIP Facility;
                  except that with respect to such matters relating to the reduction of
                  principal or fees, changes in interest rates, changes in maturity, changes
                  in the pro rata sharing clause, the Majority DIP Lenders shall consist of
                  each affected DIP Lender. Notwithstanding the foregoing, in the event



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                   there is a single DIP Lender, all references herein to the Majority DIP
                   Lenders shall be deemed to refer to such DIP Lender.

Taxes:             Any and all payments under the DIP Facility shall be made free and
                   clear of and without deduction or withholding for any taxes, other than
                   Excluded Taxes. “Excluded Taxes” shall include (a) in the case of a
                   Foreign Lender (as defined below), any withholding tax that is imposed
                   in Chile on any interest payable under the DIP Facility to such Foreign
                   Lender in excess of the Chilean Preferential Withholding Rate (as
                   defined below)[, other than any withholding Tax imposed as a result of
                   a Change in Law (to be defined) after the date on which such DIP
                   Lender becomes a DIP Lender under the DIP Facility]; and (b) any tax
                   (other than any withholding tax that is imposed in Chile on any interest
                   payable under the DIP Facility to such Foreign Lender at or below the
                   Chilean Preferential Withholding Rate) that is imposed on an amount
                   payable to the Administrative Agent or DIP Lender that is attributable
                   to the Administrative Agent’s or DIP Lender’s failure to comply with
                   the applicable tax covenant in the DIP Facility requiring the
                   Administrative Agent and each DIP Lender to use reasonable efforts to
                   comply in a timely manner with any certification, identification,
                   information, documentation or other reporting requirements if such
                   compliance is reasonably requested by the Borrower in writing and if
                   such compliance is required by applicable law as a precondition to
                   exemption from, or reduction in the rate of, deduction or withholding
                   of any taxes for which the Borrower is required to pay any additional
                   amounts pursuant to the DIP Facility.

                   “Foreign Lender” means any Lender that is organized under the
                   Applicable Laws of a jurisdiction other than Chile and which is not
                   domiciled or resident in Chile for purposes of Chilean taxation.

                   “Chilean Preferential Withholding Rate” means the reduced
                   withholding tax rate imposed under Chilean law on payments of interest
                   in accordance with Article 59 No. 1 letter (b) of Chilean income tax law
                   (Artículo 59 No. 1 (b) de la Ley de Impuesto a la Renta de Chile).

Indemnity/         The Borrower will indemnify the Administrative Agent and the DIP
Release/           Lenders (each, only in their capacity as such) and each of their affiliates
Waiver; Expense:   and respective related parties (each an “Indemnitee”), and hold each of
                   them harmless from and against any and all losses, claims, damages,
                   liabilities, taxes, penalties and related expenses (including, without
                   limitation, the fees, charges and disbursements of any counsel for any
                   Indemnitee), or asserted against any Indemnitee by the Borrower or by
                   any other person arising out of the DIP Facility and the financing
                   contemplated thereby; provided that no Indemnitee will be indemnified
                   for any such claim, damage, loss, liability or expense is found in a final
                   judgment by a court of competent jurisdiction to have resulted from any


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                  Indemnitee’s gross negligence, bad faith or willful misconduct or
                  material breach of any Indemnitee’s obligations under this term sheet,
                  the DIP Facility or the DIP Loan Documents

                  The Borrower will reimburse (a) the DIP Lenders for their reasonable
                  and documented out-of-pocket transaction expenses in connection with
                  (i) the preparation, negotiation and execution of the DIP Loan
                  Documents, including any amendment or waiver thereof, and (ii)
                  enforcement of the DIP Loans Documents, in each case, limited in the
                  case of counsel to the fees and expenses of one counsel in each
                  jurisdiction) and the Specified Advisors; and (b) all reasonable and
                  documents out-of-pocket expenses of the Administrative Agent
                  associated with the administration of the DIP Facility.

Governing Law /   State of New York (and, to the extent applicable, the Bankruptcy Code)
Jurisdiction:




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                                      Annex I

Interest Rate:     4% payable in kind.

                   Interest will capitalize in arrears on the basis of a 360-day year,
                   calculated on the basis of the actual number of days elapsed. Interest
                   will capitalize quarterly.

Default Interest   Automatically after the occurrence of any Event of Default, the
Rate:              applicable interest rate (“Default Interest Rate”) shall be the
                   applicable interest rate plus 2%, which shall accrue on all overdue
                   principal and other DIP Obligations and which shall be due
                   immediately and payable on demand; provided, however, that the
                   Default Interest Rate shall not exceed the maximum interest rate
                   permitted by applicable law

Upfront Fee:       1.00% of (i) the portion of the DIP Commitments available upon entry
                   of the Interim Order, payable in kind on the date of entry of the Interim
                   Order, and (ii) the remaining portion of the DIP Commitments, payable
                   in kind on the date of entry of the Final Order.

Unused             0.75% per annum on the undrawn portion of the DIP Commitments,
Commitment Fee:    commencing upon entry of the Interim Order and due monthly in
                   arrears and payable in kind.




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                                                                                 ANNEX III

    Restructuring Term Sheet – terms to be effective immediately upon bankruptcy exit

                             •    Borrower: Alto Maipo SpA
                             •    Aggregate Amount: $1,050,000,000.
                                  ‒   To be structured as a combination of (i) notes with documentation customary for an Investment Grade corporate
                                      credit (“1L Notes”) and (ii) project-finance style loans with documentation similar, except as the parties may
                                      otherwise agree, to the existing Second Amended & Restated Common Terms Agreement (the “CTA”) dated as
                                      of May 8, 2018 (the “1L Loans” and, together with the 1L Notes, the “New 1L Debt”). Holders of the 1L Notes
                                      and lenders under the 1L Loans are together referred to as the “New 1L Lenders”. The existing senior secured
                                      parties will elect (in their discretion) whether their New 1L Debt is documented as 1L Notes or 1L Debt.
                                  ‒   All New 1L Debt will share the same economic terms and will rank pari passu with respect to repayment,
                                      prepayment, collateral sharing, and all other similar matters.
                             •    Borrower will be required to go-to-market within 6 months after COD7 to seek refinancing of the New 1L Debt. At
                                  the option of the New 1L Lenders, the deadline for completing this mandatory go-to-market may be extended by an
                                  additional 6 months.
     New Senior First
       Lien Debt                  ‒   Borrower will use commercially reasonable efforts to secure full refinancing of 100% of the New 1L Debt with
                                      this go-to-market, with additional details on process to be included in the definitive documentation. Borrower
                                      will engage qualified third party professionals to support and facilitate the go-to-market effort. Regular updates
                                      and disclosures will be made to the New 1L Lenders and the New 2L Lenders with respect to the timeline and
                                      process for the go-to market, with detailed terms and conditions to be agreed in definitive documents, including
                                      access to and copies of material documentation, projections and presentations, subject to limitations and non-
                                      disclosure restrictions customary for these type of transactions to be agreed.
                                  ‒   The refinancing instrument must include the following terms:
                                          100% of the New 1L Debt then outstanding
                                          first lien debt of the Borrower
                                          scheduled amortization that will result in outstanding principal being reduced to $500 million by June
                                             2040
                                          all other terms equal or better for Alto Maipo when compared to the terms of the New 1L Debt
                                          if interest rate is lower than 4%, refinancing instrument will be sized, and proceeds will be applied, so
                                             that proceeds prepay part of the New 2L Debt

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    COD to be defined in definitive documents by parties acting in good faith.
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    ‒    To the extent this go-to-market is unable to achieve a full refinancing of the New 1L Debt on the required terms
        specified above, any refinancing of the New 1L Debt must be on terms acceptable to the New 1L Lenders
•   Collateral: same as existing collateral package under the CTA (including first priority perfected lien on all assets of
    Borrower, all shares in Borrower, and all shareholder/affiliate loans (other than Shared Services Loan) made to
    Borrower).

•   Maturity: June 2040

•   Payment Dates: January 15, April 15, July 15 and October 15, commencing on the first such date following the date
    that is the later of (x) Borrower’s exit from bankruptcy and (y) the earlier of (i) COD or (ii) a date certain to be
    agreed.

•   Interest rate: 4.0% per annum fixed, paid in cash on each Payment Date. Interest begins to accrue on the date the
    Borrower exits bankruptcy.
•   Default interest rate: additional 2%.

•   Mandatory annual debt service: annual debt service (including scheduled amortization and cash payments of
    interest) in an aggregate amount of $62.4 million per calendar year, and which will reduce the outstanding principal
    amount of the New 1L Debt to $500 million no later than June 2040. Scheduled amortization in 2022 will be pro-
    rated based on the number of months remaining in 2022 after the later of (x) Borrower’s exit from bankruptcy and
    (y) the earlier of (i) COD or (ii) a date certain to be agreed. Any prepayment of the New 1L Debt with proceeds of
    the CNM arbitration award will be in addition to the mandatory scheduled amortization.
•   Mandatory Prepayments: proceeds of CNM Arbitration (as specified below); expropriation; total loss or other
    significant insured event where insurance proceeds are not applied to repair/restore; significant asset dispositions
    outside of the ordinary course.

•   Cash sweep: subject to (1) Exit Financing and New 2L Debt having been repaid in full and (2) cash on hand of the
    Borrower in the amount of $25 million; all excess cash will be applied to prepay the New 1L Debt. Cash sweep will
    be paid April 15 and October 15. Cash sweep will be calculated on the same terms agreed for the New 2L Debt.

•   No prepayment penalties.

•   At the request of the New 1L Lenders holding 1L Notes, the Borrower will cause a rating to be obtained for the 1L
    Notes, with further details to be included in the definitive documentation.

•   Covenants and Events of Default for 1L Notes: similar to investment grade corporate credits of this type.
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•   Covenants and Events of Default for 1L Loans: similar to CTA, except as the parties may otherwise agree.
    Obligations under Share Retention Agreement (as defined in CTA) will apply.
•   Subject to U.S. bankruptcy rules, New 1L Debt will be an amendment and restatement of the existing senior debt
    subject to the CTA and the Supplier Deferred Payment Agreement (as defined in the CTA).
•   All third party rights granted to the secured parties in connection with the CTA will survive for the benefit of the
    New 1L Lenders.
•   Assignment:
    ‒    For 1L Loans - same as in existing documentation unless otherwise agreed.
    ‒ For 1L Notes – restrictions in existing documentation will not apply.
•   Voting Rights: to be addressed in Intercreditor Agreement. Any New 1L Debt acquired or held by a Borrower
    affiliate will not have any voting rights.
•   Borrower: Alto Maipo SpA
•   Amount: estimated at $995,314,442 (equal to the amount of prepetition secured claims, including the liquidated
    amount of the interest rate swaps, less the aggregate principal amount of the New 1L Debt)8 (the “New 2L Debt”).
    Lenders under the New 2L Debt are referred to as the “New 2L Lenders”.
•   Collateral: second lien on all assets included in the collateral package for the New 1L Debt.
•   Prior to the earliest of (such date, the “Applicable Date”) (i) the go-to-market on the New 1L Debt, (ii) the New 1L
    Debt being otherwise refinanced in accordance with the definitive documents, (iii) a credit rating being obtained in
    respect of the New 1L Debt, following a request of the New 1L Lenders for such credit rating, (iii) twelve months
    after COD, and (iv) a calendar date to be agreed, the New 2L Debt will be secured by a first priority lien (ranking
    pari passu with the lien securing the New 1L Debt) on all physical assets of the Borrower. This first priority lien
    benefiting the New 2L Debt will be automatically released on the Applicable Date.
•   Maturity: October 15, 2042, extendable at each New 2L Lender’s individual option to October 2052.
•   Payment Dates same as cash sweep dates.
•   Interest rate: 2% per annum fixed, paid in cash or capitalized (PIK) based on available cash flow, subject to increase
    by the Upside Fee. Interest begins to accrue on the date the Borrower exits bankruptcy.
•   Default interest rate: additional 2%.
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•   Upside Fee: after each calendar year end, 50% of the difference (if positive), between actual Cash Flow Available
    for Debt Service9 as defined in the CTA with necessary conforming changes (“CFADS”) and projected CFADS (per
    the Borrower’s base case financial model dated October 26, 2021, attached as Exhibit A to this Term sheet) will be
    payable to the New 2L Lenders as additional interest until the New 2L Debt has been fully repaid or is converted to
    shares in the Borrower.
    ‒   Payment of Upside Fee is uncapped, but may never be less than zero.
    ‒   Upside Fee for each calendar year will be earned on December 31st (or, if New 2L Debt matures in 2052, on the
        maturity date), such that if the New 2L Debt is fully repaid on or prior to December 30th of any calendar year
        (or the maturity date in 2052), no Upside Fee would be payable for that year.
    ‒   Commencing in January 2043, any Upside Fee is reduced pro rata based on the amount of New 2L Debt that
        converted to shares in the Borrower upon maturity in October 2042.
•   Scheduled Amortization: None.
•   Cash Sweep: 100% of excess cash flow, reduced pro rata based on the amount of New 2L Debt that converted to
    shares in the Borrower upon maturity in October 2042. Excess cash flow will be calculated as all cash of the
    Borrower after (i) payment of all operation and maintenance expenses, permitted capital expenditures, and other
    permitted Project-related expenses to be agreed in accordance with the then-effective annual budget, (ii) payment of
    all scheduled debt service and mandatory prepayment on the Exit Financing and New 1L Debt (or any refinancing of
    the Exit Financing and New 1L Debt), and (iii) cash on hand of the Borrower in the amount of $25 million. Cash
    sweep will be paid April 15 and October 15. When cash sweep is paid, an estimated amount will be reserved (and
    excluded from the cash sweep) based on the projected Upside Fee calculation for the then-current calendar year.
•   No prepayment penalty
•   Mandatory conversion at scheduled maturity into a percentage of the shares of Borrower equal to the pro rata share
    of the outstanding principal amount of the New 2L Debt plus the outstanding principal amount of the Shared
    Services Loan (in each case including any PIK interest that has not been paid), subject to a cap of 20% of total
    outstanding shares in the Borrower (after giving effect to this debt-to-equity conversion) in October 2042 and no cap
    in October 2052. The converted shares will have rights to be agreed in the definitive documents.
    ‒   For each New 2L Lender who does not elect to extend the maturity of its New 2L Debt to 2052, the percentage
        of shares in the Borrower that it will receive will be calculated as follows: (i) the percentage of shares (subject to
        a 20% cap) that would have corresponded to all New 2L Lenders if 100% of New 2L Debt matured at October
        2042 and the Shared Services Loan was converted to shares at October 2042, multiplied by (ii) the percentage of
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                                   the outstanding principal amount of New 2L Debt held by such New 2L Lender who did not extend its New 2L
                                   Debt maturity date over the total outstanding principal amount of all New 2L Debt.
                               ‒   The definitive documents will include provisions to equitably address the value of shares held by New 2L
                                   Lenders whose New 2L Debt converts in 2042 in the scenario where remaining New 2L Debt converts to shares
                                   in 2052.
                          •    Covenants and Events of Default for New 2L Debt: similar to CTA, except as the parties may otherwise agree.
                          •    Subject to U.S. bankruptcy rules, New 2L Debt will be an amendment and restatement of the existing senior debt
                               subject to the CTA and the Supplier Financing Agreement (as defined in the CTA).
                          •    All third party rights granted to the secured parties in connection with the CTA will survive for the benefit of the
                               New 2L Lenders.
                          •    Assignment: same as in existing documentation unless otherwise agreed.10
                          •    Voting Rights: to be addressed in Intercreditor Agreement. Any New 2L Debt acquired or held by a Borrower
                               affiliate will not have any voting rights.
                          •    All intercompany payments due to AES Andes (or any permitted transferee) by the Borrower pursuant to the Energy
                               & Capacity Losses Compensation Agreement and the Connection & Toll Agreement (each as defined in the CTA),
                               and that are currently deferred under the terms of those contracts until the existing senior debt discharge date, will be
                               paid in the form of a loan (the “Shared Services Loan”). Those intercompany payments will be paid in the form of a
                               disbursement under the Shared Services Loan.
                          •    Interest Rate: same as New 2L Debt (including any Upside Fee), capitalized (PIK) at the end of each calendar
                               quarter, commencing at the end of the first calendar quarter following Borrower’s exit from bankruptcy.
     Shared Services
          Loan            •    Maturity: latest date of scheduled maturity for any New 2L Debt.
                          •    Mandatory conversion at scheduled maturity into a percentage of the shares of Borrower equal to the pro rata share
                               of the outstanding principal amount of the New 2L Debt plus the outstanding principal amount of the Shared
                               Services Loan (in each case including any PIK interest that has not been paid).

                               ‒   If the maturity of all New 2L Debt is extended to 2052, the Shared Services Loan shall mature in 2052 and
                                   convert into a percentage of the shares equal to the ratable share of the New 2L Debt balance plus the Shared
                                   Services Loan balance, in each case outstanding at the time. If all New 2L Debt converts to equity in 2042, the



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  Borrower would not have a consent right on transfers of New 2L Debt for any New 2L Lenders who elect to have their New 2L Debt documented in the form
of notes with the same covenants as the 1L Notes. .If any New 2L Lender elects the notes option, this debt will be documented in separate instruments, each of
which will share the same economic terms and will rank pari passu with respect to repayment, prepayment, collateral sharing, and all other similar matters.
Assignment restrictions in existing documentation will not apply to New 2L Debt that takes the form of notes with the same covenants as the 1L Notes.
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                           Shared Services Loan will mature in 2042 and its pro rata share of shares in the Borrower will be subject to an
                           80% equity floor.
                       ‒ The definitive documents will include provisions to equitably address the conversion of the Shared Services
                           Loan to shares in the Borrower where a portion of the New 2L Debt converts to shares in 2042 and the
                           remainder of New 2L Debt converts to shares in 2052.
                   •   All Hedging Agreements with Hedging Counterparties (in each case, as defined in the CTA) shall be terminated, and
                       any amounts due thereunder shall be converted into New 1L Debt and New 2L Debt on a pro rata basis, based on the
Hedge Agreements       mark-to-market value on the date of termination as determined in accordance with the terms of the Hedging
                       Agreements.
                   •   To receive (a) an allowed, secured, perfected $391.5 million “Supplier Deferred Payment” claim entitled to pari
                       passu treatment with other prepetition first-lien claims pursuant and subject to confirmation of the Plan of
                       Reorganization contemplated hereby, allocated to New 1L Debt and New 2L Debt in the same proportion as the
                       other prepetition first-lien claims, irrespective of whether the condition(s) to payment of the Supplier Deferred
                       Payment under the Tunneling Contract have been satisfied as of the Plan Effective Date, provided, however, that if
                       such condition(s) to payment have not been satisfied as of the Plan Effective Date, Strabag’s pro rata share of the
                       New 1L Debt and New 2L Debt shall be held in escrow pending satisfaction of such condition(s); (b) the following
                       amounts to be paid in cash as trade payables for construction costs (less any payments on account of these items
                       made to date): (i) December installment (i.e., final installment due to Strabag) of $5 million due on December 1st, (ii)
                       (A) $761,030 upon completion of signed Change Order 1, (B) $326,240 upon completion of signed Change Order
                       2, and (C) $53,827 upon completion of signed Change Order 4, and (iii) $10 million upon substantial completion of
                       Volcan (Milestone F); and (c) upon receipt, $6,268,020.99 in insurance proceeds to be paid by Seguros Generales
                       Suramericana, S.A. and Chilena Consolidada S.A. corresponding to insurance claims (No. 118495032, No.
    Strabag            119488886, No. 119448014, No. 119448021) against the Construction All Risks insurance policy (Policy No.
                       4492152).
                   •   Notwithstanding anything to the contrary herein, Strabag shall continue to be obligated to pay Alto Maipo in cash
                       for power purchased by Strabag pursuant to Section 2.13.2 of the Tunneling Contract, including any amounts
                       accrued but unpaid pre-petition.
                   •   All other claims and counterclaims existing as of the date of execution of this term sheet (including construction
                       claims, change order claims, future bonuses, etc.) to be mutually waived.
                   •   All subordinated debt and common equity held and to be earned by Strabag through COD to be discharged.
                   •   Tunneling Contract to be assumed, subject to mutual waiver of all other claims (except as agreed) and agreement to
                       the restructuring term sheet
                   •   Any future Changes initiated by the Borrower must be approved by the New 1L Lenders and New 2L Lenders
                       (provided that any New 1L Debt and New 2L Debt held by Strabag will be excluded from voting on such approval).
                       All future Changes that are within scope of the Tunneling Contract shall be performed by Strabag without further
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                         compensation in cash or otherwise. Subject to receiving approval from the New 1L Lenders and New 2L Lenders as
                         specified above, Borrower shall issue a Change Order and pay Strabag in cash for all future Changes that are outside
                         the scope of the Tunneling Contract. The Borrower and Strabag shall work together in good faith to negotiate a
                         streamlined process for resolving Change Disputes. Pending agreement on such streamlined process, in the event
                         that Strabag disputes whether a Change is within or outside of the scope of the Tunneling Contract (a “Change
                         Dispute”), the Borrower and Strabag shall follow the procedures set forth in the Tunneling Contract to resolve such
                         dispute.
                         ‒ Strabag agrees that existing change orders shall be compensated only through the consideration described
                              herein.
                     •   Borrower shall pay to Strabag, as adequate protection, $210,000 for Strabag’s attorneys’ fees incurred in connection
                         with its secured claim.
                     •   Strabag shall have the same rights as Senior Lenders under the amended and restated Intercreditor Agreement (other
                         than on matters related to the Tunneling Contract, where Strabag will not have voting rights).

                     •   Subordinated debt (including all Subordinated Loans as defined in the CTA): to be discharged.
Other Unsecured      •   Voith: contract to be assumed as amended pursuant to settlement agreement, subject to court approval.
    Claims           •   Other unsecured claims: to be discharged.

                     •   Existing shares in Borrower to be cancelled.
                     •   AES Andes will receive 100% of the reorganized shares in the Borrower, subject to conversion of New 2L Debt and
                         Shared Services Loan (if applicable).
     Equity
                     •   No dividends or distributions until Exit Financing, VAT Financing, New 1L Debt and New 2L Debt have been
                         repaid in full.

                     •   Application of proceeds:
                         ‒   First, to repay any DIP or Exit Financing amount outstanding
CNM Arbitration          ‒   Second, to repay $50 million of New 1L Debt (inverse order of maturity); after payment, New 1L Debt balance
                             will amortize to $450 million at maturity.
                         ‒   Third, to repay New 2L Debt

                     •   Undertakings to ensure that any development of battery storage or similar business with energy generated by Alto
Battery Business /
                         Maipo, using water rights, land rights or other infrastructure of Alto Maipo, or otherwise associated with the Alto
 Related Party
                         Maipo project (i) must be approved by the New 1L Lenders and the New 2L Lenders, and (ii) will only be
  Transactions
                         undertaken with the objective of increasing value to the Borrower.
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                •   Any transaction (including any modification to existing contract terms) with related companies of the Borrower
                    must be approved by the New 1L Lenders and the New 2L Lenders.

                •   Lenders will use their commercially reasonable efforts to arrange a committed VAT financing within 30 days from
                    the Chapter 11 filing date to pay the full amount of the VAT due upon issuance of the invoice for the Supplier
                    Deferred Payment (as defined in the CTA) by Strabag. It is expected that some (but not all) of the existing senior
                    lenders will provide commitments for VAT financing. Lenders’ financial advisors have been informed that certain
                    lenders have approvals for commitments, subject to customary conditions, as of the date hereof in an aggregate total
                    amount of $[33] million.
VAT Financing
                •   Terms substantially similar to those contemplated for VAT Loan under and as defined in the CTA.
  Backstop
                •   Tenor: 12 months.
                •   No Up-Front Fee.
                •   Interest Rate: 5% per annum, calculated over the outstanding amount of the VAT Loan in US Dollars.
                •   Definitive documents will address mechanics around currency exchange risk related to funding and repayment of the
                    VAT Loan.

                •   Size: $50 million Revolving Credit Facility

                •   Separate debt basket to address VAT expenses

                •   Available to the extent required to maintain minimum cash on hand of Borrower during bankruptcy case of $10
                    million

                •   Rate and fees accrue through separate account and shall not impact availability

DIP Financing   •   Interest Rate: 4.0%, payable in kind

                •   Unused Fee: 0.75% on undrawn portion, payable in kind

                •   Fees: 1.00% origination fee, payable in kind

                •   Maturity: 12 months from Chapter 11 filing date

                •   Milestones and other terms are included in separate DIP Financing term sheet
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                 •   Purpose: repay DIP Financing as a condition to Borrower exiting bankruptcy

                 •   Lenders: DIP Financing provider

                 •   Maturity: 2 years post-emergence

                 •   Scheduled Amortization: equal quarterly installments

                 •   Payment Dates: Quarterly, commencing at the end of the first calendar quarter following Borrower’s exit from
                     bankruptcy.

                 •   Rank: super-senior first-lien on all assets (ranks senior to New 1L Debt), other than proceeds of reimbursement of
                     VAT that was financed with the VAT Financing.

Exit Financing   •   Interest rate: 4.0%, cash pay on Payment Dates.

                 •   Cure Periods: Exit Financing lender will not be entitled to exercise any remedies following an event of default on
                     the Exit Financing until a cure period of at least 120 days has elapsed.
                 •   New 1L Lender & New 2L Lender Rights:
                     ‒  New 1L Lenders and New 2L Lenders will have a right (but not an obligation) to cure or cause to be cured on
                        behalf of Borrower.
                     ‒ New 1L Lenders and New 2L Lenders will have a right to purchase (directly or through an affiliate) their pro
                        rata share of the Exit Financing at par at any time. If any New 1L Lender or New 2L Lender declines to
                        purchase its pro rata share of Exit Financing, other New 1L Lenders and New 2L Lenders may increase their
                        share.
                 •   No cash fee for roll-over
                 •   Concessions on exit financing commitment considered as part of AES Andes new value contribution
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                                                                            Exhibit A
                                            CFADS Calculation from October 26, 2021 Borrower Base Case Financial Model




                                                 (a)
USD million                              2022              2023         2024         2025         2026         2027        2028         2029         2030         2031         2032         2033
Cash Flow Available for Debt Service    57,225,230 130,495,469 102,893,412 103,967,235 104,927,608 107,900,969 110,722,532 111,020,930 112,498,092 115,652,187 117,802,122 120,261,569



USD million                               2034             2035         2036         2037         2038          2039       2040          2041         2042         2043         2044         2045
Cash Flow Available for Debt Service   122,452,323 125,069,008 131,138,009 132,889,488 135,477,295 139,494,182 110,274,347             73,426,163   75,388,676   77,151,354   78,690,780   80,340,910



USD million                              2046              2047         2048         2049         2050         2051        2052 (b)
Cash Flow Available for Debt Service   82,024,812        83,752,525   85,454,217   87,074,358   88,809,930   91,576,476   89,410,564
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                   EXHIBIT B TO STRUCTURING SUPPORT AGREEMENT

                              FORM OF TRANSFER AGREEMENT


        The undersigned (“Transferee”) hereby acknowledges that it has read and understands the
Restructuring Support Agreement (the “Agreement”), dated as of November 16, 2021, by and
among the Company, the Shareholders, the Sponsor and Consenting Creditors, including the
transferor (the “Transferor”) to the Transferee of any Alto Maipo Obligations, and agrees to be
bound by the terms and conditions thereof to the extent Transferor was thereby bound, and shall
be deemed a Consenting Creditor under the terms of the Agreement. Capitalized terms used but
not otherwise defined herein shall have the meanings ascribed to such terms in the Agreement.


       Date Executed: ________________

                                                         Print name of Transferee


                                                         Name:
                                                         Title:
                                                        Address:
                                                  _________________________

                                                  _________________________

                                                  _________________________

                                                        Attention:
                                                  _________________________
                                                        Telephone:
                                                  __________________________
                                                        Facsimile:
                                                  __________________________


                                Transferor’s Principal Amount Held

                   Alto Maipo Obligation                                  Amount
                                                                US$
